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Deposition of Annmarie Reno                                                   Jenna Clark v. Carmine Marceno


   1                           UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
   2

   3
         JENNA CLARK,
   4
                Plaintiff,
   5                                               CASE NO.: 2:22-cv-614-SPC-NPM
         v.
   6
         CARMINE MARCENO, in
   7     his official capacity
         as Sheriff of Lee
   8     Country, Florida,
   9         Defendant.
         ----------------------/
 10
                                     ZOOM DEPOSITION OF
 11
                                          ANNMARIE RENO
 12
                               TAKEN ON BEHALF OF PLAINTIFF
 13

 14
         DATE TAKEN:             Tuesday, October 24, 2023
 15
         TIME:                    10:14 a.m. to 2:27 p.m.
 16
         PLACE:                   All parties appeared via videoconference
 17

 18

 19

 20

 21

 22
                      Examination of the witness taken before:
 23
                                       Julie S. Evans
 24                           Court Reporter and Notary Public
 25

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   1     APPEARANCES:
   2     KYLE T. MACDONALD, ESQUIRE (via Zoom)
         Derek Smith Law Group, PLLC
   3     520 Brickell Key Dr.
         Suite O-301
   4     Miami, Florida 33131
   5              On behalf of the Plaintiff.
   6     DAVID J. STEFANY, ESQUIRE (via Zoom)
         Allen Norton & Blue, P.A.
   7     324 South Hyde Park Avenue
         Suite 225
   8     Tampa, Florida 33606-4128
   9              On behalf of the Defendant.
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                                         - - - - -
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                              *** NO EXHIBITS WERE MARKED ***
   9

 10                                          - - - - -
 11                              S T I P U L A T I O N S
 12                      It is hereby agreed and so stipulated by and
 13      between the parties hereto, through their respective
 14      counsel, that the reading and signing of the transcript
 15      are expressly reserved.
 16                                        - - - - -
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   1                               P R O C E E D I N G S
   2                     THE COURT REPORTER:              Today is Tuesday, October
   3            24, 2023.        The time is approximately 10:14 a.m.
   4            This is the Zoom deposition of Annmarie Reno, being
   5            taken in the matter of Clark v. Carmine Marceno,
   6            Sheriff of Lee County.                 Will counsel please state
   7            their appearance, beginning with Plaintiff's
   8            counsel.
   9                     MR. MACDONALD:          Kyle MacDonald, on behalf of
 10             the Plaintiff, Jenna Clark.
 11                      MR. STEFANY:         David Stefany, with Allen Norton
 12             & Blue, on behalf of Sheriff Carmine Marceno.
 13                      THE COURT REPORTER:              Please raise your right
 14             hand.         Do you solemnly swear or affirm your
 15             testimony will be the truth, the whole truth,
 16             nothing but the truth, so help you God?
 17                      THE WITNESS:         I do.
 18      THEREUPON:
 19                                     ANNMARIE RENO,
 20      having first been duly sworn, testified as follows:
 21                                  DIRECT EXAMINATION
 22      BY MR. MACDONALD:
 23             Q.       Good morning, Ms. Reno.                 My name is Kyle
 24      MacDonald, and I represent Jenna Clark in her lawsuit
 25      against Carmine Marceno in his official capacity as

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   1     Sheriff of Lee County.               Thank you for being here today.
   2                     Can you please start by stating your full name,
   3     for the record.
   4            A.       It's Annmarie Sophie Reno.
   5            Q.       Have you ever been deposed before, Ms. Reno?
   6            A.       Yes.
   7            Q.       And when were you deposed previously?
   8            A.       It's been a few years ago; I don't remember
   9     exactly.
 10             Q.       Do you remember what you were deposed for?
 11             A.       It was a case about overtime.
 12             Q.       And was that case related to your role at the
 13      Lee County Sheriff's Office?
 14             A.       Yes.
 15             Q.       Even though you have been deposed before, I'm
 16      going to go over a few things, just to we're both on the
 17      same page.           Okay?
 18             A.       Okay.
 19             Q.       Do you understand that you've been placed under
 20      oath and that you have an obligation to testify
 21      truthfully today?
 22             A.       Yes.
 23             Q.       And do you understand that even though we are
 24      conducting this deposition via Zoom, your testimony has
 25      the same force and effect as if you were testifying in a

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   1     court of law, in front of a judge and jury?
   2            A.       Yes.
   3            Q.       The court reporter cannot transcribe inaudible
   4     responses, such as a gesture or a shrug, so make sure
   5     you respond clearly, just as you have been.                             Okay?
   6            A.       Okay.
   7            Q.       The court reporter also cannot accurately
   8     reflect your responses if we speak at the same time; so
   9     I'll wait for you to finish your responses, and I would
 10      just ask that you wait until I finish my questions.
 11      Okay?
 12             A.       Okay.
 13             Q.       Now, we want to make sure that we get your best
 14      testimony in this lawsuit, so if there's a question you
 15      do not understand or anything you think is confusing,
 16      just let me know and I can try to rephrase the question
 17      for you.             Okay?
 18             A.       Okay.
 19             Q.       And if you need to take a break at any point,
 20      to go to the bathroom, get a glass of water, anything
 21      like that, just let me know and we can go ahead and take
 22      a break.             Okay?
 23             A.       Okay.
 24             Q.       Is there anything that would prevent you from
 25      thinking clearly and testifying truthfully here today?

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   1            A.       No.
   2            Q.       Where are you conducting this deposition from?
   3            A.       The intel conference room at the Lee County
   4     Sheriff's Office.
   5            Q.       And is anyone in the room with you there today,
   6     besides your counsel?
   7            A.       No.
   8            Q.       Do you have any documents in front of you?
   9            A.       No.
 10             Q.       What did you do to prepare for today's
 11      deposition?
 12             A.       I talked to the attorney, on Friday.
 13             Q.       Did you speak with anyone besides your attorney
 14      about your deposition here today?
 15             A.       No.
 16             Q.       Did you tell anyone from the Lee County
 17      Sheriff's Office about your deposition today?
 18             A.       That I was having one -- that I was having one?
 19             Q.       Yes.   Anything about your deposition here
 20      today.
 21             A.       No.    It's on my calendar, though.
 22             Q.       Did you review any documents, prior to your
 23      deposition today?
 24             A.       Yes.
 25             Q.       What documents did you review?

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   1            A.       I just reviewed the -- an email when we were
   2     eliminating positions and, with the attorney, I looked
   3     at the actual documents from the case.
   4            Q.       Do you remember who that email was sent by that
   5     you reviewed?
   6            A.       Dawn Heikkila.
   7            Q.       And do you remember what specifically that
   8     email was about?
   9            A.       It was an email that was sent out about
 10      elimination of positions.
 11             Q.       Do you remember who it was sent to?
 12             A.       I believe it was -- I don't want to guess; I'm
 13      thinking it was all users.
 14             Q.       What is your current address, Ms. Reno?
 15             A.       My home address?
 16             Q.       Yes.
 17

 18

 19             Q.       And how long have you lived at that address
 20      for?
 21             A.       Three years.
 22             Q.       And do you live with anyone at that address?
 23             A.       No.
 24             Q.       Have you ever been arrested before,
 25      Ms. Reno?

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   1            A.       No.
   2            Q.       Have you ever been a party to a civil lawsuit
   3     before?
   4            A.       No.
   5            Q.       Have you ever been a witness to any other
   6     lawsuit before?
   7            A.       I'm trying to remember.
   8                     MR. STEFANY:        Other than the deposition she
   9            previously had, Counsel?
 10                      MR. MACDONALD:         Yes.
 11      BY MR. MACDONALD:
 12             Q.       Other than the deposition that you had
 13      previously mentioned related to overtime, I believe you
 14      said.
 15             A.       Right.   No.
 16             Q.       And what was the extent of your involvement as
 17      a witness in that lawsuit regarding overtime?
 18             A.       To witness the documents, timesheets.
 19             Q.       Do you remember who that lawsuit was brought
 20      by?
 21             A.       It was a current employee -- or, I'm sorry, it
 22      was a past employee.
 23             Q.       Do you remember that employee's name?
 24             A.       Caiazza, I believe, was the last name.
 25             Q.       And do you remember roughly when that lawsuit

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   1     took place?
   2            A.       No, I don't remember.
   3            Q.       Was it more than five years ago?
   4            A.       I'm not sure.          It may have been.
   5            Q.       Do you know how to spell that last name; was it
   6     Caiazza?
   7                     MR. STEFANY:          C-A-I-A-Z-Z-A.
   8     BY MR. MACDONALD:
   9            Q.       Did you attend college, Ms. Reno?
 10             A.       Yes.
 11             Q.       Where did you attend college?
 12             A.       International, International College, and I
 13      also -- sorry, I'm trying to think; it's been a while;
 14      University -- oh, I can't think.                         I think it's on my
 15      diploma, but I just haven't thought about it.                            It's been
 16      a while.             North Central -- sorry, North Central
 17      University.
 18             Q.       You went to International College you said, and
 19      then North Central College; is that right?
 20             A.       That's correct.
 21             Q.       And what degree did you earn at International?
 22             A.       Public administration.
 23             Q.       And what year did you graduate from
 24      International?
 25             A.       I'm trying to think; I guess I need to think

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   1     about this stuff; I'm sorry.                  I'm guessing, about 2012.
   2            Q.       And what degree did you earn at North Central?
   3            A.       Master's in Business Administration.
   4            Q.       And what year did you graduate with your MBA?
   5            A.       I'm trying to remember, sorry.                    2000-maybe-17.
   6     I went right consecutively.
   7            Q.       Do you have any professional certifications,
   8     Ms. Reno?
   9            A.       Certified planner, law enforcement planner.
 10             Q.       And who was that certification awarded by?
 11             A.       I'm trying to think.            I'm sorry, I don't know;
 12      I can't remember who it's awarded by.                         It's been a
 13      while.
 14             Q.       Do you remember, roughly, when you earned that
 15      certification?
 16             A.       About 2008, somewhere around there.
 17             Q.       Any other certifications, besides the certified
 18      law enforcement planner?
 19             A.       No.
 20             Q.       Have you ever received any type of specialized
 21      training related to human resources?
 22             A.       Just college.
 23             Q.       So in college, you took courses related to
 24      human resources?
 25             A.       Yes.

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   1            Q.       Have you ever received any type of training
   2     related to human resources in your role at the Lee
   3     County Sheriff's Office?
   4            A.       I've taken some classes on it; a little bit of
   5     training, yes.
   6            Q.       What kind of training have you received at the
   7     Lee County Sheriff's Office related to human resources?
   8            A.       So most of it would have been outside of the --
   9     outside of Lee County Sheriff's Office.                           Not in -- they
 10      wouldn't have done the training internally for me.                               I
 11      would have taken some classes outside, especially in
 12      relationship to taxing and human resource laws, just to
 13      keep updated; military laws, things like that.
 14             Q.       Where did you take those classes?
 15             A.       They would have been probably one of the --
 16      like, SkillPath, where they come in, and they do the
 17      conferences; I took some through FSA, Florida Sheriffs
 18      Association.
 19             Q.       Do you remember which trainings you received
 20      from the Florida Sheriffs Association?
 21             A.       I took some Workers' Comp, also the ABA Ethics.
 22             Q.       Any others?
 23             A.       I'd have to go back and think.
 24             Q.       So you can't recall any other than those two
 25      that you mentioned?

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   1            A.       No.    Not right now, no.
   2            Q.       And you'd mentioned SkillPath; is that right?
   3            A.       Yes, SkillPath.
   4            Q.       What is SkillPath?
   5            A.       SkillPath is the name of the company that was
   6     offering some training locally.
   7            Q.       And what training did you receive from
   8     SkillPath?
   9            A.       It would have been human resource updates,
 10      things that were going on in human resources at the
 11      time, most of it on laws.
 12             Q.       And do you remember when you received that
 13      training from SkillPath, roughly?
 14             A.       I'm trying to remember... it would have been
 15      around 2007 I had some.                When I was in Human Resources.
 16             Q.       Have you ever received any internal training
 17      from the Lee County Sheriff's Office regarding human
 18      resources topics?
 19             A.       I'm trying to think.              I know that we conducted
 20      some training for new supervisors when I was in there.
 21      But other than that, no, I do not remember.
 22             Q.       Were you assisting in instructing that training
 23      that you mentioned?
 24             A.       Yes.
 25             Q.       And that was a training that was given to new

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   1     supervisors at the Lee County Sheriff's Office?
   2            A.       Yes.
   3            Q.       Do you remember roughly when that was?
   4            A.       I was in Human Resources then; it would have
   5     been around 2007, maybe 2008.
   6            Q.       Do you remember what topics were covered in
   7     that training that you helped facilitate?
   8            A.       My portion was to do -- was the training of the
   9     new hires, all of the things that we had to do to
 10      on-board a new hire, with FDLE rulings and our own
 11      policies.            And then, Dawn Heikkila was the one who
 12      actually did the training for understanding the military
 13      laws, the ADA, and all the benefits.
 14             Q.       Have you ever received any training related to
 15      discrimination, specifically, from the Lee County
 16      Sheriff's Office?
 17             A.       Yes.
 18             Q.       What kind of training have you received in
 19      regard to discrimination?
 20             A.       I know that we had sexual harassment is one of
 21      them; I believe we had had some on -- on discrimination.
 22      But it's been a while.
 23             Q.       And when did you receive the training related
 24      to sexual harassment or discrimination?
 25             A.       I'm trying to remember, maybe a couple of years

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   1     ago.       It's probably done through the system, through
   2     PowerPoint.
   3            Q.       And you said those were PowerPoints that you
   4     received?
   5            A.       Yes.   It would have been online.
   6            Q.       Do you remember what topics were covered in
   7     that training?
   8            A.       Well, it would have been the discrimination
   9     laws.
 10             Q.       Anything besides discrimination laws,
 11      generally?
 12             A.       No, not that I can recall.
 13             Q.       Besides those PowerPoints, did you receive any
 14      other training related to sexual harassment or
 15      discrimination while you've been at the Lee County
 16      Sheriff's Office?
 17             A.       Not that I can recall.
 18             Q.       Where do you currently work, Ms. Reno?
 19             A.       My job?     My title of my job?                  I'm the executive
 20      director of Support Services.
 21             Q.       And that's at the Lee County Sheriff's Office;
 22      correct?
 23             A.       Yes.
 24             Q.       And how long have you held that role for?
 25             A.       Since 2017.

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   1            Q.       And what do you do in your role as executive
   2     director of Support Services?
   3            A.       We oversee the bureau -- at this time, the
   4     current time, the way it's structured is I have Human
   5     Resources, Personnel Services, Purchasing, Finance,
   6     Planning and Research, Accreditation, Victim Advocates,
   7     and Facilities; I'm responsible for Facilities.                          So I
   8     oversee all of those divisions.
   9            Q.       And you said those are separate divisions that
 10      you oversee within the Lee County Sheriff's Office;
 11      correct?
 12             A.       Correct.
 13             Q.       What responsibilities do you have in
 14      supervising those specific areas that you mentioned?
 15             A.       I oversee directors and managers who actually
 16      oversee those individual divisions; I also am
 17      responsible for the financial portions of them and how
 18      they run together.
 19             Q.       Do the directors and managers of those
 20      different areas report directly to you?
 21             A.       Yes.
 22             Q.       And how do you oversee the financials of those
 23      divisions?
 24             A.       Through the -- well, we have a computerized
 25      system; everything is computerized now, so I can see

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   1     their spending, or I look at a lot of reports that are
   2     generated, daily, what people are purchasing; watching
   3     the budget.
   4            Q.       Do you assist in allocating the budgets for
   5     those different divisions?
   6            A.       Yes.
   7            Q.       How does that process work?
   8            A.       There's a whole budgeting process; I actually
   9     was the budget director before I went into my new role.
 10      And so the budget is -- each division creates a budget
 11      for their individual divisions; and then those are
 12      submitted to the budget director; then the budget
 13      director calculates and puts everything together; and
 14      then, after that, then the money is allocated, once it's
 15      all approved.
 16             Q.       And you mentioned your current responsibilities
 17      as executive director.             Have they changed, in your
 18      tenure as executive director?
 19             A.       Yes.
 20             Q.       How has it changed?
 21             A.       Some of the divisions that I was responsible
 22      for have been moved out from under me, in my
 23      participation for looking at actually retiring.                          So I
 24      kept a portion of it, when we brought somebody new on,
 25      to try to absorb and learn all of those different

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   1     divisions; and some were added and some removed, for the
   2     betterment of the agency.
   3            Q.       When did those changes take place?
   4            A.       I want to say... I don't know exactly.                   I don't
   5     know if it was the end of 2021 or the end of -- I'm
   6     trying to remember, sorry.                 It could have been around
   7     October of 2022.
   8            Q.       And what specifically prompted those changes in
   9     your role?
 10             A.       Anticipation of retirement.
 11             Q.       That's your retirement; correct?
 12             A.       I'm sorry, yes.
 13             Q.       When are you anticipated to retire?
 14             A.       I was going to retire January 31 of 2023, but I
 15      elected to stay for a couple more years.
 16             Q.       Why did you elect to stay for a few more years?
 17             A.       The Florida Retirement System changed for those
 18      people that are in the DROP program; and since they
 19      allowed an extra three years for extension, I asked to
 20      stay.
 21             Q.       Is there a benefit to staying if you're in that
 22      DROP program that you mentioned?
 23             A.       It's just another year your pension would go
 24      into the account, into the DROP account, for each month
 25      you stay.

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   1            Q.       So your pension benefits would increase if you
   2     stayed?
   3            A.       The DROP part of it would; the DROP part would
   4     increase, but your pension is frozen at that time.
   5            Q.       Can you explain what the DROP program is?
   6            A.       Okay.     So -- I'll try; I'm not very good at
   7     this, but I'll try.               So the DROP program is in the
   8     Florida Retirement System.                     You're allow to go in --
   9     well, there's a criteria of your age plus your years of
 10      service.             So for a civilian like myself, you have to be
 11      62 years old or have 30 years of service, in order to go
 12      into the DROP program.
 13                      Once you elect to go into DROP, it calculates
 14      what your pension would be at that time, and that
 15      pension -- whatever that pension is, your monthly
 16      pension, would then be put into high yielding, like a
 17      deferred comp program, where it would just accumulate
 18      there while you continue to work.
 19             Q.       Is that program open to all civilian employees?
 20             A.       It's open to anyone who is in the Florida
 21      Retirement System, as long as you're in the pension plan
 22      and not in the investment plan.
 23             Q.       Do you know when your new retirement date is,
 24      or has that not yet been determined?
 25             A.       It can go out to 2027, January 21 of 2027.                          But

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   1     I can elect to leave at any time within that date.
   2            Q.       And you mentioned that divisions were added and
   3     removed, as part of that role change; is that correct?
   4            A.       That's correct.
   5            Q.       What divisions were added?
   6            A.       The Training Division; Communications was the
   7     other one, was added to the bureau.
   8            Q.       And what's the bureau?
   9            A.       The Support Services Bureau.
 10             Q.       And what divisions were removed?
 11             A.       Well, they were removed from my portion of --
 12      my span of control; they stayed with the bureau where
 13      now there's a chief; Chief Sands is over that bureau,
 14      and I only kept a portion of the bureau.
 15             Q.       Who did you say now oversees it, Chief Sands,
 16      like S-A-N-D?
 17             A.       S-A-N-D-S.
 18             Q.       Got it.     And were you formerly in charge of the
 19      entire bureau, prior to Chief Sands taking over?
 20             A.       Yes, I was, with the exception of those two
 21      divisions.
 22             Q.       And you said divisions weren't removed from the
 23      Support Services Bureau, they were just removed from
 24      your supervision; is that correct?
 25             A.       Correct.

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   1            Q.       And which divisions were those?                       Forgive me if
   2     I missed them the first time.
   3            A.       The ones that were removed -- oh, the ones that
   4     he currently has, or -- I'm sorry, I need to understand
   5     what you're asking me.
   6            Q.       Of course.        The divisions that you no longer
   7     oversee in the Support Services Bureau.
   8            A.       I no longer oversee Technical Services,
   9     Technical Support; I don't oversee Programming, is
 10      another one; Budget, we moved budget under his, so he
 11      could better understand it.                     Let me think what else we
 12      removed.             Now he has Communications and Training, and I
 13      think that's it.             And then I have the rest.
 14             Q.       And what is Chief Sands current job title?
 15             A.       He's chief of Support -- Executive Support
 16      Bureau.
 17             Q.       And did Chief Sands take over supervision of
 18      the bureau also due to your anticipated retirement?
 19             A.       Yes.
 20             Q.       Did you discuss these changes in anticipation
 21      of your retirement with anyone at the Sheriff's Office
 22      in particular?
 23             A.       I'm sorry.        Discuss how it should be realigned?
 24             Q.       Yes.     How did these changes come about, in
 25      terms of your anticipated retirement?

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   1            A.       Well, I would -- I'm not going to speculate how
   2     they came about.         I know that we talked about that
   3     someone needed to step into the role if I was going to
   4     leave.         Again, FRS had changed the criteria to stay
   5     longer.         So the change had to come so that the person
   6     who was going to step into the role could be able to
   7     understand all of the aspects of all of those divisions,
   8     especially the financials.
   9            Q.       And who did you discuss that with?
 10             A.       The undersheriff.
 11             Q.       And what is the undersheriff's name?
 12             A.       John Holloway.
 13             Q.       And when did you discuss these changes with
 14      John Holloway?
 15             A.       I would -- I'm just guesstimating, to be honest
 16      with you; I would think it was probably the end of 2021,
 17      the beginning of 2022.             Because it was getting closer.
 18             Q.       And did you initiate those discussions with
 19      Mr. Holloway?
 20             A.       I don't remember if he initiated it with me or
 21      I initiated with him.
 22             Q.       And what does Mr. Holloway do, as the
 23      undersheriff?
 24             A.       He oversees all the operations.
 25             Q.       All of the operations of the entire Lee County

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   1     Sheriff's Office?
   2            A.       Yes.
   3            Q.       And as executive director of Support Services,
   4     who do you report to at the Lee County Sheriff's Office?
   5            A.       Right now, I -- well, I was reporting to the
   6     undersheriff, John Holloway; and right now, since I'm
   7     taking a different role, I believe I show, on the old
   8     chart, reporting to Chief Sands.
   9            Q.       And was that change in reporting made at the
 10      same time that Chief Sands began overseeing the bureau?
 11             A.       No.
 12             Q.       When was that reporting change made?
 13             A.       Again, I'm thinking.            I don't know the exact
 14      date.        It was probably a few months ago.
 15             Q.       And why was that change in reporting made for
 16      your position?
 17             A.       I thought that -- I actually was the one who
 18      initiated that and thought it would be best if people
 19      weren't given direction by two people; and it would be
 20      so much better for Chief Sands to learn the whole bureau
 21      if I reported to him, so he could take the lead.
 22             Q.       And who did you present that idea to?
 23             A.       To the undersheriff.
 24             Q.       And did the undersheriff agree with that
 25      suggestion?

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   1            A.       Yes.
   2            Q.       So just so I understand correctly.                  Prior to a
   3     few months ago, you were reporting directly to the
   4     undersheriff, but then the change was made and you now
   5     report to Chief Sands; is that accurate?
   6            A.       That's accurate.
   7            Q.       Do you meet on a regular basis with Chief
   8     Sands?
   9            A.       Yes.
 10             Q.       How often?
 11             A.       Daily.
 12             Q.       And was that also the case when you reported to
 13      the undersheriff?
 14             A.       Yes.
 15             Q.       When you reported to the undersheriff, what
 16      would you discuss in those daily meetings?
 17             A.       Whatever had to do with financials.
 18             Q.       What about financials did you discuss with the
 19      undersheriff?
 20             A.       Usually, our spending, you know, trends; how
 21      much money we still have left; how we could save money.
 22      Things like that.
 23             Q.       In your role as executive director, are you
 24      involved in decisions to hire or fire employees?
 25             A.       As my role -- yes.            The decision to hire, yes.

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   1            Q.       And what about the decision to fire employees;
   2     are you involved in those decisions?
   3            A.       No, not in the firing.              That would come through
   4     committee or through the sheriff or undersheriff.
   5            Q.       You said terminations usually come from a
   6     committee or the sheriff or the undersheriff?
   7            A.       Yes.   It depends what type of termination it
   8     is.
   9            Q.       What are the types of terminations?
 10             A.       For terminations that would run through an
 11      Internal Affairs investigation.                     People that are
 12      terminated due to probation problems would not come from
 13      there; that would go to HR.
 14             Q.       And what type of terminations would typically
 15      involve the sheriff or the undersheriff?
 16             A.       Those would be the internal investigations.
 17             Q.       Are you involved in decisions to change job
 18      titles or job duties, as executive director?
 19             A.       Yes.
 20             Q.       And do you make those decisions solely by
 21      yourself?
 22             A.       No.
 23             Q.       Who are those decisions typically made with?
 24             A.       It would be with the undersheriff.
 25             Q.       And would that still be the case even now that

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   1     Chief Sands is supervising the bureau?
   2            A.       No.   I would make the recommendations to him,
   3     to the chief.
   4            Q.       What role did you have at the Lee County
   5     Sheriff's Office prior to 2017?
   6            A.       Oh, I'm sorry.        Budget director; from 2008 to
   7     2017, I was budget director.
   8            Q.       And what did you do in your role as the budget
   9     director?
 10             A.       I took care of producing a budget every year
 11      based on manpower and operations, capitol equipment; I
 12      also was responsible for a couple other small units
 13      under me.
 14             Q.       What units were you supervising?
 15             A.       Programming for a while, and Purchasing.
 16             Q.       And did you supervise Programming and
 17      Purchasing that entire time that you were budget
 18      director?
 19             A.       No, not the entire time.
 20             Q.       During which time did you supervise the
 21      Programming and the Purchasing?
 22             A.       I'm trying to remember; I know Programming I
 23      did for -- I'm guesstimating -- a couple of years, and
 24      then it was maybe allocated to somewhere else when they
 25      started making changes to the organization, so we

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   1     allocated it to somewhere else; Purchasing would have
   2     been to 2012.
   3            Q.       From 2008 to 2012 --
   4            A.       Yes.
   5            Q.       -- you would have supervised?
   6                     And did you have a position with the Lee County
   7     Sheriff's Office, prior to being budget director?
   8            A.       Yes.
   9            Q.       And what position is that?
 10             A.       I was the human resource manager, from 2005 to
 11      2008.
 12             Q.       And what did you do in your role as an HR
 13      manager?
 14             A.       I did all of the hiring.
 15             Q.       Anything else, besides hiring?
 16             A.       No.    I didn't do the benefits side; I just did
 17      the hiring, all the aspects of the hiring.
 18             Q.       Did that include onboarding and training for
 19      new employees?
 20             A.       Yes.
 21             Q.       And did you have any role at the Lee County
 22      Sheriff's Office prior to being HR manager?
 23             A.       Yes.   From 2003 to 2005, I was -- I started a
 24      unit called the False Alarm Reduction Unit for them, and
 25      I was the manager of that.

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   1            Q.       And what did you do, in that role?
   2            A.       I started the -- I managed the people that
   3     worked in there, and I started up that unit, from a
   4     county ordinance that was put in place to reduce false
   5     alarms from burglar alarms.
   6            Q.       What was your title in that role?
   7            A.       I was the manager.
   8            Q.       And what did you do prior -- or sorry, strike
   9     that.        Did you have a role at the Lee County Sheriff's
 10      Office prior to that manager position?
 11             A.       Yes.   I was the budget analyst.
 12             Q.       And when were you the budget analyst at the Lee
 13      County Sheriff's Office?
 14             A.       I'm trying to remember dates, going back; 2000
 15      -- I'm trying to remember; I'm sorry, I'm going
 16      backwards on dates, I'm sorry.                     So probably around 2001
 17      to 2003.
 18             Q.       And what did you do in your role as a budget
 19      analyst?
 20             A.       I was learning to put the budget together.                       I
 21      was doing the operational portion, not the personnel
 22      services.
 23             Q.       And did you have any role with Lee County
 24      Sheriff's Office prior to being a budget analyst?
 25             A.       Yes.   I was a secretary for a couple of

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   1     different bureaus; I worked in Internal Affairs, Patrol,
   2     and Special Operations.
   3            Q.       And how long were you a secretary for?
   4            A.       I was hired in '97... from 1997 until when I
   5     went to work in budget and worked for the different
   6     divisions.
   7            Q.       And did you have any position at the Lee County
   8     Sheriff's Office prior to being secretary?
   9            A.       I started as a clerk in the west district, in
 10      1997.
 11             Q.       And what did you do as a clerk?
 12             A.       I was a district clerk; so back in those days,
 13      they didn't have take-home radios or take-home cars; I
 14      would have to assign them all of their equipment when
 15      they came in for roll call; I answered the phones and
 16      helped transcribe for the detectives for their cases.
 17             Q.       And that was the first position that you held
 18      with Lee County Sheriff's Office; correct?
 19             A.       Yes.
 20             Q.       When did you first meet my client, Jenna Clark?
 21             A.       I'm trying to remember how long; I probably --
 22      again, I'm not absolutely sure.                    I probably met her when
 23      she was in Purchasing, when I was maybe working in
 24      Budget.
 25             Q.       And when you say, when you were "working in

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   1     Budget," would that have been when you were the budget
   2     director?
   3            A.       No.   I was the analyst, the budget analyst.
   4            Q.       Do you remember what Jenna Clark's position
   5     was, at that time?
   6            A.       No.
   7            Q.       Do you know what position Jenna Clark last held
   8     at the Lee County Sheriff's Office?
   9            A.       Purchasing director.
 10             Q.       And who did Jenna Clark report to as purchasing
 11      director at the Lee County Sheriff's Office?
 12             A.       She reported to me.
 13             Q.       What were Jenna Clark's job responsibilities as
 14      purchasing director?
 15             A.       She oversaw the Purchasing division; she could
 16      do -- she did a lot of reporting; she also was the
 17      person who could convert purchase orders into actual --
 18      a requisition into a purchase order, to send to the
 19      vendors; she would look for quotes from outside vendors,
 20      try to find the best deal we could get.
 21             Q.       Are there any other job responsibilities that
 22      you can think of besides the ones you listed?
 23             A.       Well, she was -- I'm going to -- she probably
 24      worked with her manager on performance evals of the
 25      employees in there; she was the one who would actually

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   1     reach out for furniture, worked very closely with the
   2     facilities director, to make sure that furniture and
   3     things came together, whenever we were ready to start up
   4     a new unit or move people around.
   5            Q.       Who was responsible for evaluating
   6     Jenna Clark's job performance as purchasing director?
   7            A.       I was.
   8            Q.       How would you describe Jenna Clark's job
   9     performance as purchasing director?
 10                      MR. STEFANY:        What period of time?
 11                      MR. MACDONALD:         Well, let me step back a
 12             little.
 13      BY MR. MACDONALD:
 14             Q.       Do you know what years Jenna Clark was
 15      purchasing director for?
 16             A.       2012, I believe, Sheriff Scott made her a
 17      director.
 18             Q.       And were you Jenna Clark's supervisor that
 19      entire time, from 2012 onward?
 20             A.       No.
 21             Q.       When did you first begin to supervise
 22      Jenna Clark as purchasing director?
 23             A.       I actually supervised her twice; when she was a
 24      manager and I was the budget director, she asked to
 25      report to me, so she did, so her division fell under

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   1     Budget; and then when she became a director, in 2012,
   2     she reported to Bill Berkowitz (ph), who was the
   3     executive director of Support Services.
   4            Q.       And as purchasing director, when did Ms. Clark
   5     first start reporting to you?
   6            A.       When I became the executive director; it was
   7     2017.
   8            Q.       During the period that you supervised Ms. Clark
   9     as purchasing director, how would you describe her job
 10      performance?
 11             A.       She did a good job.
 12             Q.       Did you ever have any issues with Ms. Clark's
 13      job performance?
 14             A.       Just some -- sometimes.              Yeah, a little bit,
 15      but not -- we would talk about it.
 16             Q.       You would discuss any issues that you had with
 17      Ms. Clark's job performance with her?
 18             A.       Yes.
 19             Q.       Did you ever have any serious issues with
 20      Ms. Clark's job performance?
 21                      MR. STEFANY:      Objection to form.              You can
 22             answer.
 23                      THE WITNESS:      I'm sorry, what did you say?                   I'm
 24             sorry.
 25      BY MR. MACDONALD:

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   1            Q.       Did you ever have any serious issues with
   2     Ms. Clark's job performance?
   3                     MR. STEFANY:       Same objection.
   4                     THE WITNESS:       Sometimes, yes, I did, only --
   5            not -- let me put it this way.                     Yes.     Sometimes she
   6            would not want to do what I'd asked her to do,
   7            things like that, and so we would discuss it.
   8            Almost like sometimes she wanted to be a little
   9            insubordinate, because she wanted to do it her way;
 10             so we would discuss those things.
 11      BY MR. MACDONALD:
 12             Q.       How many times would you say that you had
 13      issues with Ms. Clark being insubordinate?
 14             A.       Not very often.         I'm trying to think.              Maybe
 15      two, three, four times, that was it.                         In that period,
 16      yeah, about two or three times.
 17             Q.       Did you ever discipline Ms. Clark for these
 18      issues with insubordination?
 19             A.       No.   Not for insubordination, no.
 20             Q.       Did you ever discipline her for anything else?
 21             A.       I did, yes.      I did discipline her for one other
 22      thing; a reprimand, yes.
 23             Q.       And what did you discipline Ms. Clark for?
 24             A.       It had to do with policy and on talking to an
 25      employee about religious beliefs, and the employee

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   1     complained about it.
   2            Q.       When did that occur?
   3            A.       I was trying to remember.                It was a few years
   4     back; I'm sorry, I don't remember the exact date.                            I
   5     want to say, like, well, maybe 2019, somewhere around
   6     there.         I'm not real sure.
   7            Q.       In what form did you discipline Ms. Clark?
   8            A.       In her office; it was in her office; it was
   9     verbal.         And then, just, I did put it in her file that
 10      she had to understand, in her position, she couldn't do
 11      that.
 12             Q.       Besides that verbal counseling, was there any
 13      other time that you added something to Ms. Clark's
 14      personnel file regarding discipline?
 15             A.       No.
 16             Q.       Did you ever speak to anyone else regarding the
 17      insubordination with Ms. Clark that you described?
 18             A.       I may have talk to -- yeah.                 I talked to the
 19      undersheriff about it.
 20             Q.       Do you remember when you spoke to the
 21      undersheriff regarding the insubordination that you
 22      mentioned?
 23             A.       There was a time in -- that happened, about
 24      August.
 25             Q.       August of when?

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   1            A.       I'm sorry, 2021.
   2            Q.       What do you remember about that discussion with
   3     the undersheriff?
   4            A.       I actually documented it because I had asked to
   5     clear out some old uniforms so that we weren't still
   6     issuing them; and after I asked twice to do that, it
   7     didn't happen, and so I was not happy about that.
   8            Q.       And was this a verbal conversation that you had
   9     with the undersheriff?
 10             A.       I actually put it in writing to him.                  Only for
 11      documentation purposes; it was not part of her file or
 12      anything.
 13             Q.       Did you also discuss that writing, verbally,
 14      with the undersheriff?
 15             A.       Yes.   He asked me a few questions about it,
 16      what happened.
 17             Q.       What questions did the undersheriff ask you
 18      about it?
 19             A.       Well, he was trying to understand what all was
 20      -- what was going on and why the warehouse was so
 21      overcrowded with stuff that we had no room; we were
 22      running out of room.             Actually, we were renting some
 23      places.         So that's what I kind of told him what was
 24      going on, as far as the uniforms not being destroyed
 25      that should have been.

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   1            Q.       What was the undersheriff's reaction when you
   2     described these issues with Jenna Clark and uniforms?
   3            A.       He just said, okay -- I don't remember, to be
   4     honest with you, what the whole reaction was.
   5            Q.       Was that the only time that you discussed that
   6     issue with the undersheriff?
   7            A.       That issue, yes.
   8            Q.       Did you conduct Ms. Clark's performance
   9     evaluations?
 10             A.       Yes.
 11             Q.       And do you recall whether Ms. Clark had
 12      positive job performance evaluations while you
 13      supervised her as purchasing director?
 14             A.       Yes.
 15             Q.       She did have positive performance evaluations?
 16             A.       Yes.   Our performance evaluations are "meets
 17      standards" or "needs immediate training."
 18             Q.       And do you recall if she received a "meets
 19      standards" rating?
 20             A.       Yes, she did.
 21             Q.       Did you ever socialize with Jenna Clark outside
 22      of work?
 23             A.       I'm trying to remember; I don't think I ever
 24      have.
 25             Q.       Who else worked in the Purchasing Department

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   1     besides Ms. Clark, at the time she was purchasing
   2     director?
   3            A.       We've had a little bit of changeover in there;
   4     Shannon Lehman, Daisy, Gwen.                   There was a little bit of
   5     change in there, so I'm trying to recall.                           Brenda was in
   6     there, and Christine Cross was in there.                           I think that's
   7     it.      I'm trying to remember.               Like I said, we did have a
   8     little bit of change in personnel in there.
   9            Q.       What was Shannon Lehman's job title?
 10             A.       Manager.
 11             Q.       And do you know how long Ms. Lehman has worked
 12      as a manager?
 13             A.       As a manager of Purchasing, or a manager in
 14      general?
 15             Q.       Manager of Purchasing.
 16             A.       Okay.   Maybe three years.                I'm not real sure
 17      when she went in there, to be honest with you.
 18             Q.       And what duties did Ms. Lehman have as a
 19      purchasing manager?
 20             A.       She oversaw the purchasing assistants; she was
 21      making sure that they were following up on the orders
 22      coming in, purchase orders going out; working with
 23      vendors; making sure new vendors got set up.                           And then I
 24      believe she was doing the performance evals, but she may
 25      have been doing them with Jenna for her subordinates

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   1     that were under her.
   2            Q.       And you mentioned a Daisy; is that correct?
   3            A.       I'm sorry?
   4            Q.       You mentioned an employee by the name of Daisy?
   5            A.       Daisy, yes.
   6            Q.       What's Daisy's last name?
   7            A.       I'm trying to think; I feel so incompetent
   8     right now because I can't remember last names.                           Probably
   9     Casell, Cassella -- Casell, I think it is.
 10             Q.       Do you know how to spell it?
 11             A.       No.   I'd have to get it for you, sorry.
 12             Q.       What was Daisy's job title when she worked with
 13      Ms. Clark as purchasing director?
 14             A.       I'm not sure; I think she was the purchasing
 15      assistant.           We did make some changes to titles.                   She was
 16      either purchasing assistant or purchasing agent.                             I'm
 17      not sure.
 18             Q.       And do you know what kind of duties that Daisy
 19      would perform as purchasing agent or assistant?
 20             A.       She handled all the uniforms for the certified
 21      and for the civilians on the vests, ballistic vests.
 22             Q.       Anything else, besides the uniform order?
 23             A.       She could probably do most of the jobs in
 24      there; she would do whatever was asked of her.                           Even the
 25      warehouse; if she had to pull orders, she would pull

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   1     orders; she would do receiving.                      But that was her core
   2     function.
   3            Q.       And who did Daisy report to during the time
   4     that Jenna Clark was purchasing director?
   5            A.       Shannon Lehman.
   6            Q.       And who did Ms. Lehman report to at the time
   7     Jenna Clark was purchasing director?
   8            A.       She would report to Jenna.
   9            Q.       And you mentioned an employee by the name of
 10      Gwen; is that right?
 11             A.       Yes.
 12             Q.       What is Gwen's last name?
 13             A.       What is her last name?               Is that what you asked?
 14             Q.       Yes.
 15             A.       It's Legler, I think.               L-E-D-G-L-E-R, something
 16      like that.           Legler.
 17             Q.       And what was Gwen's job title at the time that
 18      Ms. Clark was purchasing director?
 19             A.       She was a human resource assistant -- I'm
 20      sorry.         Purchasing assistant, sorry.
 21             Q.       And what did Gwen do as a purchasing assistant?
 22             A.       She did receiving, secured the
 23      warehouse/ordering for the warehouse, like the regular
 24      office supplies, things like that; and she also helped
 25      with the uniforms, so she helped Daisy out too.

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   1            Q.       Who did Gwen report to while Jenna Clark was
   2     purchasing director?
   3            A.       She reported to Shannon Lehman.
   4            Q.       And you mentioned another employee by the name
   5     of Brenda; is that correct?
   6            A.       Yes.
   7            Q.       What's Brenda's last name?
   8            A.       Hector.
   9            Q.       Sorry, could you say that one more time?
 10             A.       Hector.     It's H-E-C-T-O-R.
 11             Q.       And what was Brenda's job title at the time
 12      that Jenna Clark was purchasing director?
 13             A.       She was a purchasing agent.
 14             Q.       And what did Brenda do as a purchasing agent?
 15             A.       She handled the orders for specialty units, for
 16      the K-9, dog food; aviation; parks, things like that.
 17             Q.       And who did Brenda report to?
 18             A.       Shannon.
 19             Q.       And you also mentioned an employee by the name
 20      of Christine Cross; is that right?
 21             A.       Yes.
 22             Q.       And what was Christine's job title at the time
 23      Jenna Clark was purchasing director?
 24             A.       Purchasing assistant.
 25             Q.       And what did Christine do as purchasing

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   1     assistant?
   2            A.       She secured the front window, like the front
   3     window in Purchasing, for people that were picking up
   4     stuff they ordered.
   5            Q.       And who did Christine report to, while
   6     Ms. Clark was purchasing director?
   7            A.       Shannon Lehman.
   8            Q.       Was Ms. Lehman the only employee that Ms. Clark
   9     directly supervised while she was purchasing director?
 10             A.       Yes.
 11                      MR. MACDONALD:       We can go ahead and go off the
 12             record at 11:16.         Let's take a ten-minute break.
 13             We'll come back at 11:26.
 14                      THE COURT REPORTER:           We're off the record.
 15                      (A brief recess was taken.)
 16                      THE COURT REPORTER:           We're back on the record.
 17      BY MR. MACDONALD:
 18             Q.       Ms. Reno, when did Jenna Clark leave the Lee
 19      County Sheriff's Office?
 20             A.       In August -- or September; for official date
 21      that she left would have been September 3 of 2021.
 22             Q.       Why did Ms. Clark leave the Lee County
 23      Sheriff's Office?
 24             A.       I know that her job was eliminated.                And then,
 25      after that, she spoke with HR, to make a determination

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   1     of what her options were.
   2            Q.       Why was Ms. Clark's position eliminated?
   3            A.       It was reorganization, and it had to do with
   4     streamlining the way we were operating, saving money.
   5            Q.       Are you referring to the Reduction in Force
   6     that was conducted by Lee County Sheriff's Office in
   7     2021?
   8            A.       Yes.
   9            Q.       You said that that was conducted due to
 10      streamlining and saving money?
 11             A.       Yes.   For budgetary purposes.
 12             Q.       How did the Reduction in Force save money?
 13             A.       Well, what we did was, when we eliminated
 14      certain positions, the employee had a right to take
 15      another position that we needed or that was open and
 16      what was needed in the agency.
 17             Q.       So when you say "save money," are you referring
 18      to those employees' positions payroll costs?
 19             A.       Yes, and benefits.
 20             Q.       And did payroll costs and benefits factor into
 21      the decision as to which positions were to be
 22      eliminated?
 23             A.       It would have had something to do with it.                       But
 24      a lot of it would have been redundancy of workload.                              So
 25      we would have done a workload assessment to see which

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   1     positions we could have eliminated and still been able
   2     to do our core services.
   3            Q.       And how were those workload assessments
   4     conducted?
   5            A.       They were done by -- well, we have an
   6     Inspections Department, which we used them; but we also
   7     looked at how much work was actually being done and who
   8     was doing it; Oversight was looking at it.
   9            Q.       Who conducted that workload assessment?
 10             A.       For which one?       For the ones that were
 11      eliminated?
 12             Q.       Yes, for positions that were eliminated.
 13             A.       It would -- part of it would have been me; I
 14      would have done some of it.                 And I guess it depended on
 15      where the position was at, during the elimination, or
 16      reduction of the job.             So if it was in the district,
 17      they would have looked at the district as a whole,
 18      through their clerks, things like that, to see what work
 19      they were actually doing and what work could be
 20      reallocated to another person that was already doing
 21      another job.
 22             Q.       When did you first learn about the Reduction in
 23      Force that was conducted in 2021?
 24             A.       It was an ongoing Reduction in Force that
 25      started earlier in 2019; it was just a continuation.

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   1            Q.       So the Reduction in Force that was conducted in
   2     2021 was part of that same Reduction in Force that was
   3     conducted in 2019?
   4            A.       It was the continuation, yes.                      We were looking
   5     at the agency as a whole, trying to operate more like a
   6     business.
   7            Q.       How do you know that that Reduction in Force in
   8     2021 was a continuation of the one in 2019?
   9            A.       The only thing I can tell you is, I was a part
 10      of some of that discussion as we continued to look at
 11      our operations and where we needed to save money.                                 We
 12      knew that we add a lot of unforeseen expenses that came
 13      up, with the -- and inmate medical was one of them.                                  So
 14      we were continuously looking at the operations, to see
 15      where we could reduce.
 16             Q.       When did you first become involved with the
 17      Reduction in Force?
 18             A.       Probably -- I don't know exactly when, I can
 19      say that to you; but I was involved when I was working
 20      as the budget director.
 21             Q.       As a budget director, you were involved in
 22      discussions about the Reduction in Force?
 23             A.       Yes.   During the time when we went into a
 24      recession and we had to return some money to the county,
 25      we had to look at all of our operations, again to go

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   1     back to core services and redo some of the things -- so
   2     that the sheriff was still doing what the constituents
   3     wanted and the citizens wanted, rather than some of the
   4     things that we were doing internally; we had to try to
   5     look at how we could reduce and reallocate those people
   6     into those other positions we needed.
   7            Q.       Would that have been in 2017, or would that
   8     have been prior to 2017?
   9            A.       It would have been prior.                Around 2007, maybe
 10      2008, when the recession hit, there were some
 11      elimination of some positions back then.
 12             Q.       Did you consider the Reduction in Force that
 13      you described in 2007 to be the same one that was
 14      conducted in 2019 and 2021?
 15             A.       It was for the same reasons, was to save money
 16      and to actually do the core services that we needed,
 17      yes.
 18             Q.       Do you know what positions were eliminated in
 19      2021, as part of that Reduction in Force?
 20             A.       I believe there was -- I don't know completely
 21      in my head, to be honest with you.                       There was some
 22      services, senior services was one, I believe.                        In 2021,
 23      I'm trying to think.            There was a couple of positions in
 24      Communications; there was a secretarial position in
 25      Communications that was eliminated.                       Jenna's -- the

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   1     purchase director's position was eliminated, was one.
   2     I'm trying to remember what other ones, but there was a
   3     couple more.
   4            Q.       And you were involved in those discussions to
   5     eliminate those positions that you just listed; correct?
   6            A.       I would have been part of command, yes; so yes,
   7     I would have been involved.
   8            Q.       When was the first time that you learned of
   9     discussions to eliminate the positions that you just
 10      mentioned?
 11             A.       It would have been sometime in 2021.                     They were
 12      being talked about back.                   A lot of these positions would
 13      have been talked about as part of an ongoing discussion
 14      of whether or not they were part of our core services.
 15             Q.       Who did you first discuss the elimination of
 16      those positions with, in 2021?
 17             A.       It would have been with people in command
 18      staff; undersheriff would have been one of them, because
 19      I reported directly to him.
 20             Q.       Anyone else, besides the undersheriff?
 21             A.       It probably would have -- I can't remember
 22      exactly.             Because he was the person I had most of my
 23      conversations with.
 24             Q.       And that includes the conversations about the
 25      elimination of these positions in 2021?

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   1            A.       Yes.
   2            Q.       Did these conversations with the undersheriff
   3     about these positions take place in person?
   4            A.       Yes.
   5            Q.       And were these conversations part of a regular
   6     meeting with the undersheriff?
   7            A.       Yes.
   8            Q.       What meetings were those?
   9            A.       It would have been the same type of meetings,
 10      daily meetings where we talked about things that were
 11      going on, with HR or with Finance.
 12             Q.       It was undersheriff the person who initiated
 13      the conversation about the elimination of those
 14      positions in 2021?
 15             A.       I don't remember.
 16             Q.       Well, did you initiate the conversations about
 17      these positions being eliminated in 2021?
 18             A.       I just think it just came up in a general
 19      conversation as we were talking about financials, about
 20      where we could save money.
 21             Q.       The elimination of these positions came up in a
 22      conversation between you and the undersheriff, where you
 23      were discussing how to save money?
 24             A.       Yes.
 25             Q.       Was that the primary motivation in discussing

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   1     the elimination of those positions?
   2            A.       Yes.
   3            Q.       Were there any budgetary issues going on at
   4     that time, that motivated that conversation regarding
   5     saving money?
   6            A.       Yes.
   7            Q.       And what were those?
   8            A.       The cost of our health plan was one of them.
   9     We were trying to get certified through the state,
 10      because we're self-insured, so we knew we had to do
 11      something about the health plan.                     Also as I think I
 12      mentioned, inmate medical is another one; the costs
 13      really went up there, the medical plan.                            The other one
 14      was the FRS rates were going up, the percentage going
 15      into FRS.
 16                      And I'm trying to think of what else we had
 17      going on at the time.             Of course, we just were coming
 18      out of Covid; we had a lot of people that were very sick
 19      that worked for us.           Things like that.                   Our Workers'
 20      Comp claims were very high.
 21             Q.       Was there a particular goal in terms of saving
 22      money, at the time these discussions were held about
 23      eliminating the positions?
 24             A.       The goal would have been to put the people in
 25      the right place to, again, to streamline so we weren't

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   1     doing a redundancy of work, and to put more deputies out
   2     on the road; that's what the citizens wanted.                         So we
   3     were trying to figure out how to reallocate our
   4     resources in our financials to accommodate the goals.
   5            Q.       Was the redundancy of work that you mentioned
   6     determined using the workload assessments?
   7            A.       I don't know that it was done with that.                      It
   8     was just something that you could really -- you could
   9     see.
 10             Q.       You could just see the redundancy in work?
 11             A.       Yes.   We had just brought in a brand new
 12      system, from Tyler, a new management system for our
 13      administration people for our financials, because we
 14      were doing everything through manual, a lot of
 15      paperwork; the system also streamlined the amount of
 16      people that you needed to do the work, especially in
 17      Payroll.
 18             Q.       Who determined whether a position was redundant
 19      in regards to the Reduction in Force in 2021?
 20             A.       The person who oversaw it.                 Like myself; I
 21      would be one.
 22             Q.       Who made the final decision as to whether a
 23      position was deemed redundant?
 24             A.       I would think that it's still -- it would be
 25      me.      Like, for my bureau, it would be me; I would be

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   1     looking at what exactly they were doing and see if there
   2     was a better way to do it.                     And that's why we brought in
   3     the new system, was to help with that.
   4            Q.       Who in your bureau did you determine had a
   5     position that was redundant?
   6            A.       Payroll was -- well, the Payroll was one, only
   7     because it was very manual.                     But once we brought in the
   8     new systems and automated it, so there wasn't a need for
   9     four or five people to key payroll.                           I noticed Jenna in
 10      Purchasing was one; it looked -- the manager and the
 11      director were both doing pretty much the same work; we
 12      could see that.            And HR, it actually helped there too;
 13      there was some redundancy there too.
 14             Q.       Which position was eliminated in regards to
 15      Payroll?
 16             A.       The -- we had two -- well, actually, everybody
 17      in Finance one day actually keyed payroll; everything
 18      else shut down in Finance, so that they could key the
 19      payroll.             By the time we were done, we actually
 20      eliminated one Payroll person.                        So we went down to one
 21      Payroll; we'd had two.
 22             Q.       So there were two Payroll employees, and it
 23      went down to one after the Reduction in Force?
 24             A.       Yes.
 25             Q.       And who was in the position that was selected

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   1     to be eliminated in Payroll?
   2            A.       Randy.     Randy Bauer is still in there.                       We did
   3     eventually add it back, only for -- for to fill in --
   4     like, how do I say it... in case of absenteeism in
   5     payroll.             So we do have -- she's a fiscal officer also,
   6     so she does help.              To do the payroll, she's off.
   7            Q.       You said Randy; what was Randy's last name?
   8            A.       Bauer, B-E-A...
   9                     MR. STEFANY:          B-A-U-E-R.
 10                      THE WITNESS:          B-A-U-E-R, yeah.
 11      BY MR. MACDONALD:
 12             Q.       Was it Randy's position that was eliminated as
 13      a part of the Reduction in Force?
 14             A.       No.     It was Doreen, Doreen's position.                       And
 15      Doreen left and actually went to go fill a job in FRS.
 16             Q.       What's Doreen's last name?
 17             A.       Savator -- Salva -- it's S-A-L-V-A-G-A...
 18      Salvalor -- it's a very -- yeah.
 19             Q.       And you said Doreen's position in Payroll was
 20      eliminated due to redundancies and it was part of the
 21      Reduction in Force; correct?
 22             A.       It wasn't eliminated; it was just that the new
 23      system actually helped to reduce that position so we
 24      didn't need two Payroll people, when we put our new
 25      system in, during 2019 -- or 2018/2019.                               But she went on

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   1     to do another job.           But it did get rid of some of the
   2     redundancy of work.
   3            Q.       So just to clarify, Doreen's position was or
   4     was not eliminated as part of the Reduction in Force?
   5            A.       We did eliminate the payroll, yes.                 Yes.
   6            Q.       Okay.   And what was Doreen's title that was
   7     eliminated as part of the Reduction in Force?
   8            A.       We called them all fiscal officers; they were
   9     all called fiscal officers.                  Just different jobs within
 10      there.
 11             Q.       And do you know when Doreen was notified that
 12      her fiscal officer position was eliminated as part of
 13      the Reduction in Force?
 14             A.       I'm trying to think, it wasn't really the
 15      Reduction in Force; it was a part of that whole venture.
 16      No, she was already wanting to go do a different job
 17      anyways, so she had applied for another job within the
 18      agency.         So once she applied for the job and she was
 19      accepted for the FRS coordinator, then we eliminated it.
 20      She moved over and took a different job.
 21                      Does that make sense what I'm saying?                   I'm
 22      sorry if I sound... and then we didn't need that extra
 23      payroll person.
 24             Q.       And when did that change occur that you just
 25      described?

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   1            A.       It had to have been after the payroll was
   2     implemented in 2019; somewhere between -- well, 2020 I'm
   3     thinking.            2019 or 2020.        We had implemented it in 2019.
   4            Q.       And you also mentioned redundancies that led to
   5     position eliminations in HR; is that correct?
   6            A.       I'm trying to remember which ones they were.
   7     We didn't eliminate positions in there.                              What we were
   8     trying to do was streamline what they were doing so they
   9     weren't doing redundant work; so, no, there were no HR
 10      people that were eliminated.                     No jobs in HR were
 11      eliminated.            With the new system we were trying to align
 12      them so they weren't doing redundant work.
 13             Q.       So just to step back a little.
 14             A.       Okay.
 15             Q.       As part of the Reduction in Force in 2021, what
 16      positions that you oversaw were eliminated as part of
 17      the Reduction in Force due to redundancies?
 18             A.       Oh, the ones that I oversaw, not the whole
 19      agency?
 20             Q.       Yes.
 21             A.       Oh, okay.      It would have been the payroll
 22      position in Finance; a Purchasing position, we actually
 23      eliminated two positions in there; Planning & -- I don't
 24      remember if Planning & Research had any during that
 25      time.        I do know we eliminated some positions in

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   1     Planning & Research; I'm trying to remember the years.
   2     I don't want to say something I shouldn't.                        I do
   3     remember -- no, the victim advocate was too far back, I
   4     think.         Those were the ones I can think of.
   5            Q.       So as part of the Reduction in Force for
   6     employees that you supervised, there was a payroll
   7     position that was eliminated, two Purchasing positions,
   8     and you also said a Planning & Research position, I
   9     believe; is that correct?
 10             A.       Yes.
 11             Q.       And all four of those positions were eliminated
 12      as part of the Reduction in Force in 2021; correct?
 13             A.       It could have been part of 2020/2021, yes.
 14             Q.       You're not sure if it was 2020 or 2021?
 15             A.       No.
 16             Q.       Were any of those four positions eliminated at
 17      the same time as Jenna Clark's position?
 18             A.       No.
 19             Q.       So going through those positions, the first one
 20      you mentioned was payroll.                 Would that be Doreen's
 21      position that you described previously?
 22             A.       Yes.
 23             Q.       And then in Purchasing, you said there were two
 24      positions; which positions were eliminated?
 25             A.       There was the purchasing director and one of

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   1     the purchasing assistants has been eliminated.
   2            Q.       Now, the purchasing director, that refers to
   3     Jenna Clark's position, I'm assuming; correct?
   4            A.       Yes.
   5            Q.       Tell me, what redundancies were eliminated with
   6     the purchasing director position?
   7            A.       The request for quotes was picked up by
   8     Shannon; the overseeing of the purchase orders that was
   9     above her limit, the dollar amount of which she could
 10      convert to a PO was given to me, I picked that back up;
 11      the -- we haven't had any requests for quotes -- or not
 12      request for quotes, I'm sorry.                    We haven't had any
 13      contracts go out.          The furniture, Shannon picked up.
 14      Shannon picked up almost everything, except for the
 15      ability to sign for certain dollar -- a threshold
 16      limitation; I picked that up.                   And then --
 17             Q.       And you were -- I'm sorry, go ahead.                 I didn't
 18      mean to interrupt you.
 19             A.       The budget; the budget part of the purchasing,
 20      Shannon or Jill Jones, who is the budget director now,
 21      helps to oversee it and help her.                      So Jenna would have
 22      put the budget together for Purchasing, so that was
 23      picked up -- part of it was picked up by Jill Jones.
 24             Q.       And in the discussions to eliminate the
 25      purchasing director position, did you make the

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   1     determination that that position was redundant?
   2            A.       Yes.
   3            Q.       Was that decision made in conjunction with
   4     anyone else, or was it made solely by you?
   5            A.       It would have been with the undersheriff.
   6            Q.       Who had the final decision as to whether the
   7     purchasing director position would be eliminated?
   8            A.       The undersheriff.
   9            Q.       When did you first discuss the elimination of
 10      the purchasing director position with the undersheriff?
 11             A.       We had been talking about Purchasing and the
 12      way the operation, the whole operation, was working.
 13      And I can go back and say that under the different
 14      sheriffs that I worked for, Purchasing fell under the
 15      director of finance and it was always a part of Finance;
 16      it was Finance and Purchasing, and I believe Jenna was
 17      the manager in there, at that time; and then we had some
 18      more turnover with directors who left.                            And then Jenna
 19      had requested that she would fall under me as the budget
 20      director, when the last Finance director left.                             And it
 21      was probably a good thing because our finance director
 22      was pretty new and had a lot on their plate.                           So there
 23      was always talk about the potential to put it back under
 24      Finance and only have one director overseeing both of
 25      them.

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   1            Q.       Do you recall the specific time when you
   2     discussed Jenna Clark's position being eliminated with
   3     the undersheriff?
   4            A.       I can't recall.
   5            Q.       Now, you said most of the purchasing director
   6     duties were absorbed by Shannon Lehman's position; is
   7     that correct?
   8            A.       That's correct.
   9            Q.       At the time of Ms. Clark's position
 10      elimination, wasn't Ms. Lehman subordinate to Ms. Clark?
 11             A.       Yes.
 12             Q.       Did you or the undersheriff ever consider
 13      eliminating Ms. Lehman's position, as opposed to
 14      Ms. Clark's position, since she was a subordinate
 15      employee?
 16             A.       What we did was, we had to look at the
 17      strongest candidate.            I had -- we just put in a brand
 18      new system, a new management system, which also was on
 19      -- was part of Purchasing, connection to financials, and
 20      the strongest person in the background of that system
 21      was Shannon Lehman.           She was the one who stepped up to
 22      really understand and learn it and was pretty much
 23      running it.
 24             Q.       What was that system called?
 25             A.       It's called Tyler Munis.

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   1                     THE COURT REPORTER:            Are you saying "Tyler
   2            unit"?
   3                     THE WITNESS:       Munis, M-U-N-I-S.
   4     BY MR. MACDONALD:
   5            Q.       You believed that Shannon Lehman had stronger
   6     skills with the Tyler Munis system than Ms. Clark?
   7            A.       Yes.   She did.
   8            Q.       And did that play a role in deciding which
   9     position to eliminate?
 10             A.       Yes.   Plus the fact that we talked about
 11      putting it back under Finance, we had been talking about
 12      that for a while, so there was only one director.
 13             Q.       Now, Ms. Lehman is still -- with the Tyler
 14      Munis system, that wouldn't be considered a redundancy;
 15      correct?
 16             A.       No.
 17             Q.       But this was also a consideration in the
 18      Reduction in Force in 2021?
 19             A.       Yes.   We used to use manual P.O.'s,
 20      handwritten.
 21             Q.       Did you discuss Ms. Lehman's strength with the
 22      Tyler Munis system as opposed to Ms. Clark, when you
 23      spoke with the undersheriff?
 24             A.       Yes.
 25             Q.       Is it fair to say that an employee's individual

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   1     skills played a role, then, in the Reduction in Force in
   2     2021?
   3            A.       Yes.   I would say the skill sets, yes.
   4            Q.       And that's the skill sets of the employees that
   5     were in these positions; is that right?
   6            A.       Correct.
   7            Q.       Were any other factors considered in terms of
   8     these employees, besides their skills?
   9            A.       No.    Just that it was a business decision.                          No.
 10             Q.       Were these employees' rate of pay considered,
 11      when you decided which positions to be eliminated?
 12             A.       No.
 13             Q.       Wouldn't it make sense to consider an
 14      employee's rate of pay, if you were trying to save
 15      money?
 16             A.       I'm going to have to say, no.                       But that's an
 17      opinion I have, only because you have to still look at
 18      the jobs that are still the redundant jobs and what jobs
 19      are in.         We eliminated some first-line clerks, who were
 20      very low pay, probably the lowest pay we have; but we
 21      eliminated those jobs years ago, because they weren't
 22      needed.         They weren't needed anymore, and we knew that
 23      we had to do something, in order to, again, streamline
 24      and to save the agency money so we could put the money
 25      where we really needed it.

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   1            Q.       Were you aware of the salary that was paid to
   2     these employees that were selected to be eliminated?
   3            A.       I would have been aware after or at the time of
   4     it, but not during the decision-making.                           We would have
   5     been looking at the positions first.
   6            Q.       Did you have any idea how much Ms. Clark made
   7     in salary at the time that her position was selected to
   8     be eliminated?
   9                     (A brief recess was taken due to technical
 10      difficulties, then the pending question was read back by
 11      the reporter.)
 12                      THE WITNESS:      I would have -- at the time we
 13             were looking at, I would have pulled it to see how
 14             much she was, yes; how much she was making at that
 15             time, yes.
 16      BY MR. MACDONALD:
 17             Q.       You would have pulled information to see how
 18      much Ms. Clark was making at the time her position was
 19      being eliminated?
 20             A.       I would have.
 21             Q.       Why would you pull that information?
 22             A.       Well, to see how much of a savings at the time
 23      we were looking at them, should we choose to go that
 24      way.       I would be looking at that, the FRS.
 25             Q.       So how much money you were saving did play a

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   1     role in selecting which positions were going to be
   2     eliminated?
   3            A.       It wouldn't have played an exact role; but it
   4     would have been telling us what the savings would have
   5     been at the end, should we select it.                           We were still
   6     looking at the redundancy first and how we could
   7     consolidate jobs.
   8            Q.       So before you made the decision to eliminate
   9     Ms. Clark's position, you pulled the amount of her
 10      salary and benefits, but you believe that played no role
 11      in your decision to eliminate her position?
 12             A.       No.    No.   It was just what the savings would
 13      have been at the end, had we made the decision to do it.
 14             Q.       So you were considering what the savings would
 15      have been if you did move forward with eliminating her
 16      position, then?
 17             A.       Correct.
 18             Q.       So the potential savings of eliminating
 19      Ms. Clark's position did factor into your decision-
 20      making?
 21             A.       Yes.    Okay.
 22             Q.       Did you pull the salary and benefits
 23      information for other employees that were also
 24      considered to have their positions eliminated as part of
 25      the Reduction in Force?

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   1            A.       Yes.
   2            Q.       And did you pull their salary and benefits
   3     information for the same reason, to consider what the
   4     potential savings could be?
   5            A.       Yes.
   6            Q.       Now, when you pulled the salary and benefit
   7     information for these employees, did you pull any other
   8     information in regards to their employment?
   9            A.       No.
 10             Q.       Did you discuss the potential savings for those
 11      salaries and benefits with the undersheriff?
 12             A.       Yes.
 13             Q.       When did those discussions take place with the
 14      undersheriff, regarding the potential savings of the
 15      position eliminations?
 16             A.       It would have been back in 2020.
 17             Q.       And you said that there was another position in
 18      Purchasing that was eliminated as part of the Reduction
 19      in Force; is that right?
 20             A.       It was -- it was not a part of the Reduction in
 21      Force.         But I did not -- I eliminated the position
 22      because it was not needed, and so it was just ongoing.
 23             Q.       But as a part of the Reduction in Force --
 24             A.       No.
 25             Q.       -- was there any other position that was

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   1     eliminated, besides Ms. Clark's, that you supervised?
   2            A.       No.
   3            Q.       So your previous testimony regarding that
   4     Payroll position and the Planning & Research, those were
   5     not related to the Reduction in Force?
   6            A.       They weren't -- no.             They were part of the
   7     bringing on the Tyler Munis that helped with the
   8     Reduction in Force.             Does that make sense what I'm
   9     saying?         So we brought in the new system, that's what
 10      helped to reduce those positions as part of reducing the
 11      amount of people that had to do those jobs as a
 12      redundancy.
 13             Q.       So you did or you did not consider Payroll --
 14             A.       I did --
 15             Q.       Sorry?
 16             A.       I'm sorry, it was me.
 17             Q.       No, go ahead.
 18             A.       Yes, I did.       I did reduce those positions, if
 19      we want to make it part of the Reduction in Force; those
 20      people moved to different jobs.
 21             Q.       So for the Payroll position, was that
 22      eliminated as part of the Reduction in Force in 2021?
 23             A.       Yes.
 24             Q.       And the two Purchasing positions that were
 25      eliminated, were those eliminated as part of the

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   1     Reduction in Force conducted in 2021?
   2            A.       The one was.       And then the other one came last
   3     year.
   4            Q.       And which one was part of it?
   5            A.       Which one was part?            I'm sorry.
   6            Q.       Which Purchasing position was part of the
   7     Reduction in Force in 2021?
   8            A.       Oh, it was the purchasing assistant.
   9            Q.       The purchasing assistant position was part of
 10      the Reduction in Force in 2021?
 11             A.       No.   It was part of 2022; I reduced it in 2022,
 12      eliminated one more position.                    It's not a redundant --
 13      can I say -- I'm sorry, it's not really a Reduction in
 14      Force.         It's just, I realized they did not need that
 15      position there.
 16             Q.       And what I'm asking you about -- sorry, I
 17      didn't mean to cut you off.                  Go ahead.
 18             A.       That's okay.
 19             Q.       So what I'm asking about are the positions that
 20      were eliminated as part of the Reduction in Force in
 21      2021.
 22             A.       Okay.
 23             Q.       Which positions that you supervised were
 24      eliminated as part of the Reduction in Force in 2021?
 25             A.       Okay.   So it would have been the purchasing

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   1     director and then the payroll.
   2            Q.       Only those two positions?
   3            A.       Yes.   That reported to me, yes.
   4            Q.       And the Payroll position, that was the one that
   5     you discussed that with Doreen; correct?
   6            A.       Yes.
   7            Q.       But to the best of your knowledge, you did not
   8     supervise any other employees as part of the Reduction
   9     in Force in 2021, besides the Payroll position that was
 10      occupied by Ms. Doreen and then Jenna Clark's position;
 11      right?
 12             A.       Correct.
 13             Q.       When the decision was made to eliminate
 14      Ms. Doreen's position in Payroll, did you pull the
 15      salary and benefits for that role?
 16             A.       Yes.
 17             Q.       And did you discuss the salary and benefits of
 18      Ms. Doreen's position with the undersheriff?
 19             A.       Yes.
 20             Q.       And did you discuss the potential savings of
 21      eliminating Ms. Doreen's position with the undersheriff?
 22             A.       Yes.
 23             Q.       Now, besides the positions that you supervised
 24      that were eliminated as part of the Reduction in Force,
 25      did you discuss any other position eliminations with the

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   1     undersheriff?
   2            A.       For people that I didn't supervise?
   3            Q.       Correct.       For any other positions.
   4            A.       Yes, I would have talked to him about those
   5     too.
   6            Q.       Do you recall which positions those would have
   7     been?
   8            A.       It would have been the senior services
   9     coordinator, the communications -- the communications
 10      supervisor -- or, I'm sorry, communications secretary
 11      was one.             I think those were the only two that I was
 12      familiar with.            I believe those are the only two I was
 13      familiar with.
 14             Q.       And what specifically about those positions did
 15      you discuss with the undersheriff?
 16             A.       That the secretary in Communications wasn't
 17      really needed; we needed her somewhere else.                           There were
 18      enough people in Communications to handle that position,
 19      and we could have her back-fill a different job that we
 20      needed.
 21                      And then the one for Senior Services, it was a
 22      position that we were doing that really wasn't a part of
 23      the Sheriff's Office.                 It should have been handled by
 24      the county, through Human Services.
 25             Q.       Who made the determination as to whether the

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   1     senior services coordinator and communications secretary
   2     were redundant positions?
   3                     MR. STEFANY:        Let me object to the form of the
   4            question.       You may answer it, as you understand the
   5            question.
   6                     THE WITNESS:        Again, we were looking at the
   7            positions and what jobs they were filling and what
   8            tasks they were doing and could we actually absorb
   9            it somewhere else.            I don't know if I really
 10             answered your question.
 11      BY MR. MACDONALD:
 12             Q.       Did you play any role in determining whether
 13      the senior services coordinator was considered a
 14      redundant position?
 15             A.       Yes, I did.
 16             Q.       And did you play a role in determining whether
 17      the communications secretary position was considered
 18      redundant?
 19             A.       Yes.
 20             Q.       Did anyone else play a role in determining
 21      whether those two positions were considered redundant?
 22             A.       It would have been the manager or the
 23      administrator in Communications, and then it would have
 24      been the person who was overseeing the senior services
 25      coordinator.           And I don't remember who that supervisor

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   1     was at that time.
   2            Q.       You don't remember who that person would have
   3     been for the senior services coordinator?
   4            A.       No.    I don't remember who the supervisor.
   5     There were some changes there too so.
   6            Q.       Do you remember who the supervisor would have
   7     been for the communications secretary?
   8            A.       It would have been, I think, Captain Janke.
   9            Q.       And what is Captain Janke's position?
 10             A.       He was the captain over Communications.
 11             Q.       And Captain Janke would have had a role in
 12      determining whether the communications secretary
 13      position was redundant?
 14             A.       Yes.
 15             Q.       I'm going to show you a document.                     (Screen
 16      share began of 8/15/21 letter from Dawn Heikkila to
 17      Jenna Clark.)
 18                      This has been previously marked as Plaintiff's
 19      Exhibit 5, and it's Bates label 4350. I'll give you a
 20      moment to review this document.
 21             A.       (Witness peruses the document.)                     Okay.
 22             Q.       Do you recognize this document?
 23             A.       It's a letter that Dawn sent to Ms. Clark.
 24             Q.       Have you seen it before?
 25             A.       It's in her file.

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   1            Q.       But have you seen this document, prior to
   2     today?
   3            A.       Yes.   I saw it on Friday.
   4            Q.       And you said this was a document written by
   5     Dawn Heikkila; is that correct?
   6            A.       Yes.
   7            Q.       And the letter appears to be dated August 15,
   8     2021; is that right?
   9            A.       Yes.
 10             Q.       And this letter was sent to Jenna Clark, to
 11      notify her that her position was being eliminated; is
 12      that right?
 13             A.       Yes.
 14             Q.       Did you instruct Ms. Heikkila to write this
 15      letter?
 16             A.       It was either I or the undersheriff.
 17             Q.       You don't recall if you told Ms. Heikkila to
 18      write this letter?
 19             A.       No, I don't.
 20             Q.       Did you ever discuss this letter with
 21      Ms. Heikkila?
 22             A.       No.
 23             Q.       Did you ever discuss this letter with the
 24      undersheriff?
 25             A.       This particular letter, no.

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   1            Q.       Do you know if anyone else that had their
   2     position eliminated as part of the Reduction in Force
   3     received a letter that's similar to this one?
   4            A.       Yes.
   5            Q.       Who would have received a letter that's similar
   6     to this one?
   7            A.       Stacy Payne, Bill Berkowitz, I believe Terri
   8     Taylor.         I don't remember the rest.
   9            Q.       What was the first person's name; it was Stacy?
 10             A.       Stacy Payne, P-A-Y-N-E.
 11             Q.       And what was her position at the time that she
 12      received a letter like this?
 13             A.       It would have been -- she was director of
 14      community outreach, I believe.
 15             Q.       And how do you know she received a letter
 16      similar to this one?
 17             A.       Because I did -- it would be in the file.
 18             Q.       When was Stacy Payne's position eliminated?
 19             A.       I want to say 2019.
 20             Q.       And you also said Bill Berkowitz; is that
 21      right?
 22             A.       Yes.   Bill Berkowitz.
 23             Q.       What was Bill Burkwitz's position at the time
 24      that his position was eliminated?
 25             A.       He was director of special projects, I believe.

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   1            Q.       And how do you know that Bill Berkowitz
   2     received a letter similar to the one I'm showing you?
   3            A.       I just know that she told me that she was
   4     sending them letters.                   Dawn reported to me back then, I
   5     believe.             Yes.
   6            Q.       Do you know what year that letter would have
   7     been sent to Bill Berkowitz?
   8            A.       2019 -- wait, I'm sorry, let me -- yes, 2019.
   9     I had to remember.
 10             Q.       And then you said Terri Taylor, as well; is
 11      that correct?
 12             A.       Yes.        I'm not sure when Terri Taylor -- I'm not
 13      sure of the date for hers, when she left.
 14             Q.       What was Terri Taylor's position?
 15             A.       She was the executive director of the sheriff.
 16                      MR. STEFANY:            Executive director?
 17                      THE WITNESS:            I'm sorry.           Executive admin
 18             assistant.           Thank you.           Sorry about that.
 19      BY MR. MACDONALD:
 20             Q.       And do you know if those employees that we just
 21      discussed, if they elected to retire?
 22             A.       I know Bill Berkowitz Did.                      I believe Terri
 23      Taylor did.            I'm not sure if Stacy resigned or if she
 24      retired; I'm not sure about that one.
 25             Q.       I'll show you another exhibit.                          This has been

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   1     previously marked as Plaintiff's Exhibit 4, and it's
   2     Defendant's Bates label 123.                  I'll give you a minute to
   3     look at this document.             And I can zoom in as well, if
   4     you need me to.
   5            A.       (Witness peruses the document.)                   Okay.
   6            Q.       Do you recognize the document that I'm showing
   7     you?
   8            A.       Yes.
   9            Q.       What is it?
 10             A.       It's Position Elimination Spreadsheet.
 11             Q.       And on this document, there are several
 12      positions listed; is that right?
 13             A.       Yes.
 14             Q.       Are the positions listed on this document all
 15      of the positions that were eliminated as part of the
 16      Reduction in Force in 2021?
 17             A.       Yes.
 18             Q.       Are there any positions that were part of that
 19      Reduction in Force in 2021 that are not listed on here?
 20             A.       The only one I don't see would be the Payroll
 21      position.
 22             Q.       Do you know why the Payroll position wouldn't
 23      be included on this list?
 24             A.       Because we actually used the position for our
 25      capital assets coordinator.                 So we would have just

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   1     reutilized that position, to clarify this.
   2            Q.       What do you mean, that you would have
   3     reutilized the position?
   4            A.       So we have authorized positions, and so we
   5     would have simply taken that authorized position and
   6     moved it to the capital assets project and utilized it
   7     for another position that we needed.
   8            Q.       But it's your understanding that that position
   9     was eliminated?
 10             A.       Yes.   We went down to one payroll person.
 11             Q.       And who is in that position?                   It was
 12      Ms. Doreen; is that right?
 13             A.       Yes.
 14             Q.       Does Ms. Doreen still work for Lee County
 15      Sheriff's Office?
 16             A.       Yes, she does.
 17             Q.       And what role does she have?
 18             A.       She's -- she was doing the FRS coordinating
 19      position, but then she went part-time; so she works
 20      part-time in Human Resources.
 21             Q.       Would Ms. Doreen have received a letter similar
 22      to the one that I showed you that Ms. Clark received?
 23             A.       No.
 24             Q.       Why not?
 25             A.       Because she already accepted a job somewhere

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   1     else, before we eliminated the position; so she vacated
   2     the position before it was even eliminated.
   3            Q.       And that was the FRS position with the Lee
   4     County Sheriff's Office that she'd accepted?
   5            A.       Yes.
   6            Q.       And listed first on this list it states the
   7     position of senior services coordinator; do you see
   8     that?
   9            A.       Yes.
 10             Q.       And it appears that that position was filled by
 11      Jamie Bartz; is that right?
 12             A.       That's correct.
 13             Q.       Do you know if Jamie Bartz received a letter
 14      similar to the one that Ms. Clark received?
 15             A.       No, I don't know that.
 16             Q.       And looking at this document, it appears that
 17      on 1/31/2021, the senior services coordinator position
 18      was eliminated-slash-retired; is that right?
 19             A.       Correct.
 20                      MR. STEFANY:      I'm going to object to the
 21             question as phrased, Counsel, since -- the way you
 22             phrased it, I'm objecting to.                   So the witness has
 23             answered it; that's fine.
 24      BY MR. MACDONALD:
 25             Q.       Did you discuss the elimination of the senior

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   1     services coordinator position, prior to January 31 of
   2     2021, with the undersheriff?
   3            A.       We would have been looking at it a year ago,
   4     yes.
   5            Q.       And did you pull the salary and benefits
   6     information for the senior services coordinator prior to
   7     or while discussing the elimination of that position?
   8            A.       I may have.
   9            Q.       And does Ms. Bartz still work for the Lee
 10      County Sheriff's Office?
 11             A.       No.    She retired.
 12             Q.       And the next position listed there is the
 13      secretary of traffic; is that right?
 14             A.       That's correct.
 15             Q.       And that position was filled by Ms. Sprankel,
 16      Ms. Marcia Sprankel, I should say?
 17             A.       Mm-hm.
 18             Q.       Were you involved in any discussions regarding
 19      the elimination of the secretary of traffic position?
 20             A.       No.
 21             Q.       And looking at this document, it appears that
 22      the secretary of traffic position is listed as
 23      "retired-slash-position eliminated"; is that right?
 24             A.       Yes.    The position was eliminated because the
 25      person retired, yes.

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   1            Q.       And the major of professional standards
   2     position is also listed here as well; correct?
   3            A.       Correct.
   4            Q.       And that position was filled by Tracy Estep; is
   5     that right?
   6            A.       Yes.
   7            Q.       Were you involved in any decisions to eliminate
   8     the major of professional standards position?
   9            A.       No.
 10             Q.       And the next position listed there is the
 11      director of purchasing position; correct?
 12             A.       Yes.
 13             Q.       And that was the position we had previously
 14      discussed that Ms. Clark had filled; is that right?
 15             A.       That's correct.
 16             Q.       And you were involved in discussions to
 17      eliminate the director of purchasing position; correct?
 18             A.       Correct.
 19             Q.       And the date listed for the elimination of the
 20      director of purchasing position appears to be 9/4/2021;
 21      is that right?
 22             A.       That's correct.
 23             Q.       And the next position listed is community
 24      liaison.             Do you see that?
 25             A.       Yes.

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   1            Q.       Were you involved in any discussions for the
   2     elimination of the community liaison position?
   3            A.       No.
   4            Q.       And the next position listed is the director of
   5     fleet management; do you see that?
   6            A.       Yes.
   7            Q.       Were you involved in any discussions regarding
   8     the elimination of the director of fleet management
   9     position?
 10             A.       Yes.
 11             Q.       In what regard were you involved in those
 12      discussions?
 13             A.       Fleet Management reported to me.
 14             Q.       Did you have discussions with the undersheriff
 15      regarding the director of fleet management position
 16      being redundant?
 17             A.       Yes.
 18             Q.       And did you have those discussions with the
 19      undersheriff?
 20             A.       Yes.
 21             Q.       Why was the director of fleet management
 22      position deemed redundant?
 23             A.       Because we already had a captain over it.
 24             Q.       You already had a captain over it, you said?
 25             A.       Yes.   Well, they put a captain over it; that's

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   1     correct.
   2            Q.       When was a captain put over that position?
   3            A.       I can't tell you exactly when.                    Because Fleet
   4     Management was one of those positions that was
   5     reassigned, I believe; I'm trying to remember.                            And the
   6     fleet moved under somebody else, from under me; so I'm
   7     trying to remember that person.                    That was a decision to
   8     put -- that still reported to me, the captain did.                               That
   9     was a position that they wanted to put a captain over,
 10      and so they eliminated the director's position.
 11             Q.       And the captain was put over that area of the
 12      Lee County Sheriff's Office after the position was
 13      eliminated?
 14             A.       Yes.
 15             Q.       And it looks like the date listed for that
 16      position was 11/4/2021; is that accurate?
 17             A.       I believe so.
 18             Q.       Did you discuss the elimination of the director
 19      of fleet management's position, prior to 11/4/2021?
 20             A.       Yes.
 21             Q.       Who did you discuss that with?
 22             A.       The undersheriff.
 23             Q.       Do you remember when, specifically?
 24             A.       I'm trying to remember; it was earlier in the
 25      year.        I'm sorry, I don't remember exactly when, but it

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   1     was earlier in the year.
   2            Q.       And do you see, under the Comment section, it
   3     appears to say "Title change to fleet services
   4     specialist-slash-position eliminated-slash-pay cut"?
   5            A.       Yes.
   6            Q.       What does that mean?
   7            A.       The fleet manager or the fleet director was
   8     reduced down to a specialist, to back-fill the position
   9     in Fleet, and he took a pay cut.
 10             Q.       And the next position listed is communications
 11      manager; is that correct?
 12             A.       Correct.
 13             Q.       And that position was filled by Anthony Ramsey;
 14      is that right?
 15             A.       Yes.
 16             Q.       Okay.   Were you involved in the discussions to
 17      eliminate the communications manager position?
 18             A.       No.
 19             Q.       So you were not involved in any kind of
 20      discussion regarding the redundancy of the
 21      communications manager as well?
 22             A.       No.
 23             Q.       Now, you also previously mentioned a
 24      communications secretary position; is that right?
 25             A.       That's correct.

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   1            Q.       Do you know why that position isn't listed here
   2     on this document?
   3            A.       No, I don't.       I didn't make this.                I'm not sure
   4     why it's not on there.
   5            Q.       Should it be included on this list of
   6     employees?
   7            A.       Yes.   I would think it should be, since we did
   8     eliminate the position.
   9            Q.       So just to make sure I understand correctly.
 10      The director of communications position and the payroll
 11      position we previously discussed should be included on
 12      this list of positions eliminated as part of the
 13      Reduction in Force?
 14             A.       Well, I'm a little perplexed.                      Because,
 15      sometimes, it's not a Reduction in Force.                             We utilized
 16      the positions -- I would have listed the secretary on
 17      there, yes.          I guess both of them could have been listed
 18      on here.
 19             Q.       What made you consider the elimination of the
 20      communications secretary position to be part of the
 21      Reduction in Force conducted in 2021?
 22             A.       I'm trying to remember if it was one of them or
 23      one of them we just spotted as a redundancy of work or
 24      not enough work for one person, that the work could be
 25      given to somebody else to do, that the secretary was

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   1     doing; and so it might not have been the actual
   2     Reduction in Force, but for the huge money savings.
   3            Q.       What do you mean, "for the huge money savings"?
   4            A.       Well, for the bulk of the Reduction in Force
   5     for the dollar amounts, I think those might have been
   6     thought about afterwards as we were going along and
   7     studying what people were doing, to see if we were
   8     actually putting the right people in the right place.                                 I
   9     would have listed them on here, though.
 10             Q.       The communications secretary position, you
 11      would have listed?
 12             A.       I would have, yes.          Because we did reutilize
 13      that position some more; we utilized the money.                            We were
 14      in payroll when we utilized the position, so the savings
 15      weren't really there, if that makes sense what I'm
 16      saying.         I'm sorry.
 17             Q.       And do you remember, roughly, when the
 18      communications secretary position was eliminated?
 19             A.       I'm trying to think.            No, I don't.        I don't
 20      remember the date.           I'm trying to think.                 It may not
 21      have been during the 2021 -- no, I don't know.                           I'm
 22      sorry.
 23             Q.       Do you know if the senior services coordinator
 24      position received a letter similar to the one that I
 25      showed you that Ms. Clark received?

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   1            A.       No.    No.
   2            Q.       And do you know if the director of fleet
   3     management position received a letter similar to the one
   4     that Ms. Clark received?
   5            A.       No.
   6            Q.       Do you know if the communications secretary
   7     position that we had discussed received a letter similar
   8     to what Ms. Clark received?
   9            A.       No.
 10             Q.       So to the best of your knowledge, out of the
 11      employees that are listed here on this document, the
 12      only one to have received the letter that Ms. Clark
 13      received was Ms. Clark; is that right?
 14             A.       I'm not sure about Amy Delaquilla, if she got
 15      one or not.           And I don't know if Anthony Ramsey got one.
 16      I wouldn't know that.
 17             Q.       But the only employee that you do know for
 18      certain received a letter of that type would be
 19      Ms. Clark; is that right, on this list?
 20             A.       Yes.
 21             Q.       Do you see the age of the employees that are
 22      listed here on this document?
 23             A.       I'll have to get a little closer... yes.
 24             Q.       And going in order from the top here, the ages
 25      listed are 58, 66, 48, 59, 58, 51, and 46; is that

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   1     right?
   2            A.       That's correct.
   3            Q.       Now, of these employees that were selected to
   4     have their positions eliminated that are listed on this
   5     document, all of them are over the age of 40; is that
   6     right?
   7            A.       Correct.
   8            Q.       Did age play any consideration in the
   9     determination as to which position should be eliminated?
 10             A.       No.
 11             Q.       Did you or the undersheriff ever discuss the
 12      age of the employees that were going to be -- I'm sorry,
 13      that were going to have their positions eliminated?
 14             A.       No.
 15             Q.       Is it possible that age may have played an
 16      implicit role in your decision as to which positions
 17      were going to be eliminated?
 18                      MR. STEFANY:      Objection as to form.            You may
 19             answer.
 20                      THE WITNESS:      Age did not play any part of it.
 21      BY MR. MACDONALD:
 22             Q.       Do you know why no positions were selected to
 23      be eliminated that were filled by employees that were
 24      younger than 40?
 25             A.       I can't answer that.

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   1            Q.       Why can you not answer that?
   2            A.       Because I can't think of what positions we -- I
   3     would have never looked at their age.                         I was only
   4     looking at the work they were doing, so.
   5            Q.       Now that I'm showing you the ages of the
   6     employees that were selected to be eliminated, do you
   7     think that could appear to be discriminatory?
   8                     MR. STEFANY:      Objection as to form.             You may
   9            answer the question.
 10                      THE WITNESS:      No.      Again, I'm not looking at
 11             their age.     I was looking at the job they were
 12             doing.
 13      BY MR. MACDONALD:
 14             Q.       When you discussed the positions to be
 15      eliminated with the undersheriff, did either of you
 16      discuss measures that could be taken to prevent any sort
 17      of bias in selecting positions to be eliminated?
 18             A.       I don't recall us talking about that.
 19             Q.       Do you think that's an important consideration,
 20      eliminating bias in selecting positions to be
 21      eliminated?
 22             A.       I think what we were looking at was the best
 23      way to run the agency as a business as well as a
 24      government entity, so that we were doing what was right
 25      for the citizens of Lee County.                    I don't think we took

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   1     certain things into -- I don't think that's one of the
   2     things we talked about.                We gave the employees an
   3     opportunity to look for another open job within the
   4     agency that they would want to take on where we really
   5     needed them.           (Screen share ended.)
   6            Q.       Now, previously, we discussed some disciplinary
   7     issues that you had with Ms. Clark; is that right?
   8            A.       Yes.
   9            Q.       Did Ms. Clark's disciplinary issues play any
 10      role in the decision to eliminate her position from the
 11      Lee County Sheriff's Office?
 12             A.       No.
 13             Q.       Did the disciplinary records of any employees
 14      play any role in the decision to eliminate their
 15      positions that you were involved in?
 16             A.       No.
 17             Q.       But the individual skills of the employees that
 18      were selected were considered; correct?
 19             A.       That's correct.
 20             Q.       And the savings in terms of those employees'
 21      salary benefits were considered as well, in determining
 22      which positions to be eliminated?
 23             A.       Yes.   The position, first; and then what the
 24      savings would be, second.
 25             Q.       I'm going to show you another exhibit.                     (Screen

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   1     share of 8/19/21 email began.)                      This has been previously
   2     marked as Plaintiff's Exhibit 8, and it's Bates labeled
   3     565 and 566.         And I'll give you a minute to review this.
   4            A.       (Witness peruses the document.)                     Could you
   5     scroll it up to the next page?
   6            Q.       Sure.
   7            A.       Thank you.      Okay.
   8            Q.       Do you recognize this document that I'm showing
   9     you?
 10             A.       Yes, I do.
 11             Q.       What is it?
 12             A.       It was my write-up, just for the undersheriff,
 13      to let him know some of the problems I was having with
 14      the warehouse being overcrowded and not having enough
 15      room for the new uniforms coming in and what was causing
 16      the problems.
 17             Q.       And this was an email message; is that right?
 18             A.       Mm-hm.
 19             Q.       And it was sent by you, to the undersheriff; is
 20      that right?
 21             A.       That's correct.
 22             Q.       And looking at this document, it seems to be
 23      dated August 19, 2021; is that right?
 24             A.       That's correct.
 25             Q.       Now, why did you send this to the undersheriff?

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   1            A.       I just wanted to document what was going on, so
   2     that I had it fresh in my head, and let him know why I
   3     was having problems in the warehouse.
   4            Q.       And looking at the second page here, you see
   5     the sentence that says, "Director Clark clearly defied
   6     my directive to have all the old items moved from LCSO
   7     inventory as instructed and showed total insubordination
   8     towards me as her direct supervisor."
   9            A.       Okay.
 10             Q.       Do you see that?
 11             A.       Yes, I do.
 12             Q.       That's pretty strong language, wouldn't you
 13      agree?
 14                      MR. STEFANY:       Objection as to form.            You may
 15             answer.
 16                      THE WITNESS:       I was just putting it in writing
 17             that she was showing insubordination when I gave
 18             her a directive, yes.
 19      BY MR. MACDONALD:
 20             Q.       Had you put any instances of insubordination or
 21      other discipline in writing about Ms. Clark, prior to
 22      this email?
 23             A.       No.
 24             Q.       Why did you choose to put it in writing this
 25      time, as opposed to any other instances of disciplinary

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   1     issues you may have had?
   2            A.       I guess I did it this time because she -- the
   3     reason I did it was because I had given her a directive,
   4     and I felt like she was being insubordinate.                       Because I
   5     had talked to them twice, her and Lehman, twice about
   6     what needed to be done in the warehouse in order to be
   7     able to accommodate all the new uniforms coming in,
   8     because we were changing them.                    And so I felt like there
   9     was insubordination there.
 10             Q.       Have you ever sent an email that's similar to
 11      this one to the undersheriff, regarding any other
 12      employee?
 13             A.       I'd have to go back and remember; I don't
 14      remember, right off the top of my head.
 15             Q.       Do you recall ever sending a message similar to
 16      this one regarding another employee to the undersheriff?
 17             A.       I cannot think about right now whether I did or
 18      did not, so I don't want to say.                     I could have.       I could
 19      have.
 20             Q.       Now, I previously showed you a letter to
 21      Ms. Clark regarding the Reduction in Force?
 22             A.       The one from Dawn Heikkila?
 23             Q.       Yes.
 24             A.       Yes.
 25             Q.       Do you recall that that letter was dated August

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   1     15, 2021?
   2            A.       I remember seeing that date on there; I do.
   3            Q.       Now, that would be four days prior to the date
   4     of this email; is that right?
   5            A.       Yes.
   6            Q.       So at the time that you wrote this email, were
   7     you already aware that Jenna Clark's position was going
   8     to be eliminated?
   9            A.       No.
 10             Q.       You were not aware, on August 19, 2021, that
 11      Ms. Clark's position was going to be eliminated from Lee
 12      County Sheriff's Office?
 13             A.       No.
 14             Q.       But weren't you involved in previous
 15      discussions about her position with the undersheriff?
 16             A.       The talk, yes, about it being eliminated.                      But
 17      it wasn't approved.
 18             Q.       When was that decision approved?
 19             A.       I was told on the 20th.
 20             Q.       Of August?
 21             A.       Yes.   I'm sorry, yes, of August.
 22             Q.       Who informed you that Ms. Clark's position was
 23      approved to be eliminated on August 20, 2021?
 24             A.       The undersheriff.
 25             Q.       Now, do you know why Dawn Heikkila would have

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   1     written a letter to Ms. Clark notifying her that her
   2     position was going to be eliminated, five days prior to
   3     its approval?
   4            A.       It's my belief that she has the wrong date on
   5     the letter.
   6            Q.       You said you believe that date is incorrect on
   7     that letter?
   8            A.       Yes.
   9            Q.       So this email would have been sent, then, the
 10      day prior to you being notified that Ms. Clark's
 11      position was going to be eliminated; is that correct?
 12             A.       Yes.
 13             Q.       And you said you discussed this email with the
 14      undersheriff verbally, at some point; is that right?
 15             A.       Yes.
 16             Q.       Would that have been that same day that you
 17      sent the email, that you discussed it with the
 18      undersheriff?
 19             A.       Yes.
 20             Q.       So on August 19, 2021, you discussed this issue
 21      with Ms. Clark and her insubordination; correct?
 22             A.       Correct.
 23             Q.       And the next day, on August 20, you had a
 24      discussion with the undersheriff where he notified you
 25      that Ms. Clark's position was approved to be eliminated?

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   1            A.       Yes.
   2            Q.       Is there any relation between those two events,
   3     in terms of the proposed timing between the two?
   4            A.       I don't believe so.
   5            Q.       What was your reaction when the undersheriff
   6     notified you that Ms. Clark's position was approved to
   7     be eliminated?
   8            A.       My reaction?
   9            Q.       Yes.
 10             A.       I was -- I guess I was surprised that it was
 11      approved.
 12             Q.       Why were you surprised?
 13             A.       I just didn't expect it that quickly.                  I know
 14      that it was talked about; I told you, over a couple of
 15      years ago, about putting those two units back together,
 16      for Finance and Purchasing.
 17             Q.       When you spoke with the undersheriff and he
 18      notified you that Ms. Clark's position was going to be
 19      eliminated, did he notify you that any other positions
 20      had been approved?
 21             A.       No, not at that point.
 22             Q.       Was it your understanding that Ms. Clark's
 23      position was the only one approved to be eliminated at
 24      that time?
 25             A.       At that time -- that I knew of, because she

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   1     reported to me; that's probably why he told me about
   2     that one.
   3            Q.       But the undersheriff didn't discuss the
   4     approval of any other positions to be eliminated from
   5     the Lee County Sheriff's Office with you?
   6            A.       Not with me, no.
   7            Q.       (Screen share ended.)              Is it true that
   8     Ms. Clark was on leave at the time that she was notified
   9     that her position was being eliminated?
 10             A.       She'd took a couple of sick days, yes.                    She
 11      took some sick days.
 12             Q.       Do you know what Ms. Clark had taken sick days
 13      for?
 14             A.       Yes.
 15             Q.       What did Ms. Clark take sick days for?
 16             A.       She was having some surgery done.
 17             Q.       Was Ms. Clark recovering from her surgery at
 18      the time that she was notified that her position was
 19      going to be eliminated?
 20             A.       Yes.
 21             Q.       Did the fact that she was on leave impact the
 22      timing of that notification?
 23             A.       I'm sorry, I don't... Say that again.
 24             Q.       Yes.   Did the fact that Ms. Clark was on leave
 25      impact the timing of the notification that she was

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   1     notified of that elimination?
   2            A.       I don't -- I know they sent her the letter in
   3     the mail, but I guess I'm not comprehending.
   4            Q.       Well, did you ever discuss with any employee
   5     the fact that Ms. Clark was on leave when her position
   6     was selected to would be eliminated?
   7            A.       I made -- yes.           I would have been told, I'm
   8     sure, that she wasn't in the office; that's correct,
   9     that she was out on a sick day.
 10             Q.       Did you discuss holding off on sending that
 11      notification because Ms. Clark was on leave?
 12             A.       No.
 13             Q.       Why is that?
 14             A.       I believe it was already done before -- I don't
 15      believe that they knew that she was out and what she was
 16      out for.             I would have been the one that would have
 17      known what she was out for.                     But I believe the letter
 18      was already -- the approval was already done, and the
 19      notification was going out.
 20             Q.       Did you discuss the fact that Ms. Clark was on
 21      leave at the time her position was selected to be
 22      eliminated with Dawn Heikkila?
 23             A.       Dawn would have known that she was out.
 24             Q.       But did you have discussions with Ms. Heikkila
 25      about Ms. Clark being on leave at the time that her --

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   1            A.       No.
   2            Q.       -- position was selected to be eliminated?
   3            A.       No.
   4            Q.       Why were you aware of the reason for
   5     Ms. Clark's leave?
   6            A.       She told me.
   7            Q.       Did Ms. Clark tell you, whenever she needed to
   8     take medical leave?
   9            A.       Yes.
 10             Q.       And was that because you were Ms. Clark's
 11      supervisor at the time?
 12             A.       Yes.
 13             Q.       Were you responsible for approving Ms. Clark's
 14      leaves of absence from the Lee County Sheriff's Office?
 15             A.       Yes.
 16             Q.       What types of leave were you responsible for
 17      approving for Ms. Clark?
 18             A.       Sick days, vacation dates, personal days,
 19      vacation.
 20             Q.       Had Ms. Clark taken sick day leave, prior to
 21      this instance with her surgery?
 22             A.       I'm sure she has, yes.
 23             Q.       Do you recall her taking sick leave prior to
 24      this?
 25             A.       Yes.   She took some sick leave; I'm not sure

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   1     what year, a couple of years ago or something.
   2            Q.       Do you recall how often Ms. Clark would use her
   3     sick leave benefits?
   4            A.       No.
   5            Q.       Do you recall Ms. Clark using any sick leave
   6     benefits more than other employees, based on your
   7     experience?
   8            A.       No.
   9            Q.       Do you know if Ms. Clark suffered from any
 10      medical conditions?
 11             A.       I know she had a problem a couple of years ago.
 12      Because she told me when she needed to go out.
 13             Q.       What was the problem?
 14             A.       Is it okay to talk about other people's -- I
 15      know she had something like a growth that was happening
 16      near her heart or something that she had to have some
 17      surgery on.
 18             Q.       And when was that?
 19             A.       I don't remember the -- it was a couple of
 20      years ago, I believe.             I'm not real sure.
 21             Q.       And besides that growth that you had mentioned,
 22      are there any other medical conditions that Ms. Clark
 23      had discussed with you?
 24             A.       There was one other one that she was having a
 25      problem with.         But I think she got past -- I know she

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   1     had severe migraines.                She would have migraines; I'm
   2     trying to think of the equilibrium problem.                            I'm trying
   3     to -- what's the name of the equilibrium problem
   4     sometimes with the ears, where there's like fluid gets
   5     in there?            I can't remember what it was.                   But she had
   6     little problems with that.
   7            Q.       So problems with equilibrium and something with
   8     the ears that you had mentioned and then also something
   9     related to a growth around her heart; is that right?
 10             A.       Correct.
 11             Q.       Any other medical conditions that she made you
 12      aware of, besides those two?
 13             A.       No.
 14             Q.       Did any of the other employees in the
 15      Purchasing Department ever make you aware of medical
 16      conditions that they suffered from?
 17             A.       Yes.
 18             Q.       Which employees notified you of medical
 19      conditions?
 20             A.       Shannon, that she would have one, yeah; I'm
 21      trying to think -- Brenda has talked to me a few times
 22      about a few of her things.                    Sometimes we just talk, just
 23      normal talk about it.
 24             Q.       Did Brenda or Shannon ever take medical leave
 25      related to those conditions?

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   1            A.       I'm trying to remember; I know -- Shannon did,
   2     but not when she was the manager in there; and Brenda.
   3     I'm not sure.          I don't remember.
   4            Q.       Shannon never took medical leave related to her
   5     condition when she was in the Purchasing Department;
   6     correct?
   7            A.       No.
   8            Q.       And you don't recall Shannon taking leave
   9     related to a medical condition, either?
 10             A.       I know Shannon did.            But not when she was in
 11      Purchasing; she did when I worked with her in another
 12      job, yes.
 13             Q.       The Purchasing Department employees that worked
 14      there when Ms. Clark worked in the Purchasing
 15      Department, Ms. Clark was the only one that took leave
 16      related to medical conditions, as far as you're aware?
 17             A.       As far as I'm aware.             Because they would be
 18      reporting to her as far as taking leave, instead of to
 19      me, because they were her subordinates.                            And then,
 20      that's when they would have reported it to Dawn Heikkila
 21      because then it would have become up an FMLA issue or a
 22      sick leave issue.
 23             Q.       And was FMLA leave handled differently?
 24             A.       Yes.   So you could take sick days and up to 7
 25      days before you would have to go on FMLA.                            But usually I

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   1     have people that report to me -- back then it was Florin
   2     (ph), she's no longer here.                 But they would reach out to
   3     Dawn, and then Dawn would tell them everything they
   4     needed to do if they were going to be out past the 7
   5     days, to get the certification for the FMLA.
   6            Q.       Do you know if Jenna Clark ever took FMLA
   7     leave?
   8            A.       I'm trying to remember if she took it a couple
   9     of years ago.        I believe she may have taken it a couple
 10      of years ago for the condition that she had.
 11             Q.       Do you know if any of the other employees in
 12      the Purchasing Department that worked there at the same
 13      time as Ms. Clark ever used FMLA leave benefits?
 14             A.       I'm trying to think.            Gwen.       Gwen did.    I
 15      remember Gwen being out on FMLA.                     I'm trying to think if
 16      there was anybody else.              Danielle was -- Danielle was
 17      out for pregnancy.          But I can't think of any others that
 18      I know of, off the top of my head.
 19             Q.       Do you recall when Gwen took FMLA leave,
 20      roughly?
 21             A.       I want to say year ago, maybe a year ago.
 22      That's what I'm thinking.
 23             Q.       And you said Danielle; who is Danielle?
 24             A.       Danielle was -- she left and then came back; I
 25      don't -- there's a lot of turnover.                       She took FMLA from

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   1     there, a few years back when she had her child.
   2            Q.       And Danielle, what's her last name?
   3            A.       Deponto, D-E-P-O-N-T-O.              Deponto.
   4            Q.       And what position did Ms. Danielle hold in the
   5     Purchasing Department?
   6            A.       Purchasing agent.
   7            Q.       Does Danielle still work in the Purchasing
   8     Department?
   9            A.       Yes.
 10             Q.       Do you remember when she started working in the
 11      Purchasing Department?
 12             A.       I'm sorry, no.       She started and then she left
 13      and then she -- we rehired her later, a few years later.
 14             Q.       Did the amount of leave that Ms. Clark used
 15      play any role in the decision to eliminate her position?
 16             A.       No.
 17             Q.       Did the use of leave benefits play a role in
 18      the decision to eliminate any employees that you're
 19      aware of?
 20             A.       No.
 21             Q.       Did Ms. Clark's medical condition play any role
 22      in the decision to eliminate her position?
 23             A.       No.
 24             Q.       Did any employees' medical condition play a
 25      role in the decision to eliminate their position?

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   1            A.       No.
   2                     MR. MACDONALD:          All right.           We can go ahead and
   3            go off the record at 1:02.
   4                     THE COURT REPORTER:              We're off the record.
   5                     (A brief recess was taken.)
   6                     THE COURT REPORTER:              Back on the record.
   7     BY MR. MACDONALD:
   8            Q.       Ms. Reno, do you know how much money was saved
   9     by the Reduction in Force that was conducted in 2021?
 10             A.       No.    I don't have that information in front of
 11      me.
 12             Q.       Did you ever discuss the total amount that was
 13      saved by the Reduction in Force in the 2021 with the
 14      undersheriff?
 15             A.       I'm trying to think -- no.                   Because I was
 16      stepping back away from the budgetary part of it.                               So
 17      Bill Jones was the budget director and was now keeping
 18      track of a lot of that information.
 19                      MR. MACDONALD:          Those are all the questions I
 20             have for you today, Ms. Reno.                      I thank you for your
 21             time.         Mr. Stefany may have some questions for you.
 22                      MR. STEFANY:         Kyle, I do have some questions.
 23             But I think we need to take a little bit of an
 24             extended break, to give the witness a break, for a
 25             meal or whatever else.                 So I'm guessing we could

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   1            maybe come back at, say, two o'clock.
   2                     MR. MACDONALD:       We can do that.
   3                     MR. STEFANY:      And I'm going to just leave this
   4            connected.     But let's just resume at two o'clock,
   5            and then I'll get organized and hopefully be more
   6            efficient with my questions.
   7                     THE COURT REPORTER:           We're off the record.
   8                     (A brief recess was taken.)
   9                     THE COURT REPORTER:           We're back on record.
 10                      MR. STEFANY:      So I promised Kyle and Julie I'd
 11             be efficient, so let me take a shot at being
 12             efficient with a few follow-up questions.
 13                                 CROSS-EXAMINATION
 14      BY MR. STEFANY:
 15             Q.       So, Ms. Reno, you testified that at some point
 16      in time, when Chief Sands came in, you gave up some of
 17      your prior responsibilities as executive director of the
 18      support bureau here at the Sheriff's Office; correct?
 19             A.       That's correct.
 20             Q.       So I'm trying to hone in on specifically when
 21      it was that you gave up your responsibilities over
 22      budget or budgeting.
 23             A.       That was just -- I'm trying to remember exactly
 24      when it was -- oh, when the decision was made that I
 25      would stay, I would stay longer and DROP, I'm trying to

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   1     think -- it would have been in August of last year or
   2     September.
   3            Q.       September of '22?
   4            A.       Yes.    -- wait, I'm trying to think; I'm sorry.
   5     We're in '23, aren't we?
   6            Q.       We are.
   7            A.       Sorry.    I'm trying to remember exactly when it
   8     was.       They changed the legislation, July of 2023; so I
   9     would have gave up, relinquished budget to him, when I
 10      decided to stay on after July of 2023 of this year.
 11             Q.       So it would have been probably September of
 12      2022?
 13             A.       September, yes.           And I decided to budget with
 14      him so that he'd get a better understanding, because I'd
 15      done the budget for so long, so he could work more
 16      closely with Jill.
 17             Q.       Okay.    And then with respect to the budgeting
 18      process -- and, I know, it's got to be sort of an
 19      ongoing effort throughout the course of a year, to plan
 20      for your next budget proposal to the county commission;
 21      is that true?
 22             A.       Yes.
 23             Q.       So typically -- let me go back and focus on
 24      calendar year 2021, which we've made reference to during
 25      the course of your testimony today.                          So in calendar year

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   1     2021, do you have a recollection of when your budget
   2     proposal for the subsequent fiscal year would have been
   3     submitted to the county commission?
   4            A.       I don't know the exact date; our legislation
   5     says -- Florida State Statute says they have to be
   6     submitted by June 1st.
   7            Q.       So your proposal would have had to be submitted
   8     to the county commission by June 1, 2021?
   9            A.       Yes.
 10             Q.       And that's for your proposed operations for the
 11      fiscal year beginning October 1, 2021, through September
 12      30, 2022?
 13             A.       Correct.
 14             Q.       So my understanding is, from your testimony
 15      earlier this morning, that you first learned of the
 16      approval for the elimination of the purchasing director
 17      position on August 20, 2021; correct?
 18             A.       Correct.
 19             Q.       So your budget proposal for fiscal year --
 20      would you call it '22?
 21             A.       Yes.
 22             Q.       For the period of October 1, 20221 to September
 23      30 of 2022, would have already been submitted to the
 24      county for approval as of August 20 --
 25             A.       Correct.

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   1            Q.       -- correct?
   2            A.       Correct.
   3            Q.       And you said that you made your decision to
   4     stay on longer -- well, let me rephrase my question.
   5                     When did you initially make a decision to enter
   6     the DROP program, if you remember?
   7            A.       Five years ago.         It would have been five years
   8     ago.
   9            Q.       Okay.   And that decision, as I understand your
 10      testimony from earlier, was that you would, yourself, be
 11      retiring, based on that decision five years ago, on or
 12      about sometime in January of 2023 or '24?
 13             A.       2024.
 14             Q.       2024.   Okay.      So you then ultimately changed
 15      your decision when the legislature changed the
 16      parameters of the DROP program; is that right?
 17             A.       Correct.
 18             Q.       And that was this past summer?
 19             A.       Yes.
 20             Q.       All right.     So if I understand your testimony
 21      and your explanation about how the DROP program works,
 22      once a person makes an election -- and let's make it
 23      simple; we're going to make it before this recent
 24      legislative change which expanded the period from five
 25      years, as I understand it, to eight years?

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   1            A.       Correct.
   2            Q.       So let's go back to prior to this past summer.
   3     If a person had made an election to enter the DROP
   4     program under the state retirement system and the
   5     statutes, they were required to actually retire, at the
   6     latest, five years from the date they elected to enter
   7     DROP?
   8            A.       Correct.
   9            Q.       All right.     So as of 2021 --
 10                      MR. STEFANY:       Kyle, can you bring up Exhibit 4
 11             that you showed before?               Could you share that
 12             screen?
 13                      MR. MACDONALD:        Yes.       Let me bring it up here.
 14                      MR. STEFANY:       Thank you.           (Screen share began
 15             of Bates 123.)
 16      BY MR. STEFANY:
 17             Q.       So, Ms. Reno, you testified about the content
 18      of this document before.                And before I ask you a
 19      specific question about this document, let me ask you a
 20      couple of other questions about this.                          What role, if
 21      any, did you have in preparing this document?
 22             A.       None.
 23             Q.       And do you know, by chance, who did prepare it?
 24             A.       No.
 25             Q.       Do you know when it was prepared?

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   1            A.       No.
   2            Q.       Do you know why it was prepared?
   3            A.       No.
   4            Q.       Okay.   So let me just ask you a couple of
   5     questions.           So the very top person, as shown on that
   6     Exhibit 4, I believe, is Jamie Bartz, and her position
   7     was senior services coordinator.                       And under the Comment
   8     it says -- if I'm reading it correctly -- let me help
   9     myself.         It looks like a date of January 31, 2021.                       And
 10      it says "retired/position eliminated"; right?
 11             A.       Correct.
 12             Q.       So if you don't know any of these answers, just
 13      tell me, and I'll move on.
 14             A.       Okay.
 15             Q.       Do you know whether or not Jamie Bartz had
 16      entered the DROP program?
 17             A.       I don't know that one.
 18             Q.       Okay.   Let me go on to someone else on this
 19      list.        Let me say, as an example, Traci Estep, which her
 20      position was major of professional standards.                          Do you
 21      know whether or not, as of the June 24, 2021 date, do
 22      you know whether or not Major Estep had entered the DROP
 23      program?
 24             A.       No.
 25             Q.       Let me ask it this way; I'm going to go down

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   1     the list.            Is there anyone on this program whose
   2     position was --
   3            A.       Marcia --
   4            Q.       Excuse me; let me finish.                   Whose position was
   5     eliminated who is shown as "retiring," who had entered
   6     the DROP program before they retired?
   7            A.       Marcia Sprankel, the second one.
   8            Q.       The secretary of traffic?
   9            A.       Mm-hm.
 10             Q.       Okay.    So if I'm reading across the line
 11      correctly, it looks like it's a February 28, 2021 date;
 12      is that right?
 13             A.       Yes.
 14             Q.       That was the date I could see, excuse me.                        That
 15      is correct, February 28.                  Okay.
 16                      So as an example, Marcia Sprankel had entered
 17      the DROP program; you're confident of that?
 18             A.       Yes.
 19             Q.       Does the date shown in that column, if you
 20      know, represent the dates she was required to have
 21      retired, pursuant to the DROP program?
 22             A.       I'm not sure if that was the date.
 23             Q.       So we would check, what, her personnel file or
 24      her FRS file?
 25             A.       Yes.    Right.       We also had a spreadsheet of

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   1     these names.
   2            Q.       All right.      So let me go back to where I was.
   3     All right.           So you were asked several questions about
   4     identifying positions eliminated in 2020 or 2021 from
   5     the actual bureau -- or Support Services Bureau; do you
   6     remember that testimony or those questions this morning?
   7            A.       Yes.
   8            Q.       So one of the persons, as I understand it --
   9     there was a position that was ultimately eliminated, at
 10      some point in time, out of the Payroll Department
 11      because a new system had come in and was instituted to
 12      essentially automate something that was previously done
 13      manually; is that a fair description?
 14             A.       Yes.
 15             Q.       All right.      So as I understand what you
 16      testified to earlier -- and I just wanted to confirm --
 17      Randy Bauer, B-A-U-E-R, was a payroll clerk who stayed
 18      once that new system came in place; is that right?
 19             A.       That's correct.
 20             Q.       And the person who left or whose position
 21      ultimately was eliminated was Doreen Salvagno?
 22             A.       Yes.
 23                      MR. STEFANY:        S-A-L-V-A-G-N-O, Julie, for the
 24             spelling.
 25                      THE WITNESS:        Yes.

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   1     BY MR. STEFANY:
   2            Q.       And that person, whose payroll clerk position
   3     ultimately was eliminated, stayed as an employee of the
   4     agency; correct?
   5            A.       That's correct.
   6            Q.       And I think you testified, if my notes are
   7     correct, that she was transferred to an FRS position
   8     within HR; is that right?
   9            A.       Correct.
 10             Q.       All right.     So -- I don't recall whether you
 11      were asked, and maybe you were and I didn't note it, but
 12      is Doreen Salvagno still employed --
 13             A.       Yes.
 14             Q.       -- here at the agency?
 15             A.       Yes.
 16             Q.       Okay.   And what is she employed as, if you
 17      know?
 18             A.       She's in HR, part-time.
 19             Q.       Part-time?
 20             A.       Yes.
 21             Q.       All right.     So from the time that her payroll
 22      clerk position was identified as something that could be
 23      eliminated, all the way through the present date, she's
 24      remained employed?
 25             A.       Yes.

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   1            Q.       Now, I just want to make sure I have a better
   2     understanding from your testimony.                         I think you called
   3     it the Tyler Munis system --
   4            A.       Yes.
   5            Q.       -- was the new program or the new -- I guess
   6     it's software?
   7            A.       It is.
   8            Q.       So what does that system do?                    Just help me
   9     understand what that is.
 10             A.       The system is our administration system.                        So we
 11      always had one for our CAD system and for our deputies,
 12      but we never had anything for Administration, so we were
 13      virtually doing everything manual; manual purchase
 14      orders, manual timesheets, everything was manually done.
 15      The Munis -- and even HR was in its own standalone
 16      system, so nothing, like, talked to each other;
 17      everything had to be duplicated over and over and over.
 18      Because even our payroll had to be duplicated from
 19      timesheets to key punched into Finance; and even then,
 20      it didn't go anywhere; everything was standalone.
 21                      So we went and we did an RP for software for
 22      administration, and the Tyler system was the one we
 23      chose, the Tyler Munis, because it would talk to each
 24      other.         So HR was talking to Finance, once we started;
 25      everything was talking to each other, and you're not

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   1     duplicating work.            Even our purchasing system we had
   2     before Munis, which was called was Procus, was a stand-
   3     alone --
   4            Q.       Procure-It?
   5            A.       Yes, it was called Procure-It.
   6            Q.       Okay.    P-R-O-C-U-R-E, it?
   7            A.       Yes.    And so it was a stand-alone too, so it
   8     virtually did nothing; it didn't talk to our finance
   9     system so we could cut checks and pay the bills.                             So we
 10      ended up bringing this new system on board, which is
 11      Tyler Munis, so that everything is hooked together; so
 12      it's a whole administration package.
 13             Q.       Right.   And so the Tyler Munis system, as I
 14      understand, was brought on board and also had some
 15      improvements in efficiency that was directed to the
 16      Purchasing Department?
 17             A.       Yes.
 18             Q.       Right.   And what role, if any, in making the
 19      decision to go to the Tyler Munis system did Jenna Clark
 20      have in that decision?
 21             A.       She would have been sitting in when we were
 22      looking at all of the different vendors and which ones
 23      to choose, and she would have some say-so.
 24             Q.       Okay.    And then once that decision was made and
 25      it's being implemented, I think your testimony, earlier

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   1     this morning, is that Shannon Lehman as the purchasing
   2     manager, at the time, was the person who became, I
   3     guess, most proficient in using that system?
   4            A.       Yes.
   5            Q.       So how -- whose decision would it have been for
   6     Shannon Lehman to gain proficiency in that new system
   7     instead of Jenna doing it, for example?
   8            A.       I think that Shannon actually was the person
   9     who stepped up and really wanted to learn it.                         Jenna was
 10      still stuck with the Procure-It; that was the system she
 11      brought in.          So it was a little bit harder for her to
 12      adapt to the change.
 13             Q.       Okay.
 14             A.       Yeah, or just...
 15             Q.       And is the Tyler Munis system still being used
 16      in the Purchasing Department here at the agency?
 17             A.       Yes.
 18             Q.       So one of the other things I wanted to get
 19      clarified in my mind is sort of a sequencing.                         So I
 20      asked you earlier about the budgeting process and when
 21      your proposal for budgeting would typically have gone in
 22      to the county commission, and you'd answered that
 23      question.
 24                      So let me focus again on calendar year 2021.
 25      If you recall, do you recall when, during the course of

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   1     that calendar year, the county commission actually
   2     approved your 2022 operating budget that you had
   3     proposed?
   4            A.       It's always approved in September.
   5            Q.       Okay.
   6            A.       So there's two workshops that happen, public
   7     hearings.            I don't know the exact date.
   8            Q.       Okay.
   9            A.       I'd have to look at a calendar to see, or my
 10      paperwork.
 11             Q.       All right.       So if the public hearings took
 12      place in September, are changes that are made during the
 13      course -- I'm going to use the period, again, of 2021;
 14      if changes were made to the proposed budget for fiscal
 15      year '22, during the period of June 1, 2021 and
 16      September 1, 2021, would that be reflected, almost in
 17      real time, to what the county commission was looking at,
 18      as an updated proposal for budget?                          How does that work,
 19      is what I'm trying to --
 20             A.       It does search.
 21             Q.       Explain that to me.
 22             A.       What would happen is, once we go in with our
 23      proposal to the county -- that's the money that they're
 24      looking at -- if they wanted a increase, they might pull
 25      out that; but to increase, what we would have to do is

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   1     figure out how we're going to make that budget work.
   2                     Unfortunately, the state, the Florida
   3     Retirement System, operates in a whole different
   4     calendar than us; they operate from July 1 to June 30.
   5     So we don't even sometimes see the new increase in rates
   6     until after the budget has been proposed; sometimes we
   7     don't receive Workers' Comp increases; we don't even
   8     know about those until after the budget has been
   9     submitted, or if there's going to be any adjustments or
 10      increases in anything; then we have to adjust for it and
 11      figure out what we're going to give up in that budget.
 12             Q.       So as we sit here today, do you happen to have
 13      any specific recollection of whether the budget that was
 14      approved ultimately, in September of 2021 for fiscal
 15      year 2022, would have included or would have excluded
 16      the funding of a position for director of purchasing for
 17      the period of fiscal year 2022?
 18             A.       It would have included it.
 19             Q.       It would have included it?
 20             A.       Yes.
 21             Q.       Okay.   So then, that leads me to the questions,
 22      some of the questions, that were asked earlier this
 23      morning under direct examination.
 24                      So you were asked about whether you prepared a
 25      salary and benefit impact analysis for proposed

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   1     elimination of positions; do you remember those
   2     questions?
   3            A.       Mm-hm.
   4            Q.       Yes?
   5            A.       I'm sorry.      Yes.
   6            Q.       Okay.    So -- I'm trying to understand whether
   7     the analysis -- first of all, did you do it on your own,
   8     or did somebody ask you to do it, when you do those kind
   9     of budget impact analyses?
 10             A.       Usually it would come from a discussion with
 11      the undersheriff.
 12             Q.       Okay.    And I don't know, I'm trying to get a
 13      better understanding of when in the process of analyzing
 14      efficiencies and organizational decisions being made,
 15      when the analysis on the budget impact would have been
 16      done; would it have been done prior to the final
 17      approval of a job elimination? or would it have been
 18      done after the approval of the budget elimination? or
 19      could it have been either?
 20             A.       Could have been either.
 21             Q.       Okay.    In Jenna Clark's situation, do you
 22      remember whether it was done before or after the
 23      approval?
 24             A.       The analysis of...?
 25             Q.       Of the budget impact of her position being

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   1     eliminated.
   2            A.       It would have been done prior.
   3            Q.       So my understanding, from your testimony
   4     earlier today, is that the undersheriff communicated to
   5     you that the elimination of Jenna Clark's position as
   6     director of purchasing took place on August 20, 2021?
   7            A.       Yes.
   8            Q.       So I think you testified, in response to
   9     counsel's question, that when you learned or were told
 10      that, you were surprised; is that right?
 11             A.       Mm-hm.
 12             Q.       Yes?
 13             A.       Yes.   I'm sorry.
 14             Q.       So after you learned that the approval decision
 15      had been made, what did you -- what did you do, from
 16      that point, to initiate getting notice to Jenna Clark?
 17             A.       I believe I texted her, to see if she could
 18      call me -- and I'm trying to remember exactly; and then
 19      I didn't hear from her, and then I made another phone
 20      call on her cell phone, for her work cell phone; I
 21      called her, and I left a message for her to call me back
 22      because I needed to talk to her.                       And she did call me
 23      back.
 24             Q.       All right.      And so when she called you back,
 25      what conversation did you have with Jenna?

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   1            A.       Well, I first started to check to see how she
   2     was doing and how she was feeling; it wasn't -- it was
   3     pretty brief on our conversation.                       And then I told her I
   4     needed to tell her something, because I didn't want her
   5     to be blindsided by a letter that she was going to
   6     receive in the mail --
   7            Q.       Okay.
   8            A.       -- that her position was going to be
   9     eliminated.          And I asked her to please contact Dawn
 10      Heikkila first thing on Monday, to call her.                        You know,
 11      I didn't know how she was doing, as far as driving and
 12      everything, so I told her, "Just please call on the
 13      phone and talk to her," about what her options will be.
 14             Q.       So at the time you were calling and having this
 15      discussion with Jenna, you were aware that a letter was
 16      being sent to her; correct?
 17             A.       Yes.
 18             Q.       And was that the letter that I guess you looked
 19      at this morning, from Dawn Heikkila?
 20             A.       Yes, that Dawn sent her.
 21             Q.       And then, what was Jenna Clark's response to
 22      you during this phone conversation, to the extent you
 23      recall?
 24             A.       She was very upset and said, "What am I
 25      supposed to do now?"             I remember that part; I don't

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   1     remember the exact words.                  And she was very upset; I
   2     understand why.           And I just told her that it would be
   3     very important for her to contact Dawn, so Dawn could
   4     give her her options and learn which jobs were available
   5     and what she could do.
   6            Q.       And what, if anything, did Jenna Clark say in
   7     response to that recommendation?
   8            A.       She just said that she would get ahold of Dawn
   9     first thing on Monday.
 10             Q.       Anything else discussed during that
 11      conversation with Jenna Clark that you're describing?
 12             A.       No.    No.
 13             Q.       Now, you also testified, earlier this morning,
 14      that you were responsible for approving Jenna Clark's
 15      request for the use of sick days; is that right?
 16             A.       That's correct.
 17             Q.       And with respect to her absence from scheduled
 18      work in August of 2021, do you recall Jenna Clark
 19      communicating with you or seeking your approval for her
 20      to use sick leave for the procedure she needed to have?
 21             A.       Yes.
 22             Q.       All right.      And what was your response to that
 23      request?
 24             A.       That she could take what she needed.
 25             Q.       Okay.   And after she went out to have her

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   1     procedure, did she, in fact -- if you know, did she, in
   2     fact, use sick leave for the period of time she was out?
   3            A.       No.
   4            Q.       Why not?
   5            A.       Because I changed it.
   6            Q.       I'm sorry?
   7            A.       Because we changed it.              We put her on admin
   8     leave with pay, because we didn't want her to use her
   9     time.
 10             Q.       Okay.   So for the period that she was out, for
 11      what procedure she needed to take care of, in August of
 12      2021, she was placed on administrative leave with pay;
 13      is that the term?
 14             A.       Yes.
 15             Q.       And all that means is, she's getting her
 16      continued pay as if she were working?
 17             A.       Yes.
 18             Q.       Without having to use any of her accrued sick
 19      leave; is that right?
 20             A.       Correct.
 21             Q.       So then when she finally left her employment,
 22      she would have all of her accrued sick leave, not
 23      reduced at all for an absence in August of 2021?
 24             A.       That's correct.
 25                      MR. STEFANY:       I think that's all I have.                 Thank

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   1            you.          I hope I was efficient.
   2                     MR. MACDONALD:           We can go ahead and suspend the
   3            deposition at this time.                   I have no further
   4            questions.
   5                     MR. STEFANY:          Very good.           You have the right to
   6            read a deposition transcript or you can waive the
   7            reading of the transcript and assume that Julie has
   8            gotten all of your testimony down, just right.                              But
   9            she needs to know what you would prefer to do
 10             before she finishes the record today.                          You can read
 11             it or you can waive reading; it's up to you.
 12                      THE WITNESS:          I would like to read it.
 13                      MR. STEFANY:          The witness will read.
 14                      And I don't know whether you're ordering or
 15             not; it's your deposition, Counsel.
 16                      MR. MACDONALD:           We'll go ahead and hold off on
 17             ordering now, just until all depositions are
 18             completed.
 19                      (Thereupon, the deposition was terminated at
 20      2:27 p.m.)
 21

 22

 23

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   1                              CERTIFICATE OF OATH
   2     STATE OF FLORIDA         )
         COUNTY OF ORANGE         )
   3
                         I, Julie S. Evans, Professional Court Reporter,
   4
         Notary Public, State of Florida, certify that ANNMARIE
   5
         RENO appeared before me via Zoom on October 24, 2023,
   6
         and was duly sworn.
   7
                         Witness my hand and official seal this 27th day
   8
         of December 2023.
   9

 10

 11                               __________________________
                                  JULIE S. EVANS
 12                               Professional Court Reporter
                                  Notary Public, State of Florida
 13                               My Commission No. GG939756
                                  Expires: 1/21/2024
 14

 15

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   1                               CERTIFICATE OF REPORTER
   2     STATE OF FLORIDA             )
         COUNTY OF ORANGE             )
   3
                         I, Julie S. Evans, Professional Court Reporter,
   4
         do hereby certify that I was authorized to and did
   5
         stenographically report the deposition of ANNMARIE RENO;
   6
         that a review of the transcript was requested; and that
   7
         the foregoing transcript, page number 1 through 120, is
   8
         a true and complete record of my stenographic notes.
   9

 10                      I further certify that I am not a relative,
 11      employee, attorney, or counsel of any of the parties,
 12      nor am I a relative or employee of any of the parties'
 13      attorneys or counsel connected with the action, nor am I
 14      financially interested in the action.
 15
                              Dated this 27th day of December 2023.
 16

 17

 18                                        ____________________________
                                           Julie S. Evans
 19                                        Professional Court Reporter
 20

 21

 22

 23

 24

 25

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       WORD LIST              225 (1)                       <A>                     Allen (3)
                              23 (1)                        a.m (2)                 allocated (3)
 <1>                          24 (5)                        ABA (1)                 allocating (1)
 1 (7)                        27 (1)                        ability (1)             allow (1)
 1/21/2024 (1)                27th (2)                      able (3)                allowed (1)
 1/31/2021 (1)                28 (2)                        above-referenced (1)    alterations (1)
 1:02 (1)                                                   absence (3)             amount (6)
 10:14 (2)                    <3>                           absenteeism (1)         amounts (1)
 101 (1)                      3 (1)                         absolutely (1)          Amy (1)
 11/4/2021 (2)                30 (4)                        absorb (2)              analyses (1)
 11:16 (1)                    31 (3)                        absorbed (1)            analysis (4)
 11:26 (1)                    324 (1)                       accepted (3)            analyst (6)
 120 (1)                      33131 (1)                     accommodate (2)         analyzing (1)
 121 (1)                      33606-4128 (1)                accomplished (1)        ANNMARIE (10)
 122 (1)                      33905 (1)                     account (2)             answer (7)
 123 (3)                                                    Accreditation (1)       answered (4)
 124 (1)                      <4>                           accrued (2)             answers (1)
 15 (2)                       4 (4)                         accumulate (1)          Anthony (2)
 19 (3)                       40 (2)                        accurate (3)            anticipated (3)
 1997 (2)                     4350 (1)                      accurately (1)          Anticipation (2)
 1st (1)                      46 (1)                        action (2)              anybody (1)
                              48 (1)                        actual (4)              anymore (1)
 <2>                                                        ADA (1)                 anyways (1)
 2:22-cv-614-SPC-             <5>                           adapt (1)               appear (1)
 NPM (1)                      5 (1)                         add (2)                 appearance (1)
 2:27 (2)                     51 (1)                        added (5)               APPEARANCES (1)
 20 (5)                       520 (1)                       address (4)             appeared (2)
 2000 (1)                     565 (1)                       adjust (1)              appears (6)
 2000-maybe-17 (1)            566 (1)                       adjustments (1)         applied (2)
 2001 (1)                     58 (2)                        admin (2)               approval (10)
 2003 (2)                     59 (1)                        administration (7)      approved (12)
 2005 (2)                                                   administrative (1)      approving (3)
 2007 (4)                     <6>                           administrator (1)       approximately (1)
 2008 (6)                     62 (1)                        advocate (1)            area (1)
 2012 (6)                     66 (1)                        Advocates (1)           areas (2)
 2017 (6)                                                   Affairs (2)             arrested (1)
 2018/2019 (1)                <7>                           affirm (1)              asked (14)
 2019 (12)                    7 (2)                         age (9)                 asking (3)
 2020 (5)                                                   agency (11)             aspects (2)
 2020/2021 (1)                <8>                           agent (5)               assessment (2)
 2021 (61)                    8 (1)                         ages (2)                assessments (2)
 2022 (10)                    8/15/21 (1)                   ago (18)                assets (2)
 20221 (1)                    8/19/21 (1)                   agree (2)               assign (1)
 2023 (10)                                                  agreed (1)              assist (1)
 2024 (2)                     <9>                           ahead (8)               assistant (11)
 2027 (2)                     9/4/2021 (1)                  ahold (1)               assistants (2)
 20th (1)                     9502 (1)                      Alarm (1)               assisting (1)
 21 (1)                       97 (1)                        alarms (2)              Association (2)
 22 (3)                                                     align (1)               assume (1)


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 assuming (1)                 break (5)                  chance (1)             complained (1)
 attend (2)                   Brenda (7)                 change (13)            complete (1)
 attorney (4)                 Brenda's (2)               changed (9)            completed (1)
 attorneys (1)                Brickell (1)               changeover (1)         completely (1)
 August (19)                  brief (5)                  changes (11)           comprehending (1)
 authorized (3)               bring (2)                  changing (1)           computerized (2)
 automate (1)                 bringing (2)               charge (1)             condition (5)
 automated (1)                brought (8)                chart (1)              conditions (7)
 available (1)                budget (53)                check (2)              conduct (1)
 Avenue (1)                   budgetary (3)              checks (1)             conducted (12)
 aviation (1)                 budgeting (5)              chief (15)             conducting (2)
 awarded (2)                  budgets (1)                child (1)              conference (1)
 aware (11)                   bulk (1)                   choose (3)             conferences (1)
                              bureau (20)                chose (1)              confident (1)
 <B>                          bureaus (1)                Christine (4)          confirm (1)
 back (35)                    burglar (1)                Christine's (1)        confusing (1)
 back-fill (2)                Burkwitz's (1)             Circle (1)             conjunction (1)
 background (1)               Business (4)               citizens (3)           connected (2)
 backwards (1)                                           civil (1)              connection (1)
 ballistic (1)                <C>                        civilian (2)           consecutively (1)
 Bartz (5)                    CAD (1)                    civilians (1)          consider (6)
 based (3)                    Caiazza (2)                claims (1)             consideration (3)
 basis (1)                    C-A-I-A-Z-Z-A (1)          clarified (1)          considered (9)
 Bates (4)                    calculates (2)             clarify (2)            considering (1)
 bathroom (1)                 calendar (7)               CLARK (81)             consolidate (1)
 Bauer (3)                    call (8)                   Clark's (38)           constituents (1)
 B-A-U-E-R (3)                called (10)                classes (3)            contact (2)
 B-E-A (1)                    calling (1)                clear (1)              content (1)
 began (4)                    candidate (1)              clearly (3)            continuation (3)
 beginning (3)                capacity (2)               clerk (6)              continue (1)
 BEHALF (5)                   capital (2)                clerks (2)             continued (2)
 belief (1)                   capitol (1)                client (1)             continuously (1)
 beliefs (1)                  Captain (11)               closely (2)            contracts (1)
 believe (29)                 care (2)                   closer (2)             control (1)
 believed (1)                 CARMINE (4)                Club (1)               conversation (9)
 benefit (3)                  cars (1)                   college (7)            conversations (5)
 benefits (17)                CASE (7)                   column (1)             convert (2)
 Berkowitz (7)                Casell (2)                 come (10)              cooperation (1)
 best (6)                     cases (1)                  coming (4)             coordinating (1)
 better (6)                   Cassella (1)               command (2)            coordinator (13)
 betterment (1)               causing (1)                Comment (2)            copy (1)
 bias (2)                     cell (2)                   commission (7)         core (5)
 Bill (9)                     Central (4)                committee (2)          correct (77)
 bills (1)                    certain (4)                communicated (1)       Correction (1)
 bit (7)                      CERTIFICATE (4)            communicating (1)      corrections (1)
 blindsided (1)               certification (3)          Communications (24)    correctly (4)
 Blue (3)                     certifications (2)         community (3)          cost (1)
 board (2)                    Certified (4)              Comp (4)               costs (3)
 brand (2)                    certify (3)                company (1)            counsel (9)


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 counsel's (1)                Deponto (2)                Doreen's (9)            entity (1)
 Country (1)                  D-E-P-O-N-T-O (1)          Dr (1)                  equilibrium (3)
 County (51)                  deposed (4)                driving (1)             equipment (2)
 couple (16)                  DEPOSITION (19)            DROP (20)               ERRATA (5)
 course (6)                   depositions (1)                                    especially (3)
 courses (1)                  deputies (2)               dstefany@anblaw.com     ESQUIRE (3)
 COURT (19)                   Derek (1)                  (1)                     essentially (1)
 covered (2)                  describe (2)               due (6)                 Estep (3)
 Covid (1)                    described (5)              duly (2)                Ethics (1)
 creates (1)                  describing (1)             duplicated (2)          evals (2)
 criteria (2)                 description (1)            duplicating (1)         evaluating (1)
 CROSS (3)                    destroyed (1)              duties (4)              evaluations (4)
 CROSS-                       detectives (1)                                     Evans (6)
 EXAMINATION (1)              determination (4)          <E>                     events (1)
 current (5)                  determine (1)              earlier (11)            eventually (1)
 currently (2)                determined (3)             earn (2)                Everest (1)
 cut (4)                      determining (5)            earned (1)              everybody (1)
                              different (14)             ears (2)                exact (6)
 <D>                          differently (1)            effect (1)              exactly (10)
 daily (4)                    difficulties (1)           efficiencies (1)        Examination (4)
 Daisy (7)                    diploma (1)                efficiency (1)          example (3)
 Daisy's (2)                  DIRECT (4)                 efficient (4)           exception (1)
 Danielle (8)                 directed (1)               effort (1)              excluded (1)
 DATE (25)                    direction (1)              eight (1)               Excuse (2)
 dated (4)                    directive (3)              either (6)              executive (14)
 dates (4)                    directly (4)               elect (3)               Exhibit (7)
 DAVID (3)                    director (81)              elected (3)             EXHIBITS (1)
 Dawn (19)                    directors (3)              election (2)            expanded (1)
 day (8)                      director's (2)             eliminate (19)          expect (1)
 days (14)                    disciplinary (4)           eliminated (101)        expenses (1)
 deal (1)                     discipline (7)             eliminated-slash-pay    experience (1)
 Dear (1)                     discrimination (7)          (1)                    Expires (1)
 December (3)                 discriminatory (1)         eliminated-slash-       explain (2)
 decided (3)                  discuss (30)               retired (1)             explanation (1)
 deciding (1)                 discussed (14)             eliminating (7)         expressly (1)
 decision (32)                discussing (3)             elimination (25)        extended (1)
 decision-making (1)          discussion (7)             eliminations (3)        extension (1)
 decisions (7)                discussions (17)           email (13)              extent (2)
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 deemed (2)                   division (4)               employee (18)
 Defendant (2)                divisions (17)             employees (34)          <F>
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 deferred (1)                 documentation (1)          employment (2)          Facilities (3)
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 degree (2)                   documents (5)              ended (3)               factor (2)
 Delaquilla (1)               dog (1)                    enforcement (2)         factors (1)
 Department (13)              doing (27)                 enter (3)               fair (2)
 depended (1)                 dollar (3)                 entered (5)             fall (1)


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 familiar (2)                 front (5)                  head (4)               incompetent (1)
 far (6)                      frozen (1)                 health (2)             incorrect (1)
 FDLE (1)                     FRS (10)                   hear (1)               increase (5)
 February (2)                 FSA (1)                    hearings (2)           increases (2)
 feel (1)                     full (1)                   heart (2)              INDEX (1)
 feeling (1)                  function (1)               Hector (2)             individual (4)
 fell (2)                     funding (1)                H-E-C-T-O-R (1)        information (9)
 felt (2)                     furniture (3)              he'd (1)               informed (1)
 figure (3)                   further (2)                Heikkila (14)          initially (1)
 file (7)                                                held (4)               initiate (3)
 fill (2)                     <G>                        help (6)               initiated (4)
 filled (6)                   gain (1)                   helped (8)             inmate (2)
 filling (1)                  general (2)                helps (1)              Inspections (1)
 final (3)                    generally (1)              hereto (1)             instance (1)
 finally (1)                  generated (1)              herewith (1)           instances (2)
 Finance (16)                 gesture (1)                high (2)               instituted (1)
 financial (1)                getting (3)                hire (3)               instruct (1)
 financially (1)              GG939756 (1)               hired (1)              instructed (1)
 financials (8)               give (6)                   hires (1)              instructing (1)
 find (1)                     given (5)                  hiring (4)             insubordinate (3)
 fine (1)                     glass (1)                  hit (1)                insubordination (9)
 finish (3)                   go (36)                    hold (2)               intel (1)
 finishes (1)                 goal (2)                   holding (1)            interested (1)
 fire (2)                     goals (1)                  Holloway (5)           internal (4)
 firing (1)                   God (1)                    home (1)               internally (2)
 first (22)                   going (46)                 hone (1)               International (5)
 first-line (1)               Good (5)                   honest (4)             interrupt (1)
 fiscal (10)                  gotten (1)                 hooked (1)             inventory (1)
 five (8)                     government (1)             hope (1)               investigation (1)
 fleet (13)                   graduate (2)               hopefully (1)          investigations (1)
 FLORIDA (16)                 Group (1)                  HR (13)                investment (1)
 Florin (1)                   growth (3)                 huge (2)               involve (1)
 fluid (1)                    guess (10)                 human (15)             involved (18)
 FMLA (9)                     guessing (2)               Hyde (1)               involvement (1)
 focus (2)                    guesstimating (2)                                 issue (5)
 following (2)                Gwen (8)                   <I>                    issues (11)
 follows (1)                  Gwen's (2)                 idea (2)               issuing (1)
 follow-up (1)                                           identified (1)         items (1)
 food (1)                     <H>                        identifying (1)        its (2)
 force (53)                   hand (2)                   immediate (1)
 foregoing (1)                handle (1)                 impact (6)             <J>
 Forgive (1)                  handled (4)                implemented (3)        Jamie (4)
 form (7)                     handwritten (1)            implicit (1)           Janke (2)
 formerly (1)                 happen (4)                 important (2)          Janke's (1)
 Fort (1)                     happened (2)               improvements (1)       January (5)
 forward (2)                  happening (1)              inaudible (1)          JENNA (48)
 four (5)                     happy (1)                  include (1)            Jenna's (1)
 fresh (1)                    harassment (3)             included (6)           Jill (3)


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 job (36)                     Lehman's (4)               meeting (1)            notifying (1)
 jobs (12)                    LETTER (33)                meetings (4)           number (1)
 John (3)                     letters (1)                meets (2)
 Jones (3)                    liaison (2)                mentioned (22)         <O>
 judge (1)                    limit (1)                  message (3)            O-301 (1)
 Julie (9)                    limitation (1)             met (1)                OATH (3)
 July (3)                     line (2)                   Miami (1)              object (2)
 June (5)                     list (7)                   MIDDLE (1)             objecting (1)
 jury (1)                     listed (24)                migraines (2)          Objection (5)
                              little (13)                military (2)           obligation (1)
 <K>                          live (1)                   mind (1)               occupied (1)
 K-9 (1)                      lived (1)                  minute (2)             occur (2)
 keep (1)                     LLC (1)                    missed (1)             o'clock (2)
 keeping (1)                  locally (1)                Mm-hm (5)              October (6)
 kept (2)                     long (7)                   moment (1)             offering (1)
 Key (4)                      longer (6)                 Monday (2)             Office (42)
 keyed (1)                    look (10)                  money (23)             officer (2)
 kind (6)                     looked (6)                 month (1)              officers (2)
 knew (5)                     looking (23)               monthly (1)            official (4)
 know (82)                    looks (3)                  months (2)             oh (7)
 knowledge (2)                lot (10)                   morning (7)            Okay (47)
 known (2)                    low (1)                    motivated (1)          old (4)
 KYLE (6)                     lowest (1)                 motivation (1)         on-board (1)
                                                         move (3)               onboarding (1)
 <L>                          <M>                        moved (7)              once (10)
 label (2)                    MACDONALD (32)             Munis (14)             ones (9)
 labeled (1)                  mail (2)                   M-U-N-I-S (1)          ongoing (4)
 language (1)                 major (4)                  Myers (1)              online (1)
 latest (1)                   making (7)                                        onward (1)
 Law (4)                      managed (1)                <N>                    open (4)
 laws (6)                     management (9)             name (20)              operate (2)
 lawsuit (7)                  management's (1)           names (2)              operates (1)
 LCSO (2)                     manager (23)               near (1)               operating (2)
 lead (1)                     managers (2)               need (9)               operation (2)
 leads (1)                    manpower (1)               needed (25)            operational (1)
 learn (6)                    manual (6)                 needs (2)              operations (8)
 learned (4)                  manually (2)               never (3)              opinion (1)
 learning (1)                 MARCENO (5)                new (30)               opportunity (1)
 leave (38)                   Marcia (4)                 normal (1)             opposed (3)
 leaves (1)                   MARKED (4)                 North (4)              options (3)
 led (1)                      Master's (1)               Norton (3)             ORANGE (2)
 L-E-D-G-L-E-R (1)            matter (3)                 Notary (3)             order (6)
 Lee (39)                     MBA (1)                    note (2)               ordered (1)
 left (11)                    meal (1)                   notes (2)              ordering (2)
 legislation (2)              mean (5)                   notice (1)             orders (8)
 legislative (1)              means (1)                  noticed (1)            ordinance (1)
 legislature (1)              measures (1)               NOTIFICATION (5)       organization (1)
 Legler (2)                   medical (15)               notified (9)           organizational (1)
 Lehman (15)                  meet (2)                   notify (2)             organized (1)


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Deposition of Annmarie Reno                                                    Jenna Clark v. Carmine Marceno

 original (2)                 person's (1)               problem (5)            reading (5)
 outreach (1)                 peruses (3)                problems (6)           ready (1)
 outside (5)                  ph (2)                     procedure (3)          real (4)
 overcrowded (2)              phone (5)                  process (5)            realigned (1)
 oversaw (5)                  phones (1)                 P-R-O-C-U-R-E (1)      realized (1)
 oversee (10)                 phrased (2)                Procure-It (3)         reallocate (2)
 overseeing (4)               picked (7)                 Procus (1)             reallocated (1)
 oversees (2)                 picking (1)                producing (1)          really (12)
 Oversight (1)                PLACE (11)                 professional (8)       reason (3)
 overtime (3)                 placed (2)                 proficiency (1)        reasons (1)
                              places (1)                 proficient (1)         reassigned (1)
 <P>                          Plaintiff (4)              program (18)           recall (23)
 P.A (2)                      Plaintiff's (4)            Programming (5)        receive (5)
 p.m (2)                      plan (6)                   project (1)            received (28)
 P.O.'s (1)                   planner (3)                projects (1)           receiving (2)
 package (1)                  Planning (6)               promised (1)           recess (4)
 page (5)                     plate (1)                  prompted (1)           recession (2)
 paid (1)                     play (13)                  proposal (7)           recognize (3)
 paperwork (2)                played (4)                 proposed (6)           recollection (2)
 parameters (1)               please (7)                 Public (6)             recommendation (1)
 Park (1)                     PLLC (1)                   pull (9)               recommendations (1)
 parks (1)                    plus (2)                   pulled (4)             record (11)
 part (54)                    PO (1)                     punched (1)            records (1)
 participation (1)            point (6)                  purchase (6)           recovering (1)
 particular (3)               policies (1)               Purchasing (89)        redo (1)
 parties (4)                  policy (1)                 purposes (2)           reduce (6)
 part-time (4)                portion (5)                pursuant (1)           reduced (3)
 party (1)                    portions (1)               put (21)               reducing (1)
 Patrol (1)                   position (177)             puts (1)               Reduction (54)
 pay (9)                      positions (72)             putting (4)            redundancies (4)
 Payne (2)                    positive (2)                                      redundancy (11)
 P-A-Y-N-E (1)                possible (1)               <Q>                    redundant (15)
 Payne's (1)                  potential (6)              question (12)          reference (1)
 payroll (40)                 PowerPoint (1)             questions (16)         referring (2)
 penalties (1)                PowerPoints (2)            quickly (1)            refers (1)
 pending (1)                  prefer (1)                 quotes (4)             reflect (1)
 pension (8)                  pregnancy (1)                                     reflected (1)
 people (24)                  prepare (2)                <R>                    regard (2)
 people's (1)                 prepared (3)               radios (1)             regarding (15)
 percentage (1)               preparing (1)              raise (1)              regards (3)
 perform (1)                  present (2)                Ramsey (2)             regular (3)
 performance (13)             pretty (5)                 Randy (4)              rehired (1)
 period (10)                  prevent (2)                Randy's (2)            related (15)
 perjury (1)                  previous (2)               rate (2)               relation (1)
 perplexed (1)                previously (13)            rates (2)              relationship (1)
 person (23)                  primary (1)                rating (1)             relative (2)
 personal (1)                 prior (26)                 reach (2)              religious (1)
 Personnel (5)                probably (16)              reaction (4)           relinquished (1)
 persons (1)                  probation (1)              read (6)               remained (1)


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Deposition of Annmarie Reno                                                    Jenna Clark v. Carmine Marceno

 remember (76)                roll (1)                   senior (13)            Sophie (1)
 removed (8)                  room (5)                   sense (4)              sorry (47)
 RENO (23)                    roughly (6)                sent (13)              sort (3)
 Reno's (1)                   RP (1)                     sentence (1)           sound (1)
 renting (1)                  rulings (1)                separate (1)           South (1)
 reorganization (1)           run (3)                    September (12)         span (1)
 rephrase (2)                 running (2)                sequencing (1)         speak (3)
 report (13)                                             serious (2)            Special (2)
 reported (13)                <S>                        service (2)            specialist (1)
 Reporter (19)                salaries (1)               Services (31)          specialist-slash-
 reporting (10)               salary (11)                set (1)                position (1)
 reports (1)                  Salva (1)                  sets (2)               specialized (1)
 represent (2)                S-A-L-V-A-G-A (1)          severe (1)             specialty (1)
 reprimand (1)                Salvagno (2)               sexual (3)             specific (4)
 request (4)                  S-A-L-V-A-G-N-O (1)        Shannon (22)           specifically (6)
 requested (2)                Salvalor (1)               share (6)              speculate (1)
 requests (1)                 S-A-N-D (1)                she'd (2)              spell (2)
 required (2)                 Sands (12)                 SHEET (5)              spelling (1)
 requisition (1)              S-A-N-D-S (1)              Sheriff (10)           spending (2)
 Research (5)                 Savator (1)                Sheriffs (3)           spoke (4)
 reserved (1)                 save (9)                   Sheriff's (38)         spotted (1)
 resigned (1)                 saved (2)                  shot (1)               Sprankel (4)
 resource (4)                 saving (5)                 show (4)               Spreadsheet (2)
 resources (11)               savings (14)               showed (5)             Stacy (5)
 respect (2)                  saw (1)                    showing (5)            staff (1)
 respective (1)               saying (4)                 shown (3)              stand (1)
 respond (1)                  says (5)                   shrug (1)              standalone (2)
 response (4)                 say-so (1)                 shut (1)               stand-alone (1)
 responses (3)                scheduled (1)              sick (19)              standards (5)
 responsibilities (6)         Scott (1)                  side (1)               start (3)
 responsible (8)              Screen (6)                 sign (2)               started (10)
 rest (2)                     scroll (1)                 signing (1)            state (9)
 resume (1)                   seal (1)                   similar (11)           STATES (2)
 retire (4)                   search (1)                 simple (1)             stating (1)
 retired (5)                  second (3)                 simply (1)             Statute (1)
 retired/position (1)         secretarial (1)            Sincerely (1)          statutes (1)
 retired-slash-position       secretary (20)             sit (1)                stay (9)
  (1)                         section (1)                sitting (1)            stayed (4)
 retirement (11)              secured (2)                situation (1)          staying (1)
 retiring (3)                 see (25)                   skill (2)              STEFANY (31)
 return (1)                   seeing (1)                 SkillPath (7)          stenographic (1)
 reutilize (1)                seeking (1)                skills (4)             stenographically (1)
 reutilized (2)               seen (2)                   small (1)              step (4)
 review (6)                   select (1)                 Smith (1)              stepped (2)
 reviewed (2)                 selected (10)              socialize (1)          stepping (1)
 rid (1)                      selecting (3)              software (2)           stipulated (1)
 right (70)                   self-insured (1)           solely (2)             streamline (3)
 road (1)                     send (2)                   solemnly (1)           streamlined (1)
 role (41)                    sending (3)                somebody (4)           streamlining (2)


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Deposition of Annmarie Reno                                                   Jenna Clark v. Carmine Marceno

 strength (1)                 Technical (3)             truth (3)              waive (2)
 strike (1)                   tell (8)                  truthfully (2)         want (14)
 strong (1)                   telling (1)               try (6)                wanted (11)
 stronger (1)                 ten (1)                   trying (55)            wanting (1)
 strongest (2)                ten-minute (1)            Tuesday (2)            warehouse (6)
 structured (1)               tenure (1)                turnover (2)           warehouse/ordering
 stuck (1)                    term (1)                  twice (4)              (1)
 studying (1)                 terminated (2)            two (24)               watching (1)
 stuff (3)                    termination (1)           Tyler (14)             water (1)
 subject (1)                  terminations (4)          type (6)               way (11)
 submitted (6)                terms (5)                 types (2)              Well (29)
 subordinate (2)              Terri (5)                 typically (4)          went (15)
 subordinates (2)             testified (7)                                    we're (11)
 subsequent (1)               testify (1)               <U>                    west (1)
 substance (1)                testifying (2)            ultimately (5)         We've (2)
 suffered (2)                 TESTIMONY (14)            undersheriff (62)      window (2)
 suggestion (1)               texted (1)                undersheriff's (2)     Windsor (1)
 Suite (2)                    Thank (6)                 understand (21)        wish (1)
 summer (2)                   Thankyou (1)              understanding (8)      witness (24)
 supervise (5)                thing (5)                 unforeseen (1)         words (1)
 supervised (9)               things (19)               Unfortunately (1)      work (29)
 supervising (3)              think (57)                uniform (1)            worked (14)
 supervision (2)              thinking (5)              uniforms (7)           Workers (3)
 supervisor (7)               thought (4)               unit (5)               working (7)
 supervisors (2)              Three (5)                 UNITED (1)             workload (5)
 supplies (1)                 threshold (1)             units (4)              works (2)
 Support (12)                 TIME (68)                 University (2)         workshops (1)
 supposed (1)                 times (4)                 updated (2)            write (2)
 sure (27)                    timesheets (3)            updates (1)            write-up (1)
 surgery (4)                  timing (3)                upset (2)              writing (5)
 surprised (3)                title (10)                use (9)                written (2)
 suspend (1)                  titles (2)                users (1)              wrong (1)
 swear (1)                    Today (15)                Usually (4)            wrote (1)
 sworn (2)                    today's (1)               utilized (4)
 system (40)                  told (13)                                        <Y>
 systems (1)                  top (4)                   <V>                    Yeah (7)
                              topics (3)                vacated (1)            year (25)
 <T>                          total (2)                 vacation (2)           years (30)
 take (19)                    Traci (1)                 vendors (5)            yielding (1)
 take-home (2)                track (1)                 venture (1)            younger (1)
 TAKEN (16)                   Tracy (1)                 verbal (3)
 talk (11)                    traffic (4)               verbally (2)           <Z>
 talked (13)                  training (24)             vests (2)              ZOOM (8)
 talking (7)                  trainings (1)             Victim (2)
 Tampa (1)                    transcribe (2)            videoconference (1)
 tasks (1)                    transcript (7)            virtually (2)
 taxing (1)                   transferred (1)
 Taylor (4)                   trends (1)                <W>
 Taylor's (1)                 true (4)                  wait (4)


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                           EXHIBIT 1
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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA

      JENNA CLARK,

            Plaintiff,
                                                  Case No. 2:22-cv-614-SPC-NPM
      v.

      CARMINE MARCENO, in his
      official capacity as Sheriff of Lee
      County, Florida,

            Defendant.
      _________________________________/

              PLAINTIFF’S NOTICE OF RULE 30(b)(6) DEPOSITION

            PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal

      Rules of Civil Procedure, Plaintiff, JENNA CLARK (“Plaintiff”), shall take the

      deposition upon oral examination of Defendant, CARMINE MARCENO, in his

      official capacity as Sheriff of Lee County, Florida (“Defendant”), through one

      or more representatives who shall be designated to testify on Defendant’s

      behalf regarding all information known or reasonably available to Defendant

      with respect to the subject matter identified in Schedule A. This deposition

      shall commence on the following dates and times:

                          DATE/TIME                       LOCATION

                October 4th, 2023, at 11:00 AM              Via Zoom

                October 10th, 2023, at 10:00 AM             Via Zoom




                                            1
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                October 11th, 2023, at 10:00 AM           Via Zoom

                October 17th, 2023, at 10:00 AM           Via Zoom

                October 18th, 2023, at 10:00 AM           Via Zoom

      The deposition will continue from day to day until completed before a notary

      public or other person authorized by law to administer oaths. The deposition

      will be conducted remotely through Everest Court Reporting and will be

      recorded stenographically.

      Dated: Miami, Florida              DEREK SMITH LAW GROUP, PLLC
             August 30, 2023,            Counsel for Plaintiff

                                         /s/ Kyle T. MacDonald
                                         Kyle T. MacDonald, Esq.
                                         Florida Bar No.: 1038749
                                         Derek Smith Law Group, PLLC
                                         701 Brickell Ave, Suite 1310
                                         Miami, FL 33131
                                         Tel: (305) 946-1884
                                         Fax: (305) 503-6741
                                         Kyle@dereksmithlaw.com




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                                 SCHEDULE A
           LIST OF TOPICS FOR DEFENDANT’S REPRESENTATIVE
                   (hereinafter “LCSO” and/or “Defendant”)

      1.   Knowledge of each and every document provided by Defendant in
           response to Plaintiff’s discovery requests.

      2.   Knowledge related to Jenna Clark’s employment with Defendant,
           including compensation and benefits paid to Jenna Clark from 2018 until
           the last day of her employment.

      3.   Knowledge related to all of the benefits Jenna Clark received subject to
           her employment with Defendant, including pension plan payments, 401k
           benefits, profit sharing, health benefits, retirement plans, and any other
           benefit Jenna Clark received from 2018 until the last day of her
           employment.

      4.   Knowledge related to benefits that Defendant offered to employees in
           general, including the cash value of each benefit offered, when Defendant
           began to offer said benefits, and descriptions of benefit packages that
           Defendant included as part of the compensation employees received.

      5.   Knowledge related to the amount of money that Jenna Clark was paid
           from 2018 until the last day of her employment.

      6.   Knowledge related to the amount of money that similarly situated
           employees to Jenna Clark were paid.

      7.   Knowledge of the policies or procedures provided by and/or maintained
           by Defendant with regard to the prevention of discrimination and
           harassment in the workplace.

      8.   Knowledge of the policies or procedures provided by and/or maintained
           by Defendant with regard to the prevention of discrimination and
           harassment in the workplace.

      9.   Knowledge of the policies or procedures provided by and/or maintained
           by Defendant with regard to leave benefits, paid-time-off benefits, FMLA
           benefits, and any other leave of absences.
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      10.   Knowledge of any employee handbook for Defendant that was in effect
            at the time of Jenna Clark’s employment from 2018 until the last day of
            her employment.

      11.   Knowledge related to reports of discrimination, including but not limited
            to, reports of discrimination that were presented and/or made during the
            time period when Jenna Clark was employed with Defendant from 2018
            until the last day of her employment.

      12.   Knowledge related to Defendant’s policies and procedures for preventing
            discrimination and harassment in the workplace and investigating and
            engaging in corrective action when discrimination is discovered.

      13.   Knowledge related to the agency-wide reduction in force conducted by
            Defendant in or around 2021, including knowledge of the persons
            involved in deciding the positions to be eliminated, the criteria used to
            select positions to be eliminated, and the compensation and leave
            benefits for the employees/positions ultimately selected to be eliminated.

      14.   Knowledge related to Defendant’s fiscal budget and Defendant’s
            operations, including revenue, expenses, and any budgetary impacts of
            the agency-wide reduction in force conducted by Defendant in or around
            2021.

      15.   Knowledge regarding the following employees, including their dates of
            hire, job titles, knowledge of the amount of compensation paid to them,
            the amount of leave benefits available to them, the amount of leave they
            used for any reason (including FMLA leave, paid time off, or any other
            leave benefit offered), their age, their termination/resignation dates, and
            the reason for their termination/resignation:

               a. James Jones, Director of Fleet Management
               b. Jenna Clark, Director of Purchasing
               c. Anthony Ramsey, Communications Manager
               d. Amy DellAquilla, Community Liason
               e. Jami Bartz, Senior Services Coordinator
               f. Marsha Sprankel, Secretary of Traffic

      16.   Knowledge related to Annmarie Reno’s employment with Defendant,
            including but not limited to, her entire personnel file, dates of
            employment, job assignments, job titles, compensation, promotions,
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            benefits, discipline, and complaints of unlawful employment practices
            made against her.

      17.   Knowledge related to Dawn Heikkila’s employment with Defendant,
            including but not limited to, her entire personnel file, dates of
            employment, job assignments, job titles, compensation, promotions,
            benefits, discipline, and complaints of unlawful employment practices
            made against her.

      18.   Knowledge related to John Holloway’s employment with Defendant,
            including but not limited to, his entire personnel file, dates of
            employment, job assignments, job titles, compensation, promotions,
            benefits, discipline, and complaints of unlawful employment practices
            made against him.

      19.   Knowledge related to Jenna Clark’s employment with Defendant,
            including but not limited to, dates of employment, job assignments,
            compensation, promotions, discipline, benefits, job titles, and
            termination, from 2018 until the last day of her employment.

      20.   Knowledge related to the reason for Jenna Clark’s termination from her
            employment with Defendant.

      21.   Knowledge related to any communications between Defendant’s
            employees and Jenna Clark regarding Jenna Clark’s termination and
            alternative positions with Defendant offered to Jenna Clark, if any, from
            2018 until the last day of Jenna Clark’s employment.

      22.   Knowledge of all correspondence, writings, and documents sent by
            Defendant regarding disciplinary action or termination of Jenna Clark,
            if any, from 2018 until the last day of Jenna Clark’s employment.

      23.   Knowledge any investigations performed by Defendant regarding Jenna
            Clark’s reports of discrimination and harassment in the workplace or
            filing of administrative charges.

      24.   Knowledge related to any leave requested by Jenna Clark during her
            employment, including FMLA leave, paid time off, unpaid time off, and
            any other type of leave of absence offered by Defendant, from 2018 until
            the last day of Jenna Clark’s employment.
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      25.   Knowledge related to performance reviews and Defendant’s performance
            review policies, procedures, and protocols.

      26.   Knowledge as to Defendant’s Position Statement filed with the EEOC
            and the Answer filed in response to Plaintiff’s Complaint.

      27.   Knowledge as to Defendant’s document and record keeping proceed used
            to record or keep track of communications amongst Defendant’s
            employees, including but not limited to any electronic communication
            technology used by Defendant’s employees.

      28.   Knowledge related to performance reviews that Jenna Clark received or
            underwent during her employment with Defendant including dates of
            each performance review and the substance of each performance review,
            from 2018 until the last day of Jenna Clark’s employment.

      29.   Knowledge of organizational charts and lists identifying the divisions
            and management structure for Defendant.

      30.   Knowledge of charges filed with the Equal Employment Opportunity
            Commission and the Florida Commission on Human Relations from
            January of 2016 through December 31, 2022.
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                              CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing

      document is being served on August 30, 2023, on all counsel of record on the

      service list below via e-mail transmission.


                                                    By: /s/ Kyle T. MacDonald
                                                       Kyle T. MacDonald, Esq.




                                     SERVICE LIST

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      Counsel for Defendant




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                           EXHIBIT 2
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   Supercedes                           Lee County Sheriff’s Office                         Effective: 7/91
   Chapter 26 – Rev. 01/21                  Operations Manual                               Revised: 06/21


   26.1.2.5 (26.3.2) Job Knowledge and Performance:

           1.      General Proficiency: Sheriff’s Office members are required to maintain required
                   certifications, job knowledge, and skills required for the performance of official
                   duties. Sheriff’s Office members shall maintain and demonstrate their knowledge of
                   the law and criminal procedure. Sheriff’s Office members shall maintain and
                   demonstrate proficiency in required interpersonal skills. Sheriff’s Office members
                   shall maintain proficiency in the care and use of vehicles, equipment, and firearms.
                   Sheriff’s Office members shall maintain and demonstrate proficiency in accordance
                   with established standards and firearm qualification requirements. Sheriff’s Office
                   members may be re-tested for proficiency as provided in direct procedures, with
                   each subsequent failure to qualify constituting an additional offense. Failure to
                   maintain job skills shall result in counseling, instruction or training, and may also
                   result in suspension. Repeated failure to maintain necessary job skills, after
                   counseling and instruction, shall result in increasing the severity of disciplinary
                   actions, up to and including withdrawal of appointment.

           2.      Knowledge of Rules and Regulations and Procedures: Failure to maintain and
                   demonstrate knowledge of rules and regulations or directive procedures shall result
                   in counseling, suspension, demotion, or withdrawal of appointment. If appointment
                   is not withdrawn, subsequent violation(s) or recurrent failure to maintain and
                   demonstrate knowledge of rules and regulations or directive procedures shall be
                   cause for withdrawal of appointment.

   26.1.2.6     (26.1.3) Harassment / Discrimination:

   Sexual Harassment - It is the Sheriff’s policy that all members have a right to work in an
   environment free of discrimination, which includes freedom from sexual harassment. The
   Sheriff’s Office prohibits all forms of unlawful harassment of its members in any form. All
   members at all levels of the Office must avoid offensive or inappropriate sexual or sexually
   harassing behavior at work and will be held responsible for insuring that the workplace is free
   from sexual harassment.

   Harassment or discrimination on the basis of race, color, religion, sex, sexual orientation, national
   origin, marital status, political affiliation, age, or physical or mental handicap constitutes
   discrimination. This type of harassment is therefore strictly prohibited and may subject the
   perpetrator to appropriate discipline, up to and including discharge. Additionally, such conduct
   may expose the perpetrator to personal liability for damages in the event legal action is brought by
   any person who is the victim of such conduct or behavior.

   Any verbal or physical conduct that denigrates or shows hostility or aversion toward an individual
   because of their race, color, religion, sex, national origin, age or disability, or that of their relatives,
   friends, or associates, and that:

           1.      has the purpose or effect of creating an intimidating, hostile or offensive working
                   environment;

                                                                                                        26:25
                                                                                                 LCSO/ Clark
                                                                                                  DEF000762
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    Supercedes                          Lee County Sheriff’s Office                       Effective: 7/91
    Chapter 26 – Rev. 01/21                 Operations Manual                             Revised: 06/21


            2.     has the purpose or effect of unreasonably interfering with an individual's work
                   performance; or

            3.     otherwise adversely affects an individual's employment opportunities is strictly
                   prohibited and may subject the perpetrator to appropriate discipline, up to and
                   including discharge.

    Any epithets, slurs, negative stereotyping, threatening, intimidating, or hostile acts that relate to
    race, color, religion, sex, national origin, age or disability; or any written or graphic material that
    denigrates or shows hostility or aversion toward an individual or group because of race, color,
    religion, national origin, age or disability that is placed on walls, bulletin boards, or elsewhere on
    the work premises, or circulated in the workplace is strictly prohibited and may subject the
    perpetrator to appropriate discipline, up to and including discharge.

    Any unwanted sexual advances, attention or any other offensive sexually based conduct, words or
    action; or any attempt to make the granting of sexual favors a condition of employment or
    advancement; or any adverse job retaliation taken for the denial of sexual favors is strictly
    prohibited and may subject the perpetrator to appropriate discipline, up to and including discharge.

    Any rude, insulting, inconsiderate or otherwise offensive behavior including jokes, cartoons,
    drawings, pictures, video and published documents, as well as physical conduct and words that is
    based upon race, color, religion, sex, national origin, age or disability, is strictly prohibited and
    may subject the perpetrator to appropriate discipline, up to and including discharge.

    No member will suffer adverse job actions because of their refusal to condone or engage in
    conduct or behavior prohibited by this rule, or for complaining of its occurrences, regardless of
    whether or not he or she is the object of such conduct or behavior. Any member who believes that
    he or she is a victim of such conduct or behavior, or who observes such conduct or behavior
    directed toward another person, shall report it to the Director/Commander of Human Resources or
    to the Internal Affairs Division immediately.

    Whenever any report regarding harassment or discrimination involves any of the member’s
    supervisors, the member shall report the matter to the next highest level of their Chain of
    Command or to the Human Resources Director/Commander or to the Internal Affairs Division.

    In the event that all persons in the Chain of Command are involved, the member shall report the
    matter to the Human Resources Director/Commander or to the Internal Affairs Division or to the
    Sheriff. In the event that the incident is alleged to involve the Sheriff, any person wishing to do so
    may file a complaint and direct it to the United States Equal Opportunity Commission, Miami
    District Office. No member will suffer retaliation for making a complaint under this rule.

    Upon receipt of a report or complaint of any conduct or behavior prohibited by this rule, an
    investigation will be conducted. Although the Lee County Sheriff’s Office will attempt to
    maintain the complainant’s confidentiality to the extent allowed by law, confidentiality cannot be
    guaranteed if it interferes with the Lee County Sheriff’s Office's ability to investigate the reported
    incident or take whatever remedial action may be deemed appropriate by the Agency.

    26:26
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    Supercedes                         Lee County Sheriff’s Office                       Effective: 7/91
    Chapter 26 – Rev. 01/21                Operations Manual                             Revised: 06/21


    Each and every member has an obligation to combat all behavior and conduct that is prohibited by
    this rule. All supervisors will be expected, as part of their duties, to take the requisite action
    necessary to prevent harassment or discrimination and/or to remedy its effects. All members
    should be open and forthright when informing other members their conduct or behavior violates
    this rule. It is the intent of the Lee County Sheriff’s Office that any offensive or improper conduct
    be prevented or, if not prevented, then corrected as quickly as possible. All members will be
    expected to work toward those common goals so the Agency may fulfill its mission and provide
    the best work environment possible.

    26.2 DRUG TESTING
    The purpose of this policy is to promote a drug-free workplace through fair and reasonable drug-
    testing methods for the protection of the Lee County Sheriff’s Office, its members and the public.

    26.2.1.1 Definitions

           1.      Except where the context otherwise requires, as used:

                   A.      "Drug" means alcohol, including distilled spirits, wine, malt beverages, and
                           intoxicating liquors; amphetamines; cannabinoids; cocaine; phencyclidine
                           (PCP); hallucinogens; methaqualone; opiates; barbiturates; benzodiazepines;
                           synthetic narcotics; designer drugs; or a metabolite of any of the substances
                           listed herein including any and all drugs illegal under federal law.

                   B.      "Drug test" or "test" means any chemical, biological, or physical
                           instrumental analysis administered for the purpose of determining the
                           presence or absence of a drug or its metabolites.

                   C.      "Initial drug test" means a sensitive, rapid, and reliable procedure to identify
                           negative and presumptive positive specimens. All initial tests shall use an
                           immunoassay procedure or an equivalent, or shall use a more accurate
                           scientifically accepted method approved by the Agency for Health Care
                           Administration as such more accurate technology becomes available in a
                           cost-effective form.

                   D.      "Confirmation test," "confirmed test," or "confirmed drug test" means a
                           second analytical procedure used to identify the presence of a specific drug
                           or metabolite in a specimen. The confirmation test must be different in
                           scientific principle from that of the initial test procedure. This confirmation
                           method must be capable of providing requisite specificity, sensitivity, and
                           quantitative accuracy.

                   E.      "Chain of custody" refers to the methodology of tracking specified materials
                           or substances for the purpose of maintaining control and accountability from
                           initial collection to final disposition for all such materials or substances and


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                           EXHIBIT 3
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   From: Heikkila, Dawn <                       >
   Sent: Wednesday, February 05, 2020 10:43 AM EST
   To: Traurig, Shelley <                    >
   Subject: FW: memo John.doc
   Attachment(s): "memo John.doc","ATT00001.txt"



   Dawn Heikkila, Director

   Lee County Sheriff's Office
   Desk:
   mailto:
   www.sheriffleefl.org
   -----Original Message-----
   From: Holloway, John <                          or
   Sent: Thursday, June 20, 2019 9:42 AM
   To: Heikkila, Dawn <                            >
   Cc: Smith, Abbi <                           >; Hornsby, Antonette <                             >
   Subject: memo John.doc

   Good Morning Dawn-

   The Sheriff has approved the Reductions in Force recommended by Operations & Legal Services Bureau and other Command Staff members.

   The memo does not identify the individuals in the positions to be eliminated, however, I believe you have been provided with that information. If not,
   please contact Abbi to review the spreadsheet with also identifies the positions, as well as the five current employees holding those positions.

   Please call me with any questions or concerns.

   John




   John Holloway | Chief Of Operations
   Desk:
   Legal Services Executive Bureau
   Lee County Sheriff's Office
   mailto:                         | http://www.sheriffleefl.org

   ***IMPORTANT MESSAGE***
   This message is intended for the use of the person or entity to whom it is addressed and may contain information that is privileged and confidential, the
   disclosure of which is governed by applicable law. If the reader of this email is not the intended recipient or the employee or agent responsible to deliver it
   to the intended recipient, you are hereby notified that any dissemination, distribution or copying of this information is STRICTLY PROHIBITED. If you
   have received this email by error, please notify us immediately and destroy the related message. This footnote also confirms that this email message has
   been swept for the presence of computer viruses, worms, hostile scripts and other email-borne network threats. PLEASE NOTE: Florida has a very broad
   public records law. Most written communications to or from government officials are public records available to the public and media upon request. Your
   email communications may be subject to public disclosure per Sec. 119 F.S.




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                           EXHIBIT 4
                                                               POSITIONS ELIMINATED
Position                          Name              Status            Age Gender      Supervisor          Comment

Senior Services Coordinator       Jami Bartz        Inactive          58   Female     Claire Schell       1/31/2021‐ Retired/Position Eliminated


Secretary of Traffic              Marsha Sprankel   Inactive          66   Female     Dennis Petraca      2/28/21‐ Retired/Position Eliminated


Major of Professional Standards   Tracy Estep       Inactive          48   Female     John Holloway       6/24/21 ‐ Retired/Position Eliminated


Director of Purchasing            Jenna Clark       Inactive          59   Female     Annmarie Reno       9/4/2021 ‐ Retired/Position Eliminated


Community Liaison                 Amy DellAquilla   Inactive               Female     Michael Truscott    10/11/2021‐ Resigned/Position Eliminated
                                                                      58
                                                                                                          11/4/2021 ‐ Title Change to Fleet Services
Director of Fleet Management      James Jones       Active            51   Male       Jeremiah Marcotte
                                                                                                          Specialist/Position Eliminiated/Pay Cut

Communications Manager            Anthony Ramsey    Inactive               Male       Karen Ciofani       10/14/21‐ Resigned/Position Eliminated
                                                                      46
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                           EXHIBIT 5
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   Carmine Marceno                                                                State of Florida
                                                                                   County of Lee
             Sheriff

                                             “Proud to Serve”



       August 15, 2021


       DearMrs. Clark,


       The Lee County Sheriffs Office has undergone an evaluation of significant aspects of current
       operations to determine ways to improvepolicies, practices and efficiencies. As you know, the
       Sheriff's Office was forced to absorb additional expenses and obligations as well as other
       increasedcosts including but not limited to; substantial increases in FRS employer pension
       rates, LCSO’s self-funded Health Plan costs and inmate medical expenses.


       Asa result of this evaluation, LCSO is conducting a Reduction in Force. Effective September4,
       2021 yourposition as “Purchasing Director” is being eliminated. You will be placed on
       Administrative Leave with Pay immediately upon this notice and given the opportunity to retire.


       Deadline for this decision will be September 3, 2021 at 4:00pm; or your appointmentwill be
       withdrawn on September4, 2021.


       Human Resourceshas included basic information in this packet but contacting the individuals
       below will be crucial for whatever option you choose. Yourcontact for HR will be Cari Turner,
       she can be reached at 239-477-1360; yourcontact for Health Benefits and FRS is Doreen
       Salvagno, she can be reached at 239-477-1121.


       Thank you for yourservice to The Lee County Sheriffs Office and I wish you well in future
       endeavors.


       Sincerely,              ‘



      Dawn Heikkila
      Director of Human Resources
      Lee County Sheriff's Office




               “The Lee County Sheriff's Office is an Equal Opportunity Employer”
            14750 Six Mile Cypress Parkway ° Fort Myers, Florida 33912-4406 © (239) 477-1000
                                                                                           LCSO/Clark
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                           EXHIBIT 6
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      UNDER SHERIFF MARCENO:

      Overcame Major Staffing Shortage for deputies
      A.    For many years, LCSO was unable to hire and retain sworn deputies, and so we
      were understaffed. We have revered the» trend
                                              trend and
                                                    and today,
                                                        today, LCSO
                                                               LCSO is fully staffed
                                                                    tsfully          with sworn
                                                                             staffed with sworn
      deputies.
      We accomplished this by:
         1)    Saving money in other areas and transferring those savings to fund deputy    uty
              positions.
              a. We utilized state-of-the-art technology and better management practices to reduce
                                                                                              reduce
                 the number of civilian employees, through attrition, creating more funding for   for
                 deputy positions;
              b. We re-evaluated every civilian position and transferred employees to other
                 areas of the agency to assure every employee was allowed to be as productive     ve as
                                                                                                      as

                 possible;
              c. We analyzed every vendor contract to eliminate contracts;
              d. We retained only those vendor contracts which are absolutely necessary, and
                 analyzed and renegotiated the cost of those remainingy contracts;
                                                                             contracts;
              e. We have more correctly categorized employees into “non-exempt”
                                                                            non-exempt” and
                                                                                          and
                 “exempt” status, consistent with current I.R.S. guidelines allowing employeesloyees
                 more freedom to work efficiently, and lowering unnecessary overtime costs;
              f. We began monitoring and working to release non-violent inmates; who     who require
                                                                                              require
                 major medical care expenditures, reducingy taxpayer
                                                                 taxpayer funded
                                                                          funded medical
                                                                                 medical costs
                                                                                         costs for
                                                                                                for
                 those who pose no danger to the community.   lity.



           These efforts, and other improvements, some of which are included below, have resulted in
      millions of dollars in savings, which funded the measures necessary to further improve LCSO’s
      performance as a premier law enforcement agency.


         2) Using the savings created by this common-sense management.    nt.
               a. We increased pay for starting deputies by $9,000;
               b. We increased the pay for sergeants, lieutenants, and other supervisors;
               c. We increased the number of applicants we sponsor for both Correctionalul
                   and law Enforcement Academies;
               d. We opened the Academy Sponsorship program to all employees  yloyees throughout
                                                                                      throughout
                   the agency;
               e. We fully funded and maintained our highly competitive benefits package
                                                                                      ackage - -
                   which had been severely endangered by major current and anticipated cost
                   increases.

         3) We improved and redoubled recruiting
                                              sruiting efforts
                                                       efforts and
                                                               and adjusted
                                                                   adjusted the
                                                                            the application
                                                                                application process
                                                                                            process
            to be more competitive with other law enforcement agencies.

      Today – for the first time in over 4 years, due to competitive pay, benefits and
      extraordinarily high morale, LCSO is fully staffed in all law enforcement positions.



                                                                                            LCSO/Clark
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      Vastly Improved Technology
      B.     Again, using the savings realized by best practices, we are have madee major
                                                                                      major
      advancements in state-of-the-art technology, further improving our  our ability
                                                                              ability to
                                                                                      to protect
                                                                                         protect our
                                                                                                 our
      residents and solve crimes.
         1. We will soon open – at no cost to the taxpayers - the most advanced Real Time
            Crime Center/Intelligence Unit in Southwest Florida. This Center, funded by drug
            money forfeited through LCSO’s legal Team, will allow our deputies to be even more
            proactive and our detectives to solve even more crime.
         2. We have acquired and are utilizing:
            a. Additional Mobile License Plate Readers
                                                     ders (LPRs);
                                                            (LPRs);
            b. Additional Fixed LPRs;
            c. Additional Surveillance Towers;
            d. Mobile Surveillance Units;
            e. Facial Recognition Software which identifies
                                                     identifies criminal
                                                                criminal suspects;
                                                                         suspects;
            f. Additional cameras to monitor public> areas;
                                                       areas;

            g. Additional access to security cameras is in
                                                        in malls,
                                                           malls, shopping
                                                                  shopping centers
                                                                            centers and
                                                                                    and major
                                                                                        major
               institutions;
         These technological improvements act as a “force multiplier” allowing LCSO, using current
         employee levels, to deter and prevent crime, as well as solve crimes even more rapidly and
         efficiently.



      Management Practices
      C.    We have reassigned deputies and detectives based upon  upon ever-changing
                                                                        ever-changing crime
                                                                                      crime trends
                                                                                            trends
      and constantly evolving demographics, and consistent growth.
         1. We have assigned more detectives and resources to thethe Violent
                                                                     Violent Crime
                                                                             Crime Unit
                                                                                    Unit (VCU),
                                                                                         (VCU),
            improving our ability to identify and arrest the “worst of the worst”;
         2. We have added substantial| numbers
                                           numbers ofof School
                                                        School Resource
                                                               Resource Officers,
                                                                         Officers, improving
                                                                                   improving
            protection for every public school in Lee County;
         3. We have added substantial numbers of deputies to the Patrol Division;
         4. We have re-scheduled detectives to include evening, weekend and holidays;
         5. We have re-scheduled Crime Scene Forensic Technicians to include evening,
            weekend and holidays;
      This schedule changes increase the number of deputies and detectives in service at any given
      time, reducing response times; and allows deputies and detectives to operate even more
      effectively and efficiently.
             We constantly monitor ever-changing public safety demands, and modify assignments
      and transfer resources to provide Lee County residents the best “bang for the buck” for their law
      enforcement dollar.




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      Community Response Unit (CRU)
              We have created and staffed the Community
                                                immunity Response
                                                          Response Unit
                                                                      Unit (CRU)   with sworn
                                                                           (CRU) with   sworn
      deputies and civilians, and combined those resources with our Public Affairs Bureau (PAB)
      providing:
      The ability to highly focus substantial both enforcement and crime prevention resources on
      targeted areas to rapidly address criminal issues and improve the quality of life for residents.



      Corrections Mental Health and Re-Entry Units
              Far too often jail is a revolving door here we re-arrest inmates within days – if not hours
      – of their release. To address this problem:
             1. We created and staffed a specialized
                                             pecialized Mental
                                                         Mental Health
                                                                Health Unit
                                                                        Unit in
                                                                              in Corrections
                                                                                 Corrections Bureau
                                                                                             Bureau to
                                                                                                    to
                provide mental health care for inmates while incarcerated, as well as seamlessly
                transfer care and counseling for these inmates when released.
             2. We added additional agency staff and resources to the    ve Corrections’
                                                                             Corrections’ Re-Entry
                                                                                           Re-Entry
                Unit to assist inmates when released with obtaining identification and accessing
                public and private assistance for housing and employment to improve their ability to
                avoid re-arrest.




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                           EXHIBIT 7
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                  Lee County Sheriff’s Office


              Office of Professional Standards
                Staff Inspection Final Report




                               Purchasing
        Workload Assessment and Staff Inspection
                               October 2020

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                   Lee County Sheriff’s Office
      ______________________________________________________   _____________________
      Sheriff Carmine Marceno                                  Date
      Office of the Sheriff


      ______________________________________________________   _____________________
      Undersheriff Eric Smith                                  Date
      Office of the Sheriff


      ______________________________________________________   _____________________
      Chief John Holloway                                      Date
      Office of the Sheriff


      ______________________________________________________   _____________________
      Annmarie Reno                                            Date
      Support Services Executive Bureau


      ______________________________________________________   _____________________
      Jenna Clark                                              Date
      Purchasing Director


      ______________________________________________________   _____________________
      Traci Estep                                              Date
      Professional Standards Division


      ______________________________________________________   _____________________
      Commander Paul Cummins                                   Date
      Professional Standards Division



      ______________________________________________________   _____________________
      Captain Matthew Herterick                                Date
      Training Division


      ______________________________________________________   _____________________
      Sergeant Diana Cintron                                   Date
      Staff Inspector – Professional Standards Division




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                               Lee County Sheriff’s Office

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                      Lee County Sheriff’s Office
                          Executive Summary – Purchasing Inspection
      In August 2020, Sergeant Diana Cintron of the Lee County Sheriff’s Office Professional
      Standards Division began a formal staff inspection of Purchasing. The summarized results are
      below:

      Conclusion

         1. Does Purchasing meet the agency's formal expectations?

             Yes.

         2. Does Purchasing’s practices and procedures ensure compliance with LCSO policies,
            procedures, and professional standards?

             Yes.

         3. Are there deficiencies in integrity, training, morale, policy, supervision, or personnel at
            Purchasing?

             There are no recognizable deficiencies in integrity, training, morale, policy, first line
             supervision, and personnel.

         4. Are resources adequate for achieving agency goals and objectives?

             Several Purchasing Agents requested a handheld Barcode scanner and a camera to take
             pictures of stock items. The staffing resources are inadequate according to the workload
             analysis. The addition of two (2) Purchasing Agent allocations is recommended for
             Purchasing.

         5. Are internal and external communications effective?

             Yes.

         6. Is there sufficient safety and security for personnel?

             Yes. There is sufficient safety and security for personnel, and the equipment provided
             meets and exceeds all operational and Accreditation standards.

         7. Are the written directives for this unit adequate?

             Yes. Written directives meet all State and Federal laws, and Accreditation Standards.



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                       Lee County Sheriff’s Office
         8. Evaluation of the record keeping practices for organization, completeness, and ability to
            retrieve information.

             The record keeping practices of Purchasing are organized, complete, and the software
             available provides easy retrieval of information.

         9. Other Recommendations
            There are no other recommendations at this time.


         Objectives

         1. Does Purchasing comply with the law, policy, and CALEA standards? Yes.
                                                                              Yes.

         2. Is the Purchasing facility safety and security appropriate? Yes.
                                                                        Yes.

         3. Are equipment safety, and equipment needs met?”? Yes.
                                                             Yes.


         4. Is adequate supervision assigned to Purchasing? Yes.
                                                            Yes.

         5. Are adequate personnel assigned to Purchasing?? No.
                                                            No.

             Recommendation: The current staffing level is inadequate and it is recommended   that two
                                                                                    nmended that   two
             (2) additional Purchasing Agent positions be allocated.



      The Purchasing Division of the Lee County Sheriff's Office appears to be running at a high to
      very high level of productivity according to all of the employees. Most of the personnel appear
      to be happy to very happy to be assigned there. Supervisors appear extremely qualified, and are
      well liked by their employees. Nearly all of the staff showed high to very high levels of morale
      and job satisfaction.

      It is difficult to obtain the perfect level of equipment, service, and employee satisfaction in a law
      enforcement agency. The Purchasing Division is a very small unit with a group of very hard
      working and dedicated employees. With their expertise in purchasing goods and services for the
      department, the certified staff can focus on keeping the residents and visitors of Lee County safe.




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                  Lee County Sheriff’s Office




                       Purchasing
                     Formal Staff
                      Inspection




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                      Lee County Sheriff’s Office
                             Purchasing Formal Staff Inspection
      Introduction
      In August 2020, Sergeant Diana Cintron of the Lee County Sheriff’s Office Professional
      Standards Division began a formal staff inspection of the Purchasing Division, commonly
      referred to as “Purchasing.” On August 26, 2020, Sgt. Cintron held a pre-inspection meeting
      with Purchasing Director Jenna Clark. It was determined that Purchasing Director Clark would
      be the liaison for the inspection process. The inspection began in October of 2020 and
      concluded in November 2020.

      Description of Purchasing
      Location

      The Lee County Sheriff’s Office Purchasing Division is comprised of Purchasing
      Director/Management and Purchasing Agents. The strength of the Central Purchasing System is
      its ability to serve the operating components/divisions without requiring them to maintain their
      own internal purchasing process. The value of centralized purchasing has long been recognized
      in both government and private business.

      The goal of Purchasing is to obtain items at the lowest reasonable rate and within the time
      requested, or as soon as possible. The Purchasing Division is also responsible for ensuring
      proper authorization and recording of all purchase transactions by its personnel.

      There are three different purchasing procedures: Standard Purchasing requires an online
      purchase order; In-House Store Purchasing requires an online requisition; and Software
      Purchasing requires Technical Support and Facilities Division Director approval prior to
      submission of an online purchase order.

      Purchasing is located in the Lee County Sheriff’s Office Main Headquarters at 14750 Six Mile
      Cypress Parkway, Fort Myers, FL 33912. Lee County Sheriff’s Office personnel have access to
      Purchasing and its employees Monday - Friday, 9:00 a.m. – 4:00 p.m. There is ample parking
      for personnel. The building provides adequate security with video surveillance. There are no
      major issues with the location or property.

      Personnel

      As of October 2020, Purchasing contains 7 allotments distributed as follows: 1 Purchasing
      Director, 1 Purchasing Manager, 5 Purchasing Agents.



      Daily Operations

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                      Lee County Sheriff’s Office
      Purchasing Division personnel work four, 10-hour days. Scheduling is set to cover a workweek
      of Monday – Friday.

      Purchasing Director position involves responsible supervisory, administrative and operational
      duties specific to the position. The Director researches and prepares various reports, composes
      and constructs policy, procedure and directives, and the budget for the component. The
      Purchasing Director Jenna Clark works from 8:00 a.m. – 6:00 p.m., Tuesday - Friday.

      The Purchasing Manager position involves administrative and clerical work purchasing a variety
      of supplies and equipment. Work involves responsibility for research, pricing and negotiation
      for purchase of quality items at the best price, preparing purchase orders, and keeping an
      inventory of items ordered and received. Duties include contacting vendors for availability of
      products and the provision of contracted services. Work is performed under the general
      supervision of the Purchasing Director. Purchasing Manager Shannon Lehman works 6:30 a.m.
      – 4:30 p.m., Monday – Thursday.

      The Purchasing Agents duties involve responsibility for research, pricing and negotiation for
      purchase of quality items at the best price, preparing purchase orders, and keeping an inventory
      of items ordered and received. Duties include contacting vendors for availability of products,
      preparing bid specifications, and following-up on delivery of products and the provision of
      contracted services. Additionally, Purchasing agents answer phones, provide customer service to
      employees at the front counter, and meet vendors at the loading dock and accept delivery of
      products.

      Purchasing Agent Daysi Castillo works 7:00 a.m. – 5:00 p.m., Monday – Friday. Purchasing
      Agent Christine Cross works 6:00 a.m. – 4:00 p.m., Tuesday – Friday. Purchasing Agent
      Danielle DePonto works 7:15 a.m. – 5:15 p.m., Monday – Thursday. Purchasing Agent Brenda
      Hector works 8:00 a.m. – 6:00 p.m., Monday and Friday and 10:00 a.m. – 8:00 p.m. Tuesday and
      Thursday. Purchasing Agent Gwen Legler works 6:00 a.m. – 4:00 p.m., Tuesday - Friday.

      Mission, Objectives, and Methodology of Formal Inspection
         1. Mission
               a. To determine if Purchasing meets the agency's formal expectations.
               b. To review practices and procedures to ensure compliance with LCSO policies,
                  procedures, and professional standards.
               c. To detect deficiencies in integrity, training, morale, policy, supervision, or
                  personnel.
               d. To determine if resources are adequate for achieving agency goals and objectives.
               e. To evaluate the effectiveness regarding internal and external communications.
               f. To evaluate the safety and security of personnel.
               g. To evaluate the adequacy of written directives related to this unit.


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              h. To review the record keeping practices for organization, completeness, and ability
                  to retrieve information.
         2. Objectives
              a. Ensure compliance with the law, policy, and CALEA standards.
              b. Ensure facility safety and security is appropriate.
              c. Ensure equipment safety, and equipment needs are met.
              d. Ensure that adequate supervision is assigned.
              e. Ensure that adequate personnel are assigned.
         3. Methodology
              a. Meetings, email and phone contact with supervisors.
              b. Physical inspection of facilities.
              c. Review of relevant databases (PowerDMS, CAD, etc...)
              d. Surveys, including a component survey and unit member survey.
              e. Personal interviews with personnel.
              f. Analysis of the Division workload.



      Policy, Procedure, and Accreditation Compliance
      Commander’s Component Survey

      Purchasing Director Jenna Clark completed a “Component Survey" as part of this formal
      inspection. The Component Survey noted no concerns.

      Power DMS Inbox Summary

      Sgt. Diana Cintron generated a Signatures Summary and a Student Records report in thee Power
                                                                                             Power
      DMS system. The report revealed no major issues. This shows that personnel sign all
      mandatory documents and complete online courses in a timely manner.

      Official Manpower Allotments

      As of October 21, 2020, Purchasing contains 7 allotments distributed as follows: 1 Purchasing
      Director, 1 Purchasing Manager, 5 Purchasing Agents.

      The Purchasing budget and allocations (Budget Account #20302) Manpower Report is provided
      in the Appendix.

      Current Budget

      Sergeant Cintron obtained a copy of the Purchasing current budget for FY 20/21. Purchasing is
      allotted $1,665,414.00. No anomalies were noted in their expenditure report and their budget is
      consistent with that of other similar units at the Sheriff's Office.

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                       Lee County Sheriff’s Office
      Accreditation Compliance

      Sgt. Cintron received an email from Manager Tanya Tanner in Accreditation on November 5,
      2020. Manager Tanner stated that Purchasing was up-to-date on all of their standards and that
      there were no concerns or anomalies. A copy of the Accreditation standards for Purchasing is
      located in the Appendix.

      Goals and Objectives

      Goals and Objectives are written goals and written objectives that agency components use to
      measure the success or failure of their unit. Located on the agency intranet, personnel are able to
      see and obtain a copy of each goal and objective for their unit. Unit Commanders update these
      goals and objectives in January of each calendar year. The formal Goals and Objectives for
      Purchasing can be found in the Appendix.

         1. Written Goals and Objectives

             At the time of the inspection, the 2019 Goals and Objectives were completed. The 2019
             Goals and Objectives revealed the following concerns and notable accomplishments:

                 a. Track number of purchase orders processed.
                        i. 2019 Baseline:
                           Total purchase orders and pick tickets processed: 6,641, a 19% increase
                           from 2018.

                            Recommendations – No recommendations at this time.

                 b. Maintain efficiency in inventory control.
                       i. 2019 Baseline:
                           During 2019, the NIGP (National Institute for Government Purchasing)
                           Commodity/Service Codes have not been consistently utilized. The goods
                           and services that we acquire are not enough volume to utilize the codes.
                           Photo imaging of equipment and supplies is an ongoing process so this
                           would be considered not on target.

                            Recommendations – No Recommendations at  at this
                                                                        this time.
                                                                             time. The processisis
                                                                                   The process
                            moving forward per Director Jenna Clark.




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                       Lee County Sheriff’s Office
      Job Task Analysis (JTA’s)

      Purchasing has the following non-staff level positions: Purchasing Agent. The Job Task
      Analysis for the above listed job classifications are in the Appendix.

      Facilities and Equipment

      Purchasing is located in the Lee County Sheriff’s Office Main Headquarters at 14750 Six Mile
      Cypress Parkway, Fort Myers, FL 33912. Lee County Sheriff’s Office personnel have access to
      Human Resources and its employees Monday - Friday, 9:00 a.m. – 4:00 p.m. There is ample
      parking for personnel. The building provides adequate security with video surveillance. There
      are no major issues with the location or property.

      Facility Safety and Security

      Purchasing has a controlled access system for entry into the secure areas of the building, and all
      equipment is protected and locked. Purchasing maintains a good combination of security and
      approachability for members, and the controlled access and provides a higher than normal level
      of security.

      Staffing Assessment
      Introduction

      The Lee County Sheriff’s Office is required to perform periodic workload assessments so that
      personnel may be appropriately allocated and distributed across the various organizational
      components.

      The Commission on Accreditation for Law Enforcement Agencies (CALEA) standard 16.1.2
      states: “The agency allocates personnel to, and distributes them within all organizational
      components in accordance with documented periodic workload assessments.” The purpose of
      this standards is to encourage the appropriate deployment of personnel by determining service
      demands through the use of workload assessments and computer-based or manual methods of
      personnel allocation and distribution. (Shane, 2009, p.99)

      The intent of this standard is to encourage the equalization of individual workloads among and
      within organizational components. The analysis should specify all incidents and factors used in
      making each workload assessment and indicate any time and location factors necessary to
      complete a task.

      Basing the allocation of personnel on workload demands can have a significant influence on the
      efficiency and effectiveness of the agency. The agency should attempt to prevent over or under
      staffing by ensuring that, the personnel strength of an organizational component is consistent
      with the workload. The nature or number of tasks as well as their complexity, location, and time


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                       Lee County Sheriff’s Office
      required for completion are some of the factors influencing workload demands. The process of
      allocating personnel to each organizational component also permits the agency to determine the
      overall number of personnel required to meet its needs and fulfill its objectives.

      Assignment of personnel to Purchasing should be based on a thorough analysis of what
      Purchasing Agents are actually responsible for. The work of Purchasing Agents is much more
      than answering telephone calls, reading, and returning emails to other personnel within the
      agency. It is conducting tasks related to research, pricing and negotiation for purchase of quality
      items at the best price, preparing purchase orders, and keeping an inventory of items ordered and
      received. Duties include contacting vendors for availability of products, preparing bid
      specifications, and following-up on delivery of products and the provision of contracted services.
      Additionally, personnel answer phones, provide customer service to employees at the front
      counter, and meet vendors at the loading dock and accept delivery of products.

      Workload Assessment Methodology

      The methodology used to perform the Purchasing Agents Workload Assessment is one suggested
      by CALEA inspectors and is formally presented in the textbook What Every Chief Executive
      Should Know; Using Data to Measure Police Performance by Dr. Jon Shane, who is a professor
      of criminal justice at the John Jay College of Criminal Justice at the City University of New
      York. Dr. Shane’s model is easy to use, easily taught to others, and accurate in determining
      staffing needs.

         1. Purchasing Agents

             The Explanation of Each Step in the Methodology for Purchasing Agents - Self-
             Reported Workload Analysis

             The methodology used to perform the Purchasing Agents Workload Assessment is the
             same one used by the Lee County Sheriff’s Office in previous years to determine staffing
             needs of various units and it includes workload and actual work on their regular duties.

             Explanation of Each Step in the Methodology

                     Step 1- Gather existing data on Purchasing Agents activities to determine those
                                                                                                  10S¢

                     tasks completed daily by Purchasing Agents has to create a list of principle
                     modalities.

                     Step 2- Develop a list of principle modalities. The Purchasing Agents have
                                                                                            ave

                     reported these tasks as common tasks performed daily. (AKA principle
                     modalities).

                         i.   Phone Calls and Emails
                        ii.   Checking in Orders, and Receive Orders

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                     iii.   Pull Pick Ticket Orders and Send Order Ready Notifications
                      iv.   Customer Service Front Counter/Back Door, Receive/Process Packages
                       v.   Process Pick Ticket Orders, Process Purchase Orders and Pull Orders
                      vi.   Enter In-House Supply Replenishment Order, Enter Requisitions/Orders
                     vii.   Meeting with Jenna, Shannon or Assist Other Employees
                    viii.   Receive Purchase Orders
                      ix.   Enter/Finish Jail Supply Order, Finish Reviewing Supplies for
                            Corrections
                      x.    Convert Requisitions to Purchase Orders, Finish/Follow-up Pending
                            Requisitions
                      xi.   Enter/Update JM Todd New Leases
                     xii.   Follow-up with Vendors Open Orders/Orders Not Delivered
                    xiii.   Process/Convert Requisitions, Scan Requisitions and Purchase Orders
                    xiv.    Process New Hire, Size Appointment New Hire, Fill Out Paperwork for
                            New Hires
                     xv.    Cut Patches Off Used Uniforms and Hang/Dispose of Uniform
                    xvi.    Process Uniform Request/Returns, Check Used Uniforms, Work in
                            New/Used Uniforms
                   xvii.    Pull/Restock Uniforms and Equipment for Uniform Request, Restock
                            Inner Belts
                  xviii.    Add Sizing Labels to Garment Bags for New LE Uniform
                   xix.     Other Administration Duties

                  Step 3- Total minutes available for work in a typical day, and typical week,, were
                                                                                                were

                  calculated with MS Excel.

                  Step 4- Total minutes used and left unused for work by Purchasing Agents> were
                                                                                            were
                  calculated with MS Excel.

                  Step 5- The percentage of actual available minutes used by the unit was
                                                                                   it was
                  calculated with MS Excel.

                  Step 6- The top five modalities on which Purchasing Agents spend the majority
                                                                                         yority
                  of their time were calculated with MS Excel.

                  Step 7- The relief factor of 1.33 was included in these calculations.
                                                                                ations.

           The below chart indicates the results for the time required to fulfill Purchasing Agents
           demands. The summarized results indicate that there is a requirement of 7 full-time
           equivalent (FTE) positions to handle the Purchasing Agents workload. This indicates
           that a total of 5 (five) employees are performing the work of seven (7) FTE positions.
           The self-reported analysis also indicated that the Purchasing Agents are using 100% of
           their available time working on Purchasing Agent principal modalities. It would appear

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                                 Lee County Sheriff’s Office
           that the current staffing level is inadequate and it is recommended that two (2) additional
           Purchasing Agent positions be allocated. The full results can be found in the Appendix.

                                       Purchasing - Civilian Purchasing Agent - TIME / WORKLOAD ANALYSIS
                                                                                                                                           Weekly       Weekly            Monthly            Annual               % Of Weekly
                               Tasks Routinely Performed by The Detectives                        Day 1      Day 2     Day 3     Day 4     Minutes          Hours          Hours               Hours                 Minutes
           Phone callsandEmails                                                                     693       579       602       652        2526           42.10          182.29           2187.516                 20.83%
           CheckinginOrders, Receive Orders                                                         14        179        88       140         421            7.02           30.38            364.586                  3.47%
           Pull PickTicket OrdersandSendOrder ReadyNotifications                                    153        42        19        6          220            3.67           15.88             190.52                  1.81%
           Customer Service Front Counter/BackDoor, Receive/ProcessPackages                         448       426       583       567        2024           33.73          146.07           1752.784                 16.69%
           ProcessPickTicket Orders, ProcessPurchase OrdersandPull Orders                           412       155       281       195        1043           17.38           75.27            903.238                  8.60%
           EnteredInHouse SupplyReplenishment Order, Enter Requisitions/Orders                      111       219        62        98         490            8.17           35.36             424.34                  4.04%
           MeetingwithJenna, Shannonor Assist other Employees                                       73        137       140        45         395            6.58           28.51             342.07                  3.26%
           ReceivingPurchase Orders                                                                 23         0         0         0          23             0.38           1.66              19.918                  0.19%
           Enter/FinishJail SupplyOrder, FinishReviewingSuppliesFor Corrections                     61         0         0         0          61             1.02           4.40              52.826                  0.50%
           Convert Requistionsto Purchase Orders, Finish/Follow-upPendingRequestions                 0         39        46       159         244            4.07           17.61            211.304                  2.01%
           Enter/Update JM ToddNewLeases                                                             0         0        274        0          274            4.57           19.77            237.284                  2.26%
           Follow-upwithVendorsOpenOrders/OrdersNot Delivered                                        0         0         0         33         33             0.55           2.38              28.578                  0.27%
           Process/Convert Requisitions, ScanRequisitionsandPurchase Orders                         278       246       414       331        1269           21.15           91.58           1098.954                 10.46%
           ProcessNewHire, Size Appointment NewHire, Fill Out Paperworkfor NewHires                 27         41        60        7          135            2.25           9.74              116.91                  1.11%
           Cut PatchesOff UsedUniformsandHang/Dispose Uniform                                       21         77        0         0          98             1.63           7.07              84.868                  0.81%
           ProcessUniformRequest/Returns, CheckUsedUniforms, WorkinNew/UsedUniforms                 239       249       245       295        1028           17.13           74.19            890.248                  8.48%
           Pulled/RestockedUniforms& Equpment for UniformRequest, RestockInner Belts                 7         35        0         0          42             0.70           3.03              36.372                  0.35%
           AddSizingLabelsto Garment BagsFor NewLEUniform                                            0         0         0         20         20             0.33           1.44               17.32                  0.16%
           Other Administrative Duties                                                              441       579       221       420        1661           27.68          119.87           1438.426                 13.69%
                                                                                       Total =     3001       3003      3035     2968       12007           200.12         866.51           10398.062                98.99%


                      Total Available Minutes / Includes ALL Time With No Deductions


           Total Daily Minutes Actually Available For Work    600 x 4 = 2400                       2400     600 available work minutes in one shift times 4 shifts each week (break s are part of relief factor included in calculations below)
           Total Weekly Minutes Actually Available For Work 600 x 4 x 5 = 12000                    12000    600 available minutes in one shift times 4 Shifts times 5 unit members
           Total Weekly Minutes Actually Used For Work By This Unit                                12007    Actual documented time work ed by the Unit during a regular four day work week .
           Unused Work Minutes                                                                       -7     Actual available time not tak en advantage of
           Percentage Of Actual Available Minutes Used By This Unit                                100%     Percentage of the actual available time used by the entire unit as a whole


                         Top Five Categories This Unit Is Spending Time On Weekly


           TasksRelatedto NewHire - Scan, Start ActionSheet, PrepNewFile                          20.83%
           TasksRelatedto Other Administrative Duties                                             16.69%
           TasksRelatedto Phone callsandEmails                                                    13.69%
           TasksRelatedto Applications, Applicants. Employment Verification                       10.46%
           TasksRelatedto MUNIS- Management, Repair, Requests, Documentation                       8.60%
            70% of their work week is spent on these five categories                               70%


           Full Time Equivalency Evaluation


                       One Full Time Equivalent / Actual Work Time With Deductions                 1574     1 FTE = 1574 Hours = 10 Hrs Daily x 4 Days Week ly = 40 Hrs Week ly x 52.14 Week s Yearly = 2086 Hrs Relief Factor of 512 hours = 1574 Hrs
                                              Total Annual Hours                                 10398.062 Total FTE hours work ed by the unit annually
                                           Full Time Equivalency                                     7      This number indicates that 5 Purchasing Agents are doing the work of 7 Purchasing Agents during an average work week.




           (This chart can be viewed in the Appendix)

           Relief Factor Calculations and Tables for Purchasing Agents

           Purchasing Agents are permitted a specified number of Vacation, Sick, Personal, and
           Training hours that takes them away from their regular duties. Therefore, a relief factor,
           which accounts for personnel usage of this time, must be factored into the staffing
           assessment. Using averages, the Relief Factor for Purchasing Agents working 10-hour
           shifts is 1.33. This means that 1.33 people must be hired to do the work of one full time
           equivalent position.




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                      Lee County Sheriff’s Office
                               Standard Relief Factor for Civilian Employees 10/Shift
                                                          Category                                          Civilian
            1   Total hours identified by policy (based on a standard 40 hour work week (40 x 52.14 = 2086) 2086
            2   Vacation Hours Per Year                                                                      160
            3   Personal Hours Per Year                                                                      100
            4   Sick Hours Per Year                                                                           80
            5   Break Time Hours Per Year                                                                    172
            6   Total of Lines 2-6                                                                           512
            7   Subtract Line 6 from Line 1                                                                 1574
            8   Relief Factor (divide line 1 by line 7 and round to 2 decimal places)                        1.33

           As indicated by the Time/Workload Analysis chart, the shift relief factor was already
           calculated into the Purchasing Agents workload. Including the shift relief factor, the
           workload of 7 Purchasing Agents will require two (2) additional allocations. It should be
           noted that this assessment revealed existing Purchasing Agents are working on principle
           modalities 100% of the time.

           Results Summary

           As of this assessment, there are 7 total allotments in Purchasing with 5 non-supervisory
           positions. There are five (5) Purchasing Agents doing the work of 7.

           Recommendation – The addition of two (2) Purchasing Agent
                                                                gent allocations.
                                                                     allocations.




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                    Lee County Sheriff’s Office
      Personnel Assessment
        1. Member Surveys

           As part of the workload inspection of Purchasing, all members received a “Member
           Survey” disseminated by Sgt. Diana Cintron consisting of thirty-one (31) questions
           directly related to the individual worker. Sgt. Cintron provided seven (7) unit members
           with a hyperlink to the anonymous, confidential, web-based survey and requested it be
           completed. Seven (7) of the 7 members or 100% of personnel responded. A copy of the
           thirty-question member survey is included in the appendix.

           Below are the survey questions:

              1) Do you believe that your unit is performing at an acceptable level?
              2) Are you aware of any policies or procedures that are not being followed?
              3) If you answered yes to the above question, please specify which policy or
                  procedure is not being followed?
              4) Has technology improved your personal work performance?
              5) Is your work satisfying?
              6) Do you know the goals and objectives of your unit?
              7) Do you have the necessary tools and resources to do your job?
              8) If you do not have the necessary tools and resources to do your job, please list the
                  tools and resources that you need.
              9) Is your equipment periodically inspected as required by policy?
              10) Were you given the requisite training upon selection to your unit?
              11) Have you received additional unit related training since you started in this unit?
              12) Is training available to you in your current assignment?
              13) Has the training you have received improved your job performance?
              14) Is your supervisor aware of your work performance?
              15) Does your supervisor support your actions and decision?
              16) Does your supervisor encourage your ideas and opinions?
              17) Does your supervisor inform you on matters that affect your job?
              18) (Short answer question) What are the positive things about your unit/shift?
              19) (Short answer question) What are the negative things about your unit/shift?
              20) (Short answer question) Have you taken an active role in finding solutions to unit
                  issues?
              21) (Short answer question) What could you or the agency do to help maximize your
                  job performance?
              22) (Short answer question) Is there any equipment not provided to you that could
                  help you to perform better?


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              23) (Short answer question) If you answered yes to the above, please list the
                  equipment that could be provided which would help you perform your job better.
              24) (Short answer question) Is there any training that you would like to have more
                  frequently?
              25) (Short answer question) If you answered yes to the above, please list the type of
                  training you would like to receive.
              26) (Short answer question) Are there any procedures that can be modified to save
                  time?
              27) (Short answer question) If you answered yes to the above, please list the
                  procedure changes that you would make to save time.
              28) Are you aware that all files, spread sheets and/or pertinent information should be
                  uploaded to the proper program or sent to the official custodian within the Lee
                  County Sheriff's Office and not be kept in your own personal files?
              29) Do you have any personal files that should be uploaded in Spillman or any other
                  LCSO programs?
              30) (Short answer question) Is there anything you would like to add about your work
                  or your unit? If so, please let us know below.
              31) What would you like us to know that would benefit Purchasing or was not
                  covered previously?

            Survey Responses:wafe

                  (Duplicate or unassociated written answers have been omitted. The full responses
                  can be viewed in the Appendix.

              1. Do you believe that your unit is performing at an acceptable level?
                      i. Yes – 100%
                     ii. No – 0%
              2. Are you aware of any policies or procedures that are not being followed?
                      i. Yes – 0%
                     ii. No – 100%
              3. If you answered yes to the above question, please specify which policy or
                 procedure is not being followed. N/A
              4. Has technology improved your personal work performance?
                      i. Yes – 86%
                     ii. No – 14%
              5. Is your work satisfying?
                      i. Yes – 100%
                     ii. No – 0%
              6. Do you know the goals and objectives of your unit?
                      i. Yes – 100%

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                   Lee County Sheriff’s Office
                    ii. No – 0%
              7. Do you have the necessary tools and resources to do your job?
                        i. Yes – 83%
                       ii. No – 17%
              8. (Short answer question) If you do not have the necessary tools and resources to do
                  your job, please list the tools and resources that you need.
                        i. Written Answers:
                              a. “Although would like to add a few bar code scanners, along with a
                                  good camera to take pictures of stock items.”
                              b. “The tools they have given us to do the job is very labor intensive
                                  and inconsistent when performing certain tasks. Which in turn
                                  makes the job very frustrating at times.”
                              c. “Would be nice to have a handheld scanner to scan items directly
                                  into the person’s issuance.”
              9. Is your equipment periodically inspected as required by policy?
                        i. Yes – 100%
                       ii. No – 0%
              10. Were you given the requisite training upon selection to your unit
                        i. Yes – 100%
                       ii. No – 0%
              11. Have you received additional unit related training since you started in this unit?
                        i. Yes – 100%
                       ii. No – 0%
              12. Is training available to you in your current assignment?
                        i. Yes – 100%
                       ii. No – 0%
              13. Has the training you received improved your job performance?
                        i. Yes – 100%
                       ii. No – 0%
              14. Is your supervisor aware of your work performance?
                        i. Yes – 100%
                       ii. No – 0%
              15. Does your supervisor support your actions and decisions?
                        i. Yes – 100%
                       ii. No – 0%
              16. Does your supervisor encourage your ideas and opinions?
                        i. Yes – 100%
                       ii. No – 0%
              17. Does your supervisor inform you on matters that affect your job?
                        i. Yes – 100%


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                   Lee County Sheriff’s Office
                      ii. No – 0%
              18. (Short answer question) What are the positive things about your unit/shift?
                       i. Written Answers:
                             a. “I feel everyone tries to work as a team, and I am approachable if
                                 they have concerns.”
                             b. “Management in the unit is very approachable and easy to talk
                                 with. I enjoy the job, just not the Munis program we have
                                 switched to, to complete the job.”
                             c. “Every day is a challenge and in this unit you can’t never stop
                                 learning.”
                             d. “We are able to provide customer service and necessities to other
                                 employees in the agency.”
                             e. “I am able to successfully work with my partner/co-workers, have
                                 great support from my supervisors, different projects,
                                 responsibilities to stay busy, great relationships with other
                                 employees in the agency and co-workers.”
                             f. “Each member has different areas that they handle and excel in.
                                 The team has an excellent work ethic and multi-task both
                                 individually and as a unit.”
                             g. “Open door policy. Both Shannon and Jenna are always willing to
                                 help and to also answer any questions or problems I come across.”
              19. (Short answer question) What are the negative things about your unit/shift?
                       i. Written Answers:
                             a. “N/A.”
                             b. “The glitchy Munis program we are using to do the job.”
                             c. “In occasions the miscommunication.”
                             d. “Sometime attitudes can be difficult to deal with.”
                             e. “Others with low morale, negativity or causing issues with other.”
                             f. It is a smaller unit, so when it comes to scheduling it can hard to
                                 have multiple personnel off?”
              20. Have you taken an active role in finding solutions to unit issues?
                       i. Yes – 71%
                      ii. No – 29%
              21. (Short answer question) What could you or the agency do to help maximize your
                  job performance?
                       i. Written Answers:
                                     a. “N/A.”
                                     b. “Nothing that I can think of at this time. They already have
                                         given us a counter person which has help tremendously
                                         with the interruptions in completing tasks in the Munis


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                   Lee County Sheriff’s Office
                                          system and given us desk top scanners to help with the
                                          workload.”
                                      c. “Provide better salary and more trainings in other areas.”
                                      d. “Improve morale.”
                                      e. “Help to update technology so we are not so paper heavy
                                          and doing things manually, such as a scanning/inventory
                                          system that ties in with our purchasing system (Munis),
                                          electronic signatures, etc.”
                                      f. “Would be nice to have a handheld scanner to scan items
                                          directly into the person’s issuance.”
              22. Is there any equipment not provided to you that could help you to perform better?
                       i. Yes – 43%
                      ii. No – 57%
              23. If you answered yes to the above, please list the equipment that could be provided
                  which would help you perform your job better.
                       i. Written Answers:
                              a. “Bar code scanners (handheld).”
                              b. “A handheld scanner that would help with scanning uniforms right
                                  in to the employee issuance if this was possible based on
                                  procurement program we have in place.”
                              c. “Would be nice to have a handheld scanner to scan items directly
                                  into the person’s issuance.”
              24. Is there any training that you would like to have more frequently?
                       i. Yes – 43%
                      ii. No – 57%
              25. If you answered yes to the above, please list the type of training you would like to
                  receive.
                       i. Written answers
                              a. “Cross training in different areas within the unit.”
                              b. “Anything relating to effectively dealing with people.”
                              c. “Anything customer service or dealing with people.”
              26. Are there any procedures that can be modified to save time?
                       i. Yes – 57%
                      ii. No – 43%
              27. If you answered yes to the above, please list the procedure changes that you
                  would make to save time.
                       i. Written answers
                              a. “Entering of uniform requests in Munis. Lots of steps to enter
                                  each item.”



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                      Lee County Sheriff’s Office
                               b. “As mentioned above, advanced technology systems in place
                                   would help decrease manual issuance/receipts and having to scan
                                   paper. Electronic signatures for issued items, scanning system to
                                   take inventory and manage receipts/issuance.”
                               c. “A handheld scanner than would help with scanning uniforms right
                                   into the employee issuance if this was possible, based on
                                   procurement program we have in place.”
                               d. “Would be nice to have a handheld scanner to scan items directly
                                   into the person’s issuance.”
                28. Are you aware that all files, spread sheets and/or pertinent information should be
                    uploaded to the proper program or sent to the official custodian within the Lee
                    County Sheriff's Office and not be kept in your own personal files? Is there
                    anything you would like to add about your work or your unit?
                         i. Yes – 100%
                        ii. No – 0%
                29. Do you have any personal files that should be uploaded in Spillman or any other
                    LCSO programs?
                         i. Yes – 0%
                        ii. No – 100%
                30. (Short answer question) Is there anything you would like to add about your work
                    or your unit?
                         i. Written Answers:
                               a. “The girls in Purchasing work very hard, they are team players and
                                   very conscientious in the work they do.”
                               b. “We have a good little unit here with great management.”
                               c. “Some co-workers should mind their own business.”
                               d. “We have a hard working group of people that are tasked with a
                                   large workload and they handle it.”
                               e. “I enjoy my job and really like working for Jenna and Shannon.”
                31. What would you like us to know that would benefit the Human Resources Unit or
                    was not covered previously?
                         i. Written answers
                               a. “Nothing.”

      The major issues observed in the member survey are as follows:

                         1) Equipment:
                               a. Throughout the survey, it was mentioned by several Purchasing
                                  Agents that they would like to have a handheld Barcode scanner
                                  that would scan information into the employee issuance.
                               b. A good camera to take pictures of stock items.

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                    Lee County Sheriff’s Office
                               c. Advanced technology systems in place would help decrease
                                  manual issuance/receipts and having to scan paper. Electronic
                                  signatures for issued items, scanning system to take inventory and
                                  manage receipts/issuance.

                          Recommendation: If Director Clark agrees with the suggestions of the
                          additional equipment/technology, it should be investigated to determine
                          cost and effectiveness.

                       2) Training:
                             a. Cross training in different areas within the unit.
                             b. A class on effectively dealing with people.
                             c. A class on customer service.

                          Recommendation: The individual should find out where these
                          classes/courses are being offered and provide the Training Division, Paula
                          Robinson, with the information so it may be uploaded into TMS and apply
                          for the offered course.

        2. Personal Interviews

           Sgt. Cintron made an unannounced visit to speak to the Purchasing Agents in the
           Purchasing Division. Sgt. Cintron spoke to several people asking them what their job
           duties were, what their daily tasks comprised of, and their overall job happiness. The
           only issue brought up was regarding a handheld scanner to make their job tasks quicker
           and easier. Although, the unit is a small unit, it appears that the Purchasing Agents and
           Management are a very closely knitted group. Sgt. Cintron was sitting at the break table
           and one Purchasing Agent was eating her lunch. She appeared to be happy and content
           with her position in Purchasing. It was very busy and non-stop.

        3. Member Self-Assessments

           An online Member Self-Assessment was distributed to each member in Purchasing.
           These anonymous assessments asked personnel to answer four questions and state their
           highest level of formal education. Seven of the seven members (100%) returned the
           assessment. The possible answers to the questions were Very High, High, Neutral, Low,
           and Very Low. The questions were as follows:

              1) Morale can be described as one’s emotional or mental condition with respect to
                 cheerfulness, confidence, zeal, etc., especially in the face of opposition, hardship,
                 etc… Which of these best describes your personal level of morale?


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                    Lee County Sheriff’s Office
              2) Job satisfaction can be defined as how content an individual is with his or her job,
                 in other words, whether or not they like the job or individual aspects of their
                 position, such as nature of work. Which one of these best describes your level of
                 job satisfaction?
              3) Worker happiness is that happiness that workers feel when they are satisfied with
                 their job and work conditions. Which one of these best describes your level of
                 worker happiness?
              4) Productivity can be defined as the quality, state, or fact of being able to generate,
                 create, enhance, or bring forth goods and services. Which of these best describes
                 your personal level of productivity?
              5) Which of these describes your highest level of formal education?

           The answers were as follows:
              1) Which of these best describes your personal level of morale?
                     a. Very High – 25%
                     b. High – 50%
                     c. Neutral – 25%
                     d. Low – 0%
                     e. Very Low – 0%
              2) Which of these best describes your level of job satisfaction?
                     a. Very High – 14%
                     b. High – 71%
                     c. Neutral – 14%
                     d. Low – 0%
                     e. Very Low – 0%
              3) Which of these best describes your level of worker happiness?
                     a. Very High – 13%
                     b. High – 75%
                     c. Neutral – 13%
                     d. Low – 0%
                     e. Very Low – 0%
              4) Which of these best describes your level of productivity?
                     a. Very High – 38%
                     b. High – 50%
                     c. Neutral – 13%
                     d. Low – 0%
                     e. Very Low – 0%
              5) Which of these best describes your current level of education?
                     a. Doctorate – 0%
                     b. Masters – 25%


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                    Lee County Sheriff’s Office
                      c.   Bachelors – 24%
                      d.   Associates – 0%
                      e.   Some College – 38%
                      f.   HS Diploma – 13%
                      g.   GED – 0%

           This assessment showed that Purchasing employees have levels of morale, job
           satisfaction, worker happiness, and productivity ranged from neutral to very high.
           Productivity was noted at very high by 50% and high at 50%. It also showed that several
           employees had had attained a degree(s) at the level of postsecondary education.

           Note – Members are encouraged to take advantage of Lee County Sheriff’s Office
                                                                                     (fice
           benefits to obtain a low cost, high-quality education.

        4. Inspector Observations

           Sgt. Cintron made an unannounced visit to Purchasing, speaking to random personnel and
           observing their work habits. The personnel appeared to be very happy and comfortable
           in their positions. Sgt. Cintron observed that the atmosphere was friendly and
           welcoming. Sgt. Cintron noticed that the telephone was constantly ringing and the
           Purchasing Agents were working at the front counter assisting fellow employees.
           Additionally, Purchasing Agents were reviewing purchase orders and picking up
           COVID-19 supplies to handout to a fellow worker at the front counter. The employees
           were very outgoing and very attentive to Sgt. Cintron’s questions and needs. Sgt. Cintron
           felt very comfortable and welcomed by all of the employees.




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                      Lee County Sheriff’s Office
      Conclusion
      Mission Conclusion

         1. Does Purchasing meet the agency's formal expectations?

            Yes.

         2. Does Purchasing practices and procedures ensure compliance with LCSO policies,
            procedures, and professional standards?

            Yes.

         3. Are there deficiencies in integrity, training, morale, policy, supervision, or personnel at
            Purchasing?

            There are no recognizable deficiencies in integrity, training, morale, policy, first line
            supervision, and personnel.

         4. Are resources adequate for achieving agency goals and objectives?

             Several Purchasing Agents requested a handheld Barcode scanner and a camera to take
            pictures of stock items. The staffing resources are inadequate according to the workload
            analysis. The addition of two (2) Purchasing Agent allocations is recommended for the
            Purchasing Division.

         5. Are internal and external communications effective?

            Yes.

         6. Is there sufficient safety and security for personnel?

            Yes. There is sufficient safety and security for personnel, and the equipment provided
            meets and exceeds all operational and Accreditation standards.

         7. Are the written directives for this unit adequate?

            Yes. Written directives meet all State and Federal laws, and Accreditation Standards.

         8. Evaluation of the record keeping practices for organization, completeness, and ability to
            retrieve information.




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                       Lee County Sheriff’s Office
             The record keeping practices of Purchasing are organized, complete, and the software
             available provides easy retrieval of information.

         9. Other Recommendations
            There are no other recommendations at this time.


         Objectives

         6. Does Purchasing comply with the law, policy, and CALEA standards? Yes.
                                                                              Yes.

         7. Is the Purchasing facility safety and security appropriate? Yes.
                                                                        Yes.

         8. Are equipment safety, and equipment needs met?”? Yes.
                                                             Yes.


         9. Is adequate supervision assigned to Purchasing? Yes.
                                                            Yes.

         10. Are adequate personnel assigned to Purchasing? No.
                                                         x? No.
                                                              >




             Recommendation: The current staffing level is inadequate and it is recommended   that two
                                                                                    nmended that   two
             (2) additional Purchasing Agent positions be allocated.



      The Purchasing Division of the Lee County Sheriff's Office appears to be running at a high to
      very high level of productivity according to all of the employees. Most of the personnel appear
      to be happy to very happy to be assigned there. Supervisors appear extremely qualified, and are
      well liked by their employees. Nearly all of the staff showed high to very high levels of morale
      and job satisfaction.

      It is difficult to obtain the perfect level of equipment, service, and employee satisfaction in a law
      enforcement agency. The Purchasing Division is a very small unit with a group of very hard
      working and dedicated employees. With their expertise in purchasing goods and services for the
      department, the certified staff can focus on keeping the residents and visitors of Lee County safe




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      References

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                                                                  Fort Myers,
                                                                       Myers, FL:
                                                                              FL: LCSO
                                                                                  LCSO
      PowerDMS.

      Shane, J.M. (2009). What every chief executive should know: Using data
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                                                                             to measure police
                                                                                measure police
      performance. Flushing, NY: Loose-leaf Law Publications Inc.




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                           EXHIBIT 8
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                           EXHIBIT 9
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   From: Heikkila, Dawn <                          >
   Sent: Thursday, June 18, 2020 12:47 PM EDT
   To: Clark, Jenna <JClark@sheriffleefl.org>; Lehman, Shannon <                                                                               >
   Subject: RE: from policy Chapter 22
   Full-time members are required to work a full-time schedule or account for hours missed by
   using accrued leave time. If a member must be absent from work for whatever reason, they must
   use the appropriate amount of accrued leave time that would bring their combined work and
   leave time to the scheduled 80 or 84 hours required for the pay period. The employee may not
   choose to take time missed from work as “Leave without pay” unless it is approved FMLA. If
   the member has exhausted all accrued leave time, the missed time then becomes leave without
   pay. A pattern of abuse may be cause for disciplinary action.



                                            Dawn Heikkila, Director
                                            Lee County Sheriff's Office
                                            Desk:

                                            www.sheriffleefl.org




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                           EXHIBIT 10
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   From: Heikkila, Dawn <
   Sent: Thursday, August 12, 2021 1:16 PM EDT
   To: Clark, Jenna <JClark@sheriffleefl.org>
   Subject: RE: message
   Ok…well we are so busy right now that I am going to hold off on the FMLA…if you end up needing more time that that just let me
   know and I will have to do the FMLA paperwork.

   Thanks and I wish you a speedy recovery!!




                                   Dawn Heikkila, Director
                                   Lee County Sheriff's Office
                                   Desk:
                                   DHeikkila@sheriffleefl.org
                                   www.sheriffleefl.org




   From: Clark, Jenna <JClark@sheriffleefl.org>
   Sent: Thursday, August 12, 2021 1:06 PM
   To: Heikkila, Dawn
   Subject: RE: message

   18-20
   24-27
   Total of 7 days.


   Jenna Clark | Purchasing Director
   Desk: 239-477-1313
   Purchasing
   Lee County Sheriff's Office
   JClark@sheriffleefl.org | www.sheriffleefl.org
   From: Heikkila, Dawn
   Sent: Thursday, August 12, 2021 1:04 PM
   To: Clark, Jenna <JClark@sheriffleefl.org>
   Subject: RE: message

   Ok…if you are out more than a week I will forward it to Amy for FMLA…do you know how long you plan to be out?



                                   Dawn Heikkila, Director
                                   Lee County Sheriff's Office
                                   Desk: 239-477-1132
                                   DHeikkila@sheriffleefl.org
                                   www.sheriffleefl.org



   From: Clark, Jenna <JClark@sheriffleefl.org>
   Sent: Thursday, August 12, 2021 12:26 PM
   To: Heikkila, Dawn
   Subject: message

   Hi Dawn –

   I called you to let you know I have surgery scheduled on the 18th - Annmarie said to let you know, she already approved my time.

   Thanks!
   Jenna

   Jenna Clark | Purchasing Director
   Desk: 239-477-1313
   Purchasing
   Lee County Sheriff's Office
   JClark@sheriffleefl.org | www.sheriffleefl.org

   ***IMPORTANT MESSAGE***
                                                                                                             LCSO/Clark
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   footnote also confirms that this email message has been swept for the presence of computer viruses, worms, hostile scripts and other email-borne network threats. PLEASE NOTE: Florida has a
   very broad public records law. Most written communications to or from government officials are public records available to the public and media upon request. Your email communications may
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                           EXHIBIT 11
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 Lee County Sheriff's Office
 Employee Evaluation Form


 Employee Informa on                                                               Evalua on Informa on
 Employee Clark, Jenna D                                                           Type Annual
 ID 92-072                                                                         Review Date 7/2/2021
 Shi                                                                               Ra ng Date 6/5/2020 to 6/4/2021
 Supervisor RENO, ANNMARIE S                                                       Overall Ra ng MS
 Department Purchasing
 Assignment Director
 Rank Director
 Posi on LCSO Employee

 Scale: Overall Ra ngs
 MS = Meets Standard
 RI = Requires Improvement


       Performance Rating Legend


 Performance Measures
  TypeId

     Number    Rating      Performance Statement
       Type: Task
     AL500     MS          Quality of Reports/Paper Work
                           Jenna completes reports on time and tries to utilize Munis in the best possible way to increase workflow processes.
     AL501     MS          Initiative/Innovation
                           Jenna continues to try to find better processes for Purchasing.

     AL502     MS          Planning and Organization
                           Jenna is a good planner and continues to train those members under her
     AL503     NE          Security/Care of Detainees

     SP7001a   MS          Conduct/Supervise Employee Performance Evaluations
                           Jenna completes her evaluations in a timely manner.
       Type: Policy
     PL2       MS          Grooming and dress
                           Jenna is always professionally dressed for work.

     PL4       MS          Contact with public
                           Jenna is very professional with the public.
     PL500     MS          Attendance
                           Jenna abides by the rules and regulation of the LCSO as it pertains to attendance.
     PL501     MS          Rules and Regulations
                           Jenna follows the rules and regulations set forth by the LCSO.
       Type: Proficiency
     PR31      MS          Problem solving
                           Jenna is continuing to find a way to resolve issues between receiving and Finance to streamline the flow of processes.
     PR32      MS          Conflict resolution
                           Jenna continues to work on conflict resolution between purchasing and finance.
     PR500     MS          Work Attitude
                           Jenna has a good work attitude and is always willing to help others.


 Printed On: Tuesday, November 2, 2021
 Employee: Clark, Jenna D              ID: 92-072                        Eval Period: 6/5/2020 - 6/4/2021                             Score: MS
                                                                                                                             LCSO/ Clark
                                                                                                                              DEF000567
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     Number      Rating   Performance Statement

     PR501       MS       Understanding/Applying Laws/Rules in applicable career field
                          Jenna understands and applies rules as they pertain to Purchasing.

     PR502       MS       Judgment/Decision Making
                          Jenna is a good decision maker and tries to find ways to streamline Purchasing.

     PR503       MS       Leadership Qualities
                          Jenna is a good leader and tries to lead by example.
     PR504       MS       Interpersonal Relationships
                          Jenna gets along with everyone; she is always volunteering to help others.

     PR505       MS       Reliability and Professionalism
                          Jenna is very reliable and is always available to help others. Jenna is very professional with internal & external customers.

     PR506       MS       Job Knowledge
                          Jenna has excellent job knowledge as it pertains to LCSO Purchasing. She is working with her members to pass that
                          knowledge down for the future.
         Type: Career Counseling Plan
     G1000a      NE       Short Term Goal
                          Continue to mentor staff, sharing knowledge specifically on unexpected and issues that are uncommon or occasional.

                          (Hurricane IMT)

     G1000b      NE       Long Term Goal (5-10 years)
                          Next January get ready for the DROP, stay healthy and retire.




 Previous Requires Improvement

     Number       Performance Statement        Incident Date   Resolution     Expected Date of Accomplishment         Date Accomplished       Entered By
    No records to display.


 Current Requires Improvement

     Number      Rating      Performance Statement   Incident Date   Resolution    Expected Date of Accomplishment       Date Accomplished     Entered By
    No records to display.


 A achments
  Type                           Description                                          Date         Location                                    Number
 No records to display.


 Comments




 Printed On: Tuesday, November 2, 2021
 Employee: Clark, Jenna D              ID: 92-072                      Eval Period: 6/5/2020 - 6/4/2021                                 Score: MS
                                                                                                                               LCSO/ Clark
                                                                                                                                DEF000568
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Electronic Signature
This evalua on has been reviewed with the speciﬁed employee. Evaluated employee has received a copy of this evalua on.
Signature does not mean that the evaluated employee agrees with the evaluator's comments or score.

    Employee                                  ID                Position                           Date Signed

    RENO, ANNMARIE S                          97-003            LCSO Employee                      7/2/2021




    Clark, Jenna D                            92-072            LCSO Employee                      7/2/2021




    Holloway, John                            13-148            LCSO Employee                      7/6/2021




Printed On: Tuesday, November 2, 2021
Employee: Clark, Jenna D              ID: 92-072         Eval Period: 6/5/2020 - 6/4/2021                        Score: MS




                                                                                                     LCSO/ Clark
                                                                                                      DEF000569
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 Lee County Sheriff's Office
 Employee Evaluation Form


 Employee Informa on                                                              Evalua on Informa on
 Employee Clark, Jenna D                                                          Type Annual
 ID 92-072                                                                        Review Date 7/15/2020
 Shi                                                                              Ra ng Date 6/5/2019 to 6/4/2020
 Supervisor RENO, ANNMARIE S                                                      Overall Ra ng MS
 Department Purchasing
 Assignment Director
 Rank Director
 Posi on LCSO Employee

 Scale: Overall Ra ngs
 MS = Meets Standard
 RI = Requires Improvement


       Performance Rating Legend


 Performance Measures
  TypeId

     Number    Rating      Performance Statement
       Type: Task
     AL500     MS          Quality of Reports/Paper Work
                           Jenna's reports are completed on time. Purchasing Division continues to learn how to utilize the Munis System to streamline
                           the purchasing process.
     AL501     MS          Initiative/Innovation
                           Jenna tries to find new ways to streamline the purchasing process.

     AL502     MS          Planning and Organization
                           Jenna is a good planner. Recommendation: get other members involved in special purchasing projects for Hazard Plans; also
                           furniture purchasing; Jenna is working with her members to learn how to handle special projects.

     AL503     NE          Security/Care of Detainees

     SP7001a   MS          Conduct/Supervise Employee Performance Evaluations
                           Jenna's evaluations are done on time.
       Type: Policy
     PL2       MS          Grooming and dress
                           Jenna is always professionally dressed for work.
     PL4       MS          Contact with public
                           Jenna is very professional with the public.
     PL500     MS          Attendance
                           Jenna follows the policy on attendance.
     PL501     MS          Rules and Regulations
                           Jenna follows the rules and regulations of the LCSO.
       Type: Proficiency
     PR31      MS          Problem solving
                           Jenna still needs to work on problems that exist with POs not having shipping cost, wrong dollar amounts and not being
                           received, which impacts Finance. She will need to find a plan of action to resolve these issues.




 Printed On: Tuesday, November 2, 2021
 Employee: Clark, Jenna D              ID: 92-072                        Eval Period: 6/5/2019 - 6/4/2020                           Score: MS
                                                                                                                            LCSO/ Clark
                                                                                                                             DEF000570
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     Number      Rating   Performance Statement

     PR32        MS       Conflict resolution
                          Jenna is able to keep conflict down within her division and Jenna is continuing to work together on issues between
                          Purchasing & Finance.
     PR500       MS       Work Attitude
                          Jenna has a very good work attitude.
     PR501       MS       Understanding/Applying Laws/Rules in applicable career field
                          Jenna understands the rules that apply to her position as Purchasing Director.

     PR502       MS       Judgment/Decision Making
                          Jenna has good judgment and decision making on Purchasing of items.
     PR503       MS       Leadership Qualities
                          Jenna has good leadership qualities and is a hard worker.
     PR504       MS       Interpersonal Relationships
                          Jenna has good interpersonal skills and tries to help and get along with others.
     PR505       MS       Reliability and Professionalism
                          Jenna is reliable and can be counted on to get things done in her area. Jenna is professional when working with both vendors
                          and members.

     PR506       MS       Job Knowledge
                          Jenna has a clear working knowledge of Purchasing and keeps a very organized area.
         Type: Career Counseling Plan
     G1000a      NE       Short Term Goal
                          Continue to improve Munis processes and procedures (employee issuances) as it pertains to LCSO Purchasing procedures –
                          train staff as needed.

     G1000b      NE       Long Term Goal (5-10 years)
                          2022 – Reach retirement of 30 years/ stay healthy and possibly go into the DROP



 Previous Requires Improvement

     Number       Performance Statement        Incident Date   Resolution    Expected Date of Accomplishment        Date Accomplished     Entered By
    No records to display.


 Current Requires Improvement

     Number      Rating      Performance Statement   Incident Date   Resolution   Expected Date of Accomplishment     Date Accomplished    Entered By
    No records to display.


 A achments
  Type                           Description                                          Date        Location                                 Number
 No records to display.


 Comments




 Printed On: Tuesday, November 2, 2021
 Employee: Clark, Jenna D              ID: 92-072                      Eval Period: 6/5/2019 - 6/4/2020                             Score: MS
                                                                                                                           LCSO/ Clark
                                                                                                                            DEF000571
Case 2:22-cv-00614-SPC-NPM Document 33-4 Filed 02/29/24 Page 213 of 216 PageID 1785




Electronic Signature
This evalua on has been reviewed with the speciﬁed employee. Evaluated employee has received a copy of this evalua on.
Signature does not mean that the evaluated employee agrees with the evaluator's comments or score.

    Employee                                  ID                Position                           Date Signed

    Clark, Jenna D                            92-072            LCSO Employee                      7/15/2020




    RENO, ANNMARIE S                          97-003            LCSO Employee                      7/15/2020




    Holloway, John                            13-148            LCSO Employee                      7/16/2020




Printed On: Tuesday, November 2, 2021
Employee: Clark, Jenna D              ID: 92-072         Eval Period: 6/5/2019 - 6/4/2020                        Score: MS




                                                                                                     LCSO/ Clark
                                                                                                      DEF000572
Case 2:22-cv-00614-SPC-NPM Document 33-4 Filed 02/29/24 Page 214 of 216 PageID 1786




 Lee County Sheriff's Office
 Employee Evaluation Form


 Employee Informa on                                                              Evalua on Informa on
 Employee Clark, Jenna D                                                          Type Annual
 ID 92-072                                                                        Review Date 7/9/2019
 Shi                                                                              Ra ng Date 6/5/2018 to 6/4/2019
 Supervisor RENO, ANNMARIE S                                                      Overall Ra ng MS
 Department Purchasing
 Assignment Director
 Rank Director
 Posi on LCSO Employee

 Scale: Overall Ra ngs
 MS = Meets Standard
 RI = Requires Improvement


       Performance Rating Legend


 Performance Measures
  TypeId

     Number    Rating      Performance Statement
       Type: Task
     AL500     MS          Quality of Reports/Paper Work
                           Jenna's report are very detailed and completed on time. She continues to try to learn about the new Munis System.
     AL501     MS          Initiative/Innovation
                           Jenna is always trying to find ways to streamline the purchasing process.

     AL502     MS          Planning and Organization
                           Jenna continues to work on Purchasing's plan for the future.
     AL503     NE          Security/Care of Detainees

     SP7001a   MS          Conduct/Supervise Employee Performance Evaluations
                           Jenna's evaluations are done in a timely manner.
       Type: Policy
     PL2       MS          Grooming and dress
                           Jenna is always professionally dressed for work.

     PL4       MS          Contact with public
                           Jenna gets along very well with the public.
     PL500     MS          Attendance
                           Jenna follows the rules on attendance.
     PL501     MS          Rules and Regulations
                           Jenna follows the rules and regulations of the LCSO.
       Type: Proficiency
     PR31      MS          Problem solving
                           Jenna is a problem solver and addresses problems before they become issues.
     PR32      MS          Conflict resolution
                           Jenna is good at resolving conflict within her area.
     PR500     MS          Work Attitude
                           Jenna has a great work attitude and is always volunteering to help others.


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 Employee: Clark, Jenna D              ID: 92-072                        Eval Period: 6/5/2018 - 6/4/2019                          Score: MS
                                                                                                                           LCSO/ Clark
                                                                                                                            DEF000573
Case 2:22-cv-00614-SPC-NPM Document 33-4 Filed 02/29/24 Page 215 of 216 PageID 1787


     Number      Rating   Performance Statement

     PR501       MS       Understanding/Applying Laws/Rules in applicable career field
                          Jenna understands the laws and rules as they apply to Purchasing within Government.

     PR502       MS       Judgment/Decision Making
                          Jenna has good decision making skills.

     PR503       MS       Leadership Qualities
                          Jenna is a good leader.
     PR504       MS       Interpersonal Relationships
                          Jenna has improved her interpersonal skills over the last year and gets along with both internal and external customers.

     PR505       MS       Reliability and Professionalism
                          Jenna is reliable and professional.

     PR506       MS       Job Knowledge
                          Jenna has very in depth job knowledge that she is trying to pass on to members within her unit.
         Type: Career Counseling Plan
     G1000a      NE       Short Term Goal
                          Oversee/complete the enhancements of Munis employee issuance; continue to learn more in the system as upgrades come
                          out.
                          Continue to mentor Purchasing employees to take over my position and duties when I retire

     G1000b      NE       Long Term Goal (5-10 years)
                          Stay healthy – Retire/go into drop at “30” years of service June 2020



 Previous Requires Improvement

     Number       Performance Statement        Incident Date    Resolution   Expected Date of Accomplishment        Date Accomplished      Entered By
    No records to display.



 Current Requires Improvement

     Number      Rating      Performance Statement   Incident Date   Resolution   Expected Date of Accomplishment     Date Accomplished     Entered By
    No records to display.


 A achments
  Type                           Description                                        Date          Location                                  Number
 No records to display.



 Comments




 Printed On: Tuesday, November 2, 2021
 Employee: Clark, Jenna D              ID: 92-072                      Eval Period: 6/5/2018 - 6/4/2019                              Score: MS
                                                                                                                            LCSO/ Clark
                                                                                                                             DEF000574
Case 2:22-cv-00614-SPC-NPM Document 33-4 Filed 02/29/24 Page 216 of 216 PageID 1788




Electronic Signature
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Signature does not mean that the evaluated employee agrees with the evaluator's comments or score.

    Employee                                  ID                Position                           Date Signed

    RENO, ANNMARIE S                          97-003            LCSO Employee                      7/9/2019




    Clark, Jenna D                            92-072            LCSO Employee                      7/9/2019




    Holloway, John                            13-148            LCSO Employee                      7/16/2019




Printed On: Tuesday, November 2, 2021
Employee: Clark, Jenna D              ID: 92-072         Eval Period: 6/5/2018 - 6/4/2019                        Score: MS




                                                                                                     LCSO/ Clark
                                                                                                      DEF000575
